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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    UNITED STATES SECURITIES                      )
    AND EXCHANGE COMMISSION,                      )
                                                  )
                        Plaintiff,                )
                                                          Civil Action No. 18-cv-5587
                                                  )
    v.                                            )
                                                          Hon. Manish S. Shah
                                                  )
    EQUITYBUILD, INC., EQUITYBUILD                )
                                                          Magistrate Judge Young B. Kim
    FINANCE, LLC, JEROME H. COHEN, and            )
    SHAUN D. COHEN,                               )
                                                  )
                        Defendants.               )

                           RECEIVER’S GROUP 2 DISCLOSURE

         Pursuant to Section 11 of the Court’s Order Regarding Claims Resolution Process No. 2

(Dkt. 941) and the schedule set by the Court regarding Group 2 as amended (Dkt. 1532), the

Receiver hereby discloses his position that the security interest given by EquityBuild, Inc.

(“EquityBuild”) to (i) Shatar Capital Inc. a/k/a Shatar Capital Partners, 1111 Crest Dr. LLC,

Abraham Aaron Ebriani1, Hamid Esmail, and Farsaa Inc. (collectively “Shatar”) with respect to

two properties (5450 S. Indiana and 7749 S. Yates) and (ii) Direct Lending Partner LLC

(successor to Arena DLP Lender LLC and DLP Lending Fund LLC (hereinafter “DLP”) related

to 6160 S. Martin Luther King, all of which are among the Group 2 properties, constitute

voidable fraudulent transfers under the Illinois Uniform Fraudulent Transfer Act, 740 ILCS 160

(“the Act”) or are otherwise voidable under applicable law, as discussed below.




1
 Ebriani’s interest was subsequently assigned to Pakravan Living Trust, who has appeared in this
action. [Ex. 1, Shatar 975-76]. Documents cited in this Disclosure as “Ex. ___ “ are attached
hereto for the convenience of the claimants and the Court.
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         As a preliminary matter, the Receiver submits that if the investor-lenders’ mortgages are

deemed to be in first position, then the fraudulent conveyance issues to which this disclosure

relates will essentially be moot and neither the participants nor the Court should devote time or

expense to the matter. For this reason, the Receiver’s Group 2 Disclosure is provided in the

alternative and asserted herein only insofar as the Court determines that these mortgage interests

are superior in position to the investor-lenders’ mortgage interests.2 This Disclosure is based on

currently available documents and information, including as drawn from EquityBuild files,

records and written discovery provided by claimants in respect to the properties at issue, and/or

from deposition testimony in Group 2 discovery.3

    I.        General Principles and Framework

         A.      Legal Basis of Fraudulent Transfer Claim

         Section 5 of the Act, 740 ILCS 160/5, provides in relevant part as follows:

                 Sec. 5. (a) A transfer made or obligation incurred by a debtor is fraudulent
                 as to a creditor, whether the creditor's claim arose before or after the transfer
                 was made or the obligation was incurred, if the debtor made the transfer or
                 incurred the obligation:

                         (1)     with actual intent to hinder, delay, or defraud any creditor of
                                 the debtor; . . . and the debtor:




2
  Following the Receiver’s avoidance disclosure for Group 1, the Court deferred addressing the
issues presented by that disclosure, as the Court’s priority determination rendered it unnecessary
to do so. (See Dkt. 1386 at 12)
3
  The Receiver notes that information obtained through discovery is continuing to be reviewed.
For example, the Receiver notes that a subpoenaed party (Rock Fusco & Connelly) provided
360,000 pages of material approximately six weeks ago in unorganized fashion and presented
review challenges for Group 2 participants including the Receiver, resulting in that party’s
reproduction of the materials in a different format on November 6, 2023. There is also a separate
subpoena that the Receiver has issued for which information continues to be gathered. The
Receiver has been reviewing these materials and will continue to review any further information
that is provided, and reserves the right to add, delete, and/or modify this Disclosure.

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                               (B)    intended to incur, or believed or reasonably should
                                      have believed that he would incur, debts beyond his
                                      ability to pay as they became due.

       A Ponzi scheme is “an investment scheme in which returns to investors are not financed

through the success of the underlying business venture, but are taken from principal sums of

newly attracted investments.” In re M & L Business Mach. Co., Inc., 84 F.3d 1330, 1332 n.1

(10th Cir. 1996). Proof of a Ponzi scheme is sufficient to establish actual intent to hinder, delay

or defraud creditors. See, e.g., In re Bernard L. Madoff Investment Securities LLC, 12 F.4th 171,

196 (2d Cir. 2021) (“Under the so-called ‘Ponzi scheme presumption,’ the existence of a Ponzi

scheme demonstrates actual intent as a matter of law because transfers made in the course of a

Ponzi scheme could have been made for no purpose other than to hinder, delay or defraud

creditors.”); In re Agricultural Research and Technology Group, Inc., 916 F.2d 528, 535-36 (9th

Cir. 1990) (“the mere existence of a Ponzi scheme, which could be established by circumstantial

evidence, has been found to fulfill the requirement of actual intent on the part of the debtor”).

The evidence that EquityBuild and the Cohens were operating a Ponzi scheme is a matter of

record and incontrovertible. (See, e.g., Dkt. 40; Dkt. 492 at 3-7, 10-14; Dkt. 533 at 2; Dkt. 603)

       The Act does, however, recognize a “good faith” defense for creditors who accept a

pledge of assets in good faith and for reasonably equivalent value:

               Sec. 9. (a) A transfer or obligation is not voidable under paragraph (1) of
               subsection (a) of Section 5 against a person who took in good faith and for
               a reasonably equivalent value or against any subsequent transferee or
               obligee.

740 ILCS 160/9. See also 11 U.S.C.A § 548(c). The transferee/obligee carries the burden of

demonstrating good faith. See, e.g., In re Agricultural Research and Technology Group, Inc.,

916 F.2d at 539; Madoff, 12 F.4th at 196.




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       In the context of fraudulent conveyance law, “inquiry notice” is the appropriate standard

for determining lack of good faith. In re Sentinel Management Group, Inc., 809 F.3d 958 (7th

Cir. 2016) (bank which accepts pledge of assets is not acting in good faith if it had “inquiry

notice” of possible fraud); Madoff, 12 F.4th at 186-88. “Inquiry notice” is the “awareness of

suspicious facts that would have led a reasonable firm, acting diligently, to investigate further

and by doing so discover wrongdoing.” In re Sentinel, 809 F.3d at 961 (citing In re M & L

Business Machine Co., 84 F.3d at 1335-38; In re Sherman, 67 F.3d 1348, 1355 (8th Cir. 1995);

In re Agricultural Research & Technology Group, Inc., 916 F.2d at 535-36). Actual knowledge

of the Ponzi scheme or fraud is not necessary to a finding that a creditor lacked good faith. In re

Sentinel, 809 F.3d. at 962 (“inquiry notice is not knowledge of fraud or other wrongdoing but

merely knowledge that would lead a reasonable, law-abiding person to inquire further—would

make him in other words suspicious enough to conduct a diligent search for possible dirt”); In re

Nieves, 648 F.3d 232, 242 (4th Cir. 2011) (finding no actual knowledge but affirming finding

that mortgagee did not take in good faith where numerous facts known to mortgagee would have

led a reasonable person to inquire further as to the voidability of the transfer). Even if the

transferee gave reasonably equivalent value in exchange for the transfer, the transferee may not

recover such value if the exchange was not in good faith because good faith is “indispensable”

for the transferee who would recover any value given pursuant to 11 U.S.C. § 548(c) or state

Uniform Fraudulent Transfer statutes. In re Agricultural Research and Technology Group, Inc.,

916 F.2d at 535.

       A finding of inequitable conduct on the part of the transferee is also unnecessary.

Instead, “mere negligence—or ineptitude” suffices for inquiry notice. In re Sentinel, 809 F.3d at

962-63 (“Notice that because of the recipient’s obtuseness fails to trigger suspicion is



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nevertheless sufficient to create inquiry notice because all that is required to trigger it is

information that would cause a reasonable person to be suspicious enough to investigate.”)

(emphasis in original).

          The first step in the inquiry notice analysis thus looks to the facts which a transferee

knew. Id.; see also Madoff, 12 F.4th at 191-92. The second and third steps of the inquiry are

whether the facts known by the transferee would have led a reasonable person to conduct further

inquiry into the transferor’s possible fraud, and whether diligent inquiry by the transferee would

have discovered the fraudulent purpose of the transfer. Id. Thus, the “good faith” inquiry

includes both subjective and objective components. Id.; see also M & L Business Mach., 84 F.3d

at 1332 n.1.

    II.       Facts and Documents Supporting Avoidance Against Shatar

          Documents and information in the possession of Shatar at the time EquityBuild granted

security interests in the properties at 5450 Indiana (the “Indiana” property) and 7749 Yates (the

“Yates” property) to Shatar and its investors demonstrates that Shatar was aware of numerous

facts that would have led a reasonable person to inquire further into the validity of the grants of

security interests. Further, such inquiry would have led to the discovery of the fraudulent

purposes of the EquityBuild’s actions, including by previously granting first-position security

interests to investor lenders in the same properties in which Shatar was investing and then acting

to deprive those investor lenders of their security interests through fraudulent means and without

the authority of the investor-lender mortgagees. Those facts include the following:

          •      Starting not later than the last quarter of 2016 forward, Shatar was gathering

information to learn about and understand the details of EquityBuild’s business. Shatar’s due

diligence into EquityBuild was led and evaluated by Ezri Namvar, an individual very familiar



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with real estate investment and lending, real estate transactions, and entities engaging in Ponzi

schemes. 4 [See Ex. 2, 11/1/23 Tr. of Ezri Namvar as Rule 30(b)(6) Representative of Shatar at

124:16-125:8; 126:1-20 (hereinafter “11/1/23 Tr. at __”)]

       •       Namvar’s experience provided Shatar with insights in regards to true business

operations and practices of EquityBuild, as further described below. Indeed, Shatar’s Namvar

claims that he is the “number one, the best hard money lender, knowledgeable hard money

lender in the nation.” [Ex. 2, 11/1/23 Tr. at 99:13-15] Shatar’s corporate representative testified

that his loan decisions are done in minutes: “On the phone I decide whether a loan is good or not.

I say to everybody if I want to say no, it takes three minutes. If I want to say yes, it takes ten

minutes.” [Id. at 100:5-8]

       •       In November, 2016, EquityBuild sales representative, Christopher Mora, provided

Mr. Namvar with detailed information about EquityBuild’s business model, providing Namvar

with an offering memorandum for a different property (7024 S. Paxton) and explaining “as with

all other EBF notes, this private mortgage note is fully secured by the Paxton property as

collateral, and the lenders are further protected with a first lien position on the property.” [Ex. 3,

Exhibit 4 to Shatar 30(b)(6) Deposition (hereinafter “Shatar Dep. Ex. __”)] (emphasis added).

Mora further informed Namvar that EquityBuild had already raised more than $2.5 million from

investors on the Paxton property from which it was seeking funding from Shatar.5




4
  Mr. Namvar is known as the “Beverly Hills Madoff” and served prison time for securities fraud
as a result of his involvement in an unrelated Ponzi scheme. See “Ezri Namvar is the New
Bernie Madoff and the Most Reviled Man in Town,” LA Weekly (July 21, 2011).
5
  Shatar did subsequently make a loan on 7024 S Paxton, but that loan was paid off prior to the
receivership and therefore Shatar has not submitted a claim against that property.
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       •       On December 23, 2016 Shatar (through Ezri Namvar) wrote to EquityBuild’s

Jerry Cohen and Tyler DeRoo (with an email copy to Ezri Namvar’s son, Daniel Namvar)

looking for additional information and background on EquityBuild’s properties and investment:

       “SINCE WE HAVE BECOME AWARE OF YOUR BUSINESS STRUCTURE,
       ASSUMING YOUR PREVIOUS DEALS HAVE BEEN CLOSED WITH
       CROUDFOUNDING INVESTORS, WE NEED TO MAKE SURE YOUR
       RE[F]INANCING OF ALREADY CLOSED DEALS ARE ALLOWED AND
       KOSHER….”

[See Ex. 4, Shatar Dep. Ex. 5 (emphasis in original) (authenticated 11/1/2023 in Shatar’s

30(b)(6) deposition)] This email alone shows that, prior to making the refinancing loan at issue,

Shatar was not only aware of EquityBuild’s “business structure” but also that EquityBuild was

using security interests with “crowdfunding investors.” These were red flags that EquityBuild’s

business was far from kosher and should have led Shatar to inquire and investigate further before

it engaged in these transactions. [Ex. 2, 11/1/23 Tr. at 38:6-39:20]

       •       A separate e-mail was exchanged between DeRoo and Ezri Namvar on December

23, 2016, where DeRoo provided Shatar with EquityBuild’s “standard rollover” form. The

rollovers were used by EquityBuild as part of its scheme, frequently with the “crowdfunding

investors” that Shatar was focusing upon understanding and well recognized as part of the

EquityBuild model. [See Ex. 5, Shatar Dep. Ex. 6; Ex. 2, 11/1/23 Tr. at 38:6-39:20]

       •       On December 27, 2016, DeRoo provided to Shatar samples of all of

EquityBuild’s lending documents, including the Collateral Agency and Servicing Agreement

(“CASA”), providing further insights into the manner in which EquityBuild performed its

business.6 [See Ex. 6, Shatar Dep. Ex. 7] All of these documents allowed Shatar to understand




6
 This is the same form of CASA that the Court has previously reviewed in conjunction with its
decision regarding Group 1. (See Dkt. 1386)
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how EquityBuild was doing business, including “how [it] raised money” and its relationship with

investors. [Ex. 7, Shatar Dep. Ex. 14]

       •       In or about March 2017, Shatar was evaluating possible investments with

EquityBuild in regards to the Indiana and Yates properties. [Ex. 8, Shatar Dep. Ex. 8; see also

Ex. 2, 11/1/23 Tr. at 100:21-102:21] Shatar discussed such investments with EquityBuild, at

which time EquityBuild expressed great urgency in having Shatar invest in these properties. Id.

       •       Shatar’s due diligence involved primarily looking at the value of the properties,

and purportedly making sure that EquityBuild had real equity in the deal, where Namvar claimed

not to know, but it was “enough to make me feel comfortable.” [Ex. 2, 11/1/23 Tr. at 108:6-11]

       •       At this time (and earlier), Shatar’s Ezri Namvar was in contact with another

EquityBuild investor, Doron Kermanian, regarding investing in EquityBuild. On March 17,

2017, Kermanian signed documents and wired funds to EquityBuild for a share of the

EquityBuild mortgage on 7749 S Yates, and specifically asked EquityBuild to contact “my

partner ezri namvar regarding both the property and also the company equity finance.” [See

Group Ex. 10, see also Ex. 11] In fact, not later than the fourth quarter of 2016, Kermanian had

been discussing investments in EquityBuild with Ezri Namvar. [Ex. 3, Shatar Dep. Ex. 4; see

also Ex. 2, 11/1/23 Tr. at 29:13-20]

       •       Kermanian has submitted a claim in the receivership in connection with his

investment in the Yates property. [Claim No. 5-380, Ex. 5 To Receiver’s Twenty-First Status

Report (Dkt. 1535) at 9] Kermanian’s claim is representative of the claims of other investors in

the Yates and Indiana properties.

       •       Shatar paid Kermanian a referral fee in conjunction with Shatar’s investments in

the Indiana and Yates properties. [Ex. 12, Shatar 6502-03]


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         •     Through these interactions with Kermanian, and other interactions and knowledge

obtained about EquityBuild’s business described above, Shatar was aware (or should have

known) that EquityBuild was soliciting “crowd funding” type investments in regards to the Yates

and Indiana properties, and that such investments were being secured with first position

mortgages, given its understanding of EquityBuild’s business model. Indeed, EquityBuild closed

on the Yates property, after funds had been raised from investors for purposes of acquiring and

obtaining a secured interest in the property, and before any funds from Shatar were provided.

Shatar was made aware that the Yates property had already closed, such closing occurring only a

very short time before Shatar would provide its own investment funds to EquityBuild, itself

raising red flags. [Ex. 2, 11/1/23 Tr. at 41:15-42-9; 59:16- 60:24; 61:18-62:5; see also, Ex. 9,

Shatar Dep. Ex. 9; Ex. 13, Shatar Dep. Ex. 10]

         •     Understanding that the Yates transaction had just closed, Shatar was (or should

have been) aware that there was no recorded mortgage associated with the closing for the Yates

property, another red flag given Shatar’s knowledge of EquityBuild’s crowdfunding business

model.

         •     Namvar was principally responsible for the due diligence and underwriting for

Shatar’s investments, including those for the Yates and Indiana properties. [Ex. 2, 11/1/23 Tr. at

54:2-19; 55:1-55:8; 99:10-103:16] While fully understanding the nature of EquityBuild’s

business, and with at least constructive notice that crowdfunding investors like Kermanian were

lending money for a secured interest in the Yates property at the time Shatar was looking to

those properties as securities for its investment, Shatar nonetheless demanded that it have a first

priority secured interest, without any further investigation or diligence. [Ex. 14, Shatar Dep. Ex.

12; Ex. 2, 11/1/23 Tr. at 39:11-13; 41:15-42:9]


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       •       EquityBuild recorded Shatar’s mortgage on Yates property or about April 4,

2017. [Ex. 14, Shatar Dep. Ex. 12]

       •       Despite investor lenders, like Kermanian, being in place before Shatar -- the deal

was done with these investors on or about March 17, 2017 -- the pre-existing mortgage

associated with their investment was not recorded by EquityBuild until two months later. [See

Ex. 15, Shatar Dep. Ex. 11]

       •       Shatar admitted at its 30(b)(6) deposition that, had it made a diligent inquiry into

EquityBuild’s fundraising with respect to the Yates property, it would not have made the loan.

[Ex. 2, 11/1/23 Tr. at 113:8-114:22]

       •       Shatar’s Namvar acknowledged the importance of performing due diligence as to

the honesty of the individuals involved in the transaction, because “if we find out that [someone]

lied to us, I would recommend not do the loan.” [Ex. 2, 11/1/23 Tr. at 106:4-15]

       •       Given the experience of Shatar’s lead person on due diligence and information

provided to it, Shatar failed to perform further investigation that should have been performed

which would have identified dishonesty and uncovered at the least the following that would have

demanded further inquiry:

       (1)     Jerome Cohen was a fugitive from justice in Pennsylvania in November 1993.

       (2)     American Home Rentals, a company operated by Jerome Cohen and Steve Cohen,

       was sued by the Preate’s Bureau of Consumer Protection in February 1993 for defrauding

       customers of about $350,000 over a period of two years.

       (3)     In June 1993, the Deputy Attorney General of Pennsylvania sued American Home

       Rentals for violating an injunction by operating under a different name.




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       (4)    In September 1994, American Home Rentals was sued by the Commonwealth of

       Pennsylvania for systematically violating the state Unfair Trade Practice and Consumer

       Protection Law.

       (5)    More than 100 real estate tax lien petitions were filed against Jerome Cohen by

       the City of Philadelphia.

       (6)    Jerome Cohen filed a personal bankruptcy petition in the United States District

       Court for the Middle District of Florida in September 1994 and that case was transferred

       to the Eastern District of Pennsylvania in January 1995.

       (7)    Jerome Cohen was the subject of an unsatisfied judgment in the amount of

       $66,991.

       (8)    An Internet discussion forum hosted by Bigger Pockets at

       https://www.biggerpockets.com/forums/311/topics/300843-has-anyone-invested-in-any-

       of-the-equitybuild-properties contained a series of comments posted by Lindsay Hirsch,

       who stated that her father, Gordon Hirsch, an attorney who committed suicide shortly

       after he withdrew from his representation of EquityBuild, left a note stating that that the

       company was running a Ponzi scheme and stating that: “Shaun [Cohen] is using investor

       money to buy and rehab properties owned by his father Jerry. Crazy mortgages are put on

       the property and EquityBuild abandons them.”

       (9)    The Cook County Recorder of Deeds website identifies EquityBuild as a grantor

       of 190 properties and a grantee of 160 properties.

       (10)   The following lawsuits, which individually and collectively disclose material

       information regarding the business practices of BC57's prospective borrower, were filed

       by or against EquityBuild in the Circuit Court of Cook County, Illinois:



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                 (a)    EquityBuild, Inc. v. Lams Investment Group, LLC, Case No. 11-L-3113.

                 (b)    James B. Fannin, et al. v. EquityBuild, Inc., Case No. 15-L-3211.

                 (c)    EquityBuild, Inc. v. G-Slow Construction Services, LLC, Case No. 15-L-

                        3458.

                 (d)    Taty Construction, Inc. v. EquityBuild, Inc., et al., Case No. 16-CH-3189.

                 (e)    Brooke Lee v. EquityBuild, Inc., Case No. 17-L-6742.

   III.       Facts and Documents Supporting Avoidance Against DLP

          With regard to the property at 6160 South Martin Luther King Drive, it is the Receiver’s

position that the security interest provided by EquityBuild to DLP is subject to being deemed a

fraudulent transfer. Currently available facts supporting that position include the following:

          •      Certain investor lenders provided a loan to EquityBuild in the amount of

$4,370,000 on or about November 9, 2016. The list of investor lenders who provided the loan are

specifically identified as Exhibit A on the mortgage securing the loan, which was recorded on

January 13, 2017. [Chicago Title production (hereinafter identified as “CT”), Ex. 16, CT 105-

113]

          •      A corrective recording of the mortgage deleting EquityBuild as an investor and

adding two additional investors to Schedule A was later submitted and recorded on March 7,

2017. [Ex. 17, CT 93-103]

          •      An Assignment of Partial Interest in Mortgage from one of the investor lenders

identified on Exhibit A to The Entrust Group FBO Daniel Matthews IRA was recorded on

October 13, 2017 [Ex. 18, CT 89-91]

          •      DLP worked with Chicago Title to obtain title insurance associated with the

refinancing. Exception 10 to Chicago Title’s original title commitment listed the three recorded


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instruments described in the preceding paragraphs, and directed that “The original, canceled note

or notes secured by the mortgage to be satisfied must be submitted to [Chicago Title]” and “For

each entity to join in the release of said Mortgage, the appropriate authority documentation (e.g.,

entity standing, list of authorized signatories, resolutions, if necessary, etc..) should be

furnished.” [Direct Lending Partners’ production (hereinafter identified as, “DL”), Ex. 19, DL

5087-5097 at 5]

       •       Chicago Title requested payoff letters for these recorded liens and was informed

by EquityBuild that “There is no payoff. They are releasing the mortgage. We will have two

original releases to record at closing.” [Ex. 20, CT 3140-45]

       •       Because the releases were being provided without payoffs, a particularly

suspicious circumstance, Chicago Title repeatedly asked EquityBuild for information reflecting

that no monies were owed to the mortgagees as well as sign off from those mortgagees for their

release of their security interests. On May 23, 2018, a senior underwriter for Chicago Title

instructed the agent handling the closing that “we need to make sure this is paid with another

document to support the release without a payoff” [Ex. 21, CT 2571-3], and the agent related to

EquityBuild that “we need to make sure that this note has been paid in full as we are not paying

it through closing” [Ex. 22, CT 2605-6; see also Ex. 20, CT 3141]

       •       On its part, DLP appears to have done nothing to ascertain whether Shaun Cohen

or EquityBuild Finance had the authority to release the investors’ mortgage, but relied solely on

its title insurer. Indeed, in response to Interrogatory No. 4 to the standard discovery requests to

Institutional Lenders, asking DLP to describe all efforts it took before extending financing to

ensure that the investor-lenders had voluntarily released their mortgage interests in the property,

DLP responded “DLP required a title commitment/lender policy, a closing protection letter, and


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a legal opinion on behalf of the borrower, all of which ensured or otherwise confirmed that

DLP’s lien was in first priority position.”

       •       On June 6, 2018, the day before the closing, DLP’s counsel spoke to Chicago

Title and confirmed that “I understand that you are not yet in a position to close since you are

waiting on . . . documents relating to the payoff and cancellation of the existing financing. Would

you please let us know when you estimate receiving those items?” [Ex. 23, CT 2658 (from

DLP’s counsel to CT)]

       •       Despite the lack of answers to such questions that confirmed that the pre-existing

secured investor lenders had been paid and released their first position mortgage interest, DLP

and Chicago Title ultimately accepted the form of release provided by EquityBuild and the

closing proceeded forward.

       •       The release from EquityBuild that was accepted, however, does not even purport

to be given by the individual lenders listed on Exhibit A, nor does it even mention the

mortgagees on the earlier recorded mortgage, let alone contain the signatures of any of the

mortgagees listed on Exhibit A to the corrected mortgage, or purport to be executed on their

behalf. [Ex. 25, CT 280-82] Instead, the release is just given by EquityBuild Finance LLC, and

signed by Shaun Cohen as its President. And there is no evidence of any actual or apparent

authority that Cohen or EquityBuild Finance had to execute such a release on behalf of such

mortgagees. The Collateral Agent and Servicing Agreement (“CASA”) provided no such

express authority. [See Ex. 6 at 11-44] And, as noted, the release itself does not state that is on

behalf of those mortgagees. Even if the release had contained such language, the CASA

provides express language limiting the acts that EquityBuild Finance could take in regards to the

mortgage, including but not limited to a prohibition on unilaterally releasing the mortgage


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without the express written consent of the mortgagees. Id. There also is no documentation that

has been produced which establishes apparent authority.

       •       EquityBuild also raised a specific question about the need for a release of the

partial interest that had been assigned by one of the original mortgagees to the Entrust Group.

[See Ex. 26, CT 3351] Chicago Title responded: “We will need to see before closing a copy of

the note and assignment of note and we would need a statement from both assignees that no

funds are due and owing for the release being presented for recording.” [Ex. 27, CT 2553]

EquityBuild subsequently provided a signed and notarized release from the Entrust Group. [Ex.

24] The fact that Chicago Title required the signature of a single mortgagee expressly releasing

the interest he had obtained by assignment from one of the mortgagees listed on Exhibit A, but

nothing from the other mortgagees listed on Exhibit A is striking.

       •       Given that the prior mortgages recorded against 6160 MLK identified every

individual mortgagee, DLP knew or should have known that without having those individual

investor mortgagees sign a release, the release provided by EBF and Shaun Cohen was

insufficient and required additional follow up.

       •       Apparently, what DLP and Chicago Title accepted in lieu of a proper release was

an Affidavit of Lost Note from Shaun Cohen, individually, dated the day of the June 7, 2018

closing, indicating that “the undersigned was the lender/mortgagee of the Mortgage/Security

Instrument in the initial principal amount of $4,370,000 dated recorded 01/13/2017” and stating

that, “This affidavit is provided to induce Chicago Title to waive exceptions to title.” [Ex. 28, CT

287-88] In their rush to close, DLP and Chicago Title accepted this instrument in lieu of a

cancelled note secured by the mortgage to be satisfied, and waived exception 10 despite the fact

that Shaun Cohen was not the mortgagee, and EquityBuild had never provided a signoff from


                                                  15
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actual mortgagees for their release of the mortgage nor the appropriate authority documentation

for each entity joining in the release.

        •       As persuasive but not binding authority, this Court’s decision of February 15,

2023 (Dkt. 1386) is also instructive in regards to such issues in regards to lack of actual and

apparent authority.

        •       DLP did not conduct adequate due diligence. Little if any diligence was

performed in conjunction with the personal financial statement provided by Jerry Cohen. Proper

due diligence not only would have focused more upon the recorded mortgage and the

problematic release, but would have also uncovered at the least the following facts that would

have demanded further inquiry:

        (1)     Jerome Cohen was a fugitive from justice in Pennsylvania in November 1993.

        (2)     American Home Rentals, a company operated by Jerome Cohen and Steve Cohen,

        was sued by the Preate’s Bureau of Consumer Protection in February 1993 for defrauding

        customers of about $350,000 over a period of two years.

        (3)     In June 1993, the Deputy Attorney General of Pennsylvania sued American Home

        Rentals for violating an injunction by operating under a different name.

        (4)     In September 1994, American Home Rentals was sued by the Commonwealth of

        Pennsylvania for systematically violating the state Unfair Trade Practice and Consumer

        Protection Law.

        (5)     More than 100 real estate tax lien petitions were filed against Jerome Cohen by

        the City of Philadelphia.




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       (6)    Jerome Cohen filed a personal bankruptcy petition in the United States District

       Court for the Middle District of Florida in September 1994 and that case was transferred

       to the Eastern District of Pennsylvania in January 1995.

       (7)    Jerome Cohen was the subject of an unsatisfied judgment in the amount of

       $66,991.

       (8)    An Internet discussion forum hosted by Bigger Pockets at

       https://www.biggerpockets.com/forums/311/topics/300843-has-anyone-invested-in-any-

       of-the-equitybuild-properties contained a series of comments posted by Lindsay Hirsch,

       who stated that her father, Gordon Hirsch, an attorney who committed suicide shortly

       after he withdrew from his representation of EquityBuild, left a note stating that that the

       company was running a Ponzi scheme and stating that: “Shaun [Cohen] is using investor

       money to buy and rehab properties owned by his father Jerry. Crazy mortgages are put on

       the property and EquityBuild abandons them.”

       (9)    The Cook County Recorder of Deeds website identifies EquityBuild as a grantor

       of 190 properties and a grantee of 160 properties.

       (10)   The following lawsuits, which individually and collectively disclose material

       information regarding the business practices of BC57's prospective borrower, were filed

       by or against EquityBuild in the Circuit Court of Cook County, Illinois:

              (a)     EquityBuild, Inc. v. Lams Investment Group, LLC, Case No. 11-L-3113.

              (b)     James B. Fannin, et al. v. EquityBuild, Inc., Case No. 15-L-3211.

              (c)     EquityBuild, Inc. v. G-Slow Construction Services, LLC, Case No. 15-L-

                      3458.

              (d)     Taty Construction, Inc. v. EquityBuild, Inc., et al., Case No. 16-CH-3189.



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               (e)     Brooke Lee v. EquityBuild, Inc., Case No. 17-L-6742.


                                      *       *        *     *

       The Receiver reserves the right to rely upon or cite to other evidence supporting its

positions in this Disclosure in its later submissions including but not limited to any information

and documents cited by other claimants that is presented in their position statements.



Dated: November 8, 2023                       Respectfully submitted,

                                              s/ Michael Rachlis
                                              Michael Rachlis
                                              Jodi Rosen Wine
                                              Rachlis Duff & Peel, LLC
                                              542 South Dearborn Street, Suite 900
                                              Chicago, IL 60605
                                              Phone (312) 733-3950
                                              mrachlis@rdaplaw.net
                                              jwine@rdaplaw.net

                                              Attorneys for Kevin B. Duff, Receiver




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                                 CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Receiver’s Group 2 Disclosure, via

ECF filing, to all counsel of record on November 8, 2023.

       I further certify that I caused true and correct copies of the foregoing to be served upon the

following individuals or entities by electronic mail:

       -       All known individuals or entities that submitted a proof of claim in this action (sent
               to the e-mail address each claimant provided on the claim form).

       I further certify that the Receiver’s Group 2 Disclosure will be posted to the Receivership

webpage at: http://rdaplaw.net/receivership-for-EquityBuild




                                                        /s/ Michael Rachlis

                                                        Michael Rachlis
                                                        Rachlis Duff & Peel, LLC
                                                        542 South Dearborn Street, Suite 900
                                                        Chicago, IL 60605
                                                        Phone (312) 733-3950
                                                        Fax (312) 733-3952
                                                        mrachlis@rdaplaw.net




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                                       Exhibit
                                                  exhibitsticker.com




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                                     Ezri Namvar
             U.S. Securities and Exchange Commission v. Equitybuild, Inc.



               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

      UNITED STATES SECURITIES AND
      EXCHANGE COMMISSION,
                                                Civil Action No.
                            Plaintiff,          18-cv-5587
                    vs.                         Hon. Manish S. Shah
      EQUITYBUILD, INC., EQUITYBUILD                Magistrate Judge
      FINANCE, LLC, JEROME H. COHEN                 Young B. Kim
      and SHAUN D. COHEN,
                            Defendants.


                    The Zoom vidoeconference deposition of
      EZRI NAMVAR, called by the Defendants for
      examination, pursuant to Notice, and pursuant to
      the Rules of Civil Procedure for the United States
      District Courts pertaining to the taking of
      depositions, taken remotely before Joanne M.
      Gagliardi, a Certified Shorthand Reporter and
      Registered Professional Reporter, on November 1,
      2023, at the hour of 1:00 p.m.




      REPORTED BY:        Joanne M. Gagliardi, CSR, RPR
                                                                       Exhibit
                                                                                  exhibitsticker.com




      LICENSE NO.:        084-002466
      JOB NO.:      21443                                                 2

                                                                        312.345.1500
                                                                        847.551.3460
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                                     Ezri Namvar
             U.S. Securities and Exchange Commission v. Equitybuild, Inc.

                                                                            Page 2
 1    APPEARANCES:
 2
 3       U.S. SECURITIES AND EXCHANGE COMMISSION
         BY MR. BENJAMIN HANAUER
 4       175 West Jackson Blvd.
         Suite 1450
 5       Chicago, Illinois 60604
         312-353-8642
 6       hanauerb@sec.gov
 7              appeared remotely on behalf of Plaintiff.
 8
 9       RACHLIS DUFF AND PEEL, LLC
         BY MS. JODI ROSEN WINE
10       542 South Dearborn Stree
         Suite 900
11       Chicago, Illinois 60605
         312-275-5102
12       jwine@rdplaw.net
13              Appeared remotely on behalf of Defendants;
14
15       LOEB & LOEB, LLP
         BY MR. ANDREW R. DEVOOGHT
16       BY MS. ALEXANDRA J. SCHALLER
         321 North Clark Street
17       Suite 2300
         Chicago, Illinois 60654
18       312-464-3100
         devooght@loeb.com
19       aschaller@loeb.com
20              Appeared remotely on behalf of Shatar
                Capital LLC and Deponent;
21
22
23
24

                                                                        312.345.1500
                                                                        847.551.3460
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                                                                            Page 3
 1    APPEARANCES CONTINUED:
 2
 3       CHERNY LAW
         BY MR. WILLIAM CHERNY
 4       111 East Jefferson Avenue
         Naperville, Illinois 60540
 5       630-219-4384
         bill@chernylaw.com
 6
                Appeared remotely on behalf of Shatar
 7              Capital LLC;
 8
 9       TOTTIS LAW
         BY MR. MAX A. STEIN
10       401 North Michigan Avenue
         Suite 530
11       Chicago, Illinois 60611
         312-527-1400.
12       mstein@tottislaw.com
13              Appeared remotely on behalf of Individual
                Investors.
14
15
16
17    ALSO PRESENT:
18       MS. CAROLYN MIZE
19       MR. EITAN BLANC
20
21
22
23
24


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      MR. STEIN:
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 8
 9    MR. DEVOOGHT:
10       CROSS EXAMINATION                                            128
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16    Exhibit 2        Proof of Claim Form                  18
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17    Exhibit 4        November 22, 2016, Email             30
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18    Exhibit 6        December 23, 2016, Email Chain       43
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19    Exhibit 8        March 7, 2017, Email Chain           52
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 1                 THE REPORTER:       If I could have everyone
 2          present on the Zoom call at this time state
 3          their name, if they represent a party, just
 4          so I could have a record of who is present.
 5                 MS. WINE:     I'll begin.       This is Jodi
 6          Rosen Wine here on behalf of the receiver.
 7                 MR. DEVOOGHT:       Andy DeVooght and Ali
 8          Schaller on behalf of Shatar Capital and its
 9          30(b)(6) designee who is sitting for the
10          deposition today.
11                 MR. CHERNY:      William Cherny, C-h-e-r-n-y,
12          on behalf of Shatar Capital, LLC.
13                 MR. STEIN:      Max Stein on behalf of
14          individual investors.
15                 MR. HANAUER:       Good afternoon.        This is
16          Ben Hanauer for the SEC.
17                 THE REPORTER:       Thank you.      I have a
18          Carolyn Mize.       She also has no microphone or
19          camera, so she's present she said for MID LLC
20          in Group 2.      And Mr. Blanc is here as an
21          observer.
22                 MR. NAMVAR:      Ezri Namvar, witness.
23                 THE REPORTER:       Thank you.      And if I could
24          just put a statement on the record.               Good


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                                                                            Page 6
 1          afternoon.      My name is Joanne Gagliardi, and
 2          I am a Certified Shorthand Reporter.
 3                 Before we proceed, pursuant to Federal
 4          Rules of Civil Procedure 30(b)(4) regarding
 5          remote electronic depositions, I will ask
 6          counsel to agree on the record that there is
 7          no objection to myself administering a
 8          binding oath to the witness remotely.
 9                 Counsel, please state your name and your
10          agreement on the record.
11                 MS. WINE:     Jodi Wine.       I agree with the
12          procedure.
13                 MR. DEVOOGHT:       Andrew DeVooght.        We agree
14          with the procedure.         Thank you.
15                 MR. CHERNY:      Bill Cherny.       We agree.
16                 MR. STEIN:      Max Stein.      Agreed.
17                 MR. HANAUER:       Ben Hanauer.       Agreed.
18                 THE REPORTER:       Sir, if I could have you
19          raise your right hand, please.
20                           (Witness sworn.)
21
22
23
24


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                                     Ezri Namvar
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                                                                            Page 7
 1                              EZRI NAMVAR,
 2    called as a witness on behalf of defendants,
 3    having been first duly sworn, was examined and
 4    testified as follows:
 5                          DIRECT EXAMINATION
 6    BY MS. WINE:
 7          Q.     Okay, thank you.        Mr. Namvar, could you
 8    please state your full name.
 9          A.     First name is Ezri, E-z-r-i.            Last name
10    is Namvar, N, as Norman, a-m, as Mary, V, Victor,
11    a-r.
12                 MS. WINE:     Thank you.       So everyone, I am
13          going to put in the chat a link to a Dropbox,
14          and I'm going to attempt to seamlessly put
15          deposition exhibits into that Dropbox as I
16          use them.      Can everyone see a link?
17                 MR. DEVOOGHT:       Yes.
18                 MS. WINE:     There's currently one exhibit.
19          I'm also going to put it on the screen.
20          There's no reason you have to download it or
21          view it separately.         I just thought if
22          counsel wanted a copy, that that was the best
23          way to do that.
24                 So I'm going to go ahead and seamlessly


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                                                                            Page 8
 1          again share my screen.
 2    BY MS. WINE:
 3          Q.     So, Mr. Namvar, are you able to see on
 4    the screen the document that I'm marking as
 5    Exhibit 1?
 6          A.     I am seeing the top of the first page.
 7          Q.     And I tried to make it big enough for
 8    people to see it.         I may have to shrink it a
 9    little to get more text on the screen, but Exhibit
10    1 is the notice of this deposition, and the
11    deposition is of Shatar Capital Partners.
12          A.     Can you please hold one second?             Can I
13    turn up the volume here or not?              What do I do?
14    This one?
15                 Okay.    Go ahead.      Sorry about that.
16          Q.     So do you understand that you're here
17    today to testify on behalf of Shatar Capital
18    Partners?
19          A.     Yes.
20          Q.     And the mortgage loans that are the
21    subject of Shatar Capital's involvement in this
22    case do use the term Shatar Capital Partners to
23    identify the identity.           Many of the other
24    documents I've seen say Shatar Capital Inc.


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 1                 So my first question to you is:             What is
 2    the difference between Shatar Capital Partners and
 3    Shatar Capital Inc.?
 4          A.     I don't think there is any difference.                I
 5    don't know who brought partners up, but it's
 6    Shatar Capital Inc.
 7          Q.     So that is a corporation?
 8          A.     It is a corporation.
 9          Q.     And what state is it incorporated?
10          A.     California.
11          Q.     And when was Shatar Capital Inc.
12    incorporated?
13          A.     Early part of 2016.
14          Q.     Okay.    And do you know who incorporated
15    the entity?
16          A.     Yes, my son, Daniel Namvar.
17          Q.     And is Daniel Namvar an officer of Shatar
18    Capital Inc.?
19          A.     Yes.
20          Q.     For purposes of this deposition if I
21    mention Shatar or the company, we understand that
22    to mean I'm talking about either Shatar Capital
23    Partners or Shatar Capital Inc., which you say are
24    one and the same thing?


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 1          A.     Yes.
 2          Q.     Who are the officers of Shatar Capital?
 3          A.     As far as I know, only Daniel.
 4          Q.     You're not an officer of the company?
 5          A.     No.
 6          Q.     How many employees does Shatar Capital
 7    have currently?
 8          A.     Employees like on salary-type employees,
 9    none.
10          Q.     So they have no payroll, no W-2
11    employees?
12          A.     No.
13          Q.     Who other than Daniel Namvar is working
14    at or with the company?
15          A.     Just Daniel.
16          Q.     Okay.    As of 2017 when the loans that
17    brings us here today were made, how many employees
18    did the company have?
19          A.     None.
20          Q.     Have you ever been employed by Shatar
21    Capital?
22          A.     No.
23          Q.     What is your relationship to Shatar
24    Capital?


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 1          A.     We've been called analyst, underwriter,
 2    somebody who knows the loan business and can
 3    handle loans and whatever --
 4          Q.     If I can ask you to speak up a little
 5    bit.    I'm not sure I heard.
 6                 MS. WINE:     Joanne, I don't know if you
 7          heard the answer.
 8                 THE REPORTER:       Do you want me to read it?
 9                 MS. WINE:     Sure, would you read it,
10          please.
11                          (Record read.)
12    BY MS. WINE:
13          Q.     And whatever what?
14          A.     Whatever relates to making a loan.
15          Q.     Okay.    And what is the business of the
16    company?
17          A.     It's a real estate brokerage business
18    which their license involves them to do loans.
19    Also real estate loans, because I am buying and
20    selling real estate projects, earning a
21    commission.
22          Q.     Okay.    And making loans, what percentage
23    of the business would you say is making loans?
24          A.     At that time?


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 1          Q.     Yes, thank you.        In 2017.
 2          A.     Over 60, 70 percent.
 3          Q.     And how about currently?
 4          A.     Currently Shatar Capital is very
 5    inactive, not much.
 6          Q.     Give me one minute.         I'm going to try to
 7    get my volume up a little bit.
 8                 Okay.    Thank you.      Before getting into
 9    the specific loans, let me back up a minute.                   I
10    wanted to ask you about this deposition notice.
11    Are you -- have you seen the last page of this
12    notice, Schedule A, which is the topics for this
13    deposition?
14          A.     Yeah, I'm sure when we received it, we
15    saw it.
16          Q.     Have you prepared yourself to testify
17    about the information that's known or reasonably
18    available to Shatar Capital about these topics?
19          A.     Yes.
20          Q.     And have you been designated to testify
21    about each one of these topics?
22          A.     Yes.
23          Q.      In 2017 or that time period, 2016, 2017,
24    how did it Shatar Capital identify deals or loans


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 1    that they were interested in?
 2          A.     They were what?        How did we identify the
 3    loans that people needed money?
 4          Q.     Right.     How did Shatar Capital get
 5    business?
 6          A.     Word of mouth.
 7          Q.     Okay.    And can you kind of describe what
 8    due diligence the company did before making a loan
 9    just in general at that time?
10          A.     Every loan is different.
11          Q.     In what way?
12          A.     There's not a set formula.
13          Q.     I'm sorry.      Can you repeat that?
14          A.     We do not have a set formula like
15    institutional lenders, every loan is different and
16    custom made.
17          Q.     Were there any general practices that
18    were employed on each and every loan?
19          A.     You are talking items in common with
20    every loan?
21          Q.     Correct.
22          A.     We are looking at the title report to
23    make sure 99.9 percent of our loans are first
24    mortgages, to make sure that we had a clean title


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 1    commitment to make a first mortgage.                Over 70 or
 2    80 percent of the loans we do we might run a
 3    credit report, and then, of course, the loan
 4    documents depending on the location and the type
 5    of the property, reviewing, me or our lawyers, the
 6    commitment letter -- title commitment to see what
 7    kind of endorsements, if any, we might need, and
 8    finding a way to be comfortable with the
 9    valuation.
10          Q.     Does that mean valuation of the
11    property --
12          A.     Yes.
13          Q.     -- that's being used as collateral for
14    the loan?
15          A.     That's the most important thing.                That's
16    an overwhelming -- that condition trumps
17    everything else because we are hard money lenders.
18          Q.     Can you explain what you mean by hard
19    money lender?
20          A.     Not institutional, not a bank.             We
21    don't -- hard money lender.             We are private money,
22    hard money lenders, not as many requirements.                    We
23    don't look at tax returns usually.               We -- in most
24    cases we don't get an appraisal because -- unless


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 1    the borrower comes with an old appraisal or a new
 2    appraisal.       They have it, so we'll take it for our
 3    files and gather the information from the
 4    appraisal.
 5                 You just wanted to know what hard money
 6    means?     I don't understand.          I mean I explained it
 7    as much as I could.
 8          Q.     Okay.    How do you get comfortable with
 9    the valuation if you don't have an appraisal?
10          A.     Most of the loans we have made during the
11    last -- since 2017 anyways, most of them, more
12    than 80, 90 percent, have been purchase money
13    loans.     My duty and function is to make sure that
14    the purchase contract is not -- is real.                 It's not
15    somebody playing funny, double escrowing.                  It's
16    arm's length, for lack of a better word.                 If it's
17    arm's length, and I ask sizes, number of units,
18    blah, blah, and then I will feel comfortable about
19    the value.
20                 The refinancing, which is not this case
21    anyway, it's harder process.             We need to know when
22    they bought it, how much they spend in it; and we
23    always like the borrowers, excuse the term, to be
24    pregnant.      They have to have their own money in


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 1    the deal.      They cannot, you know, cash out, so to
 2    speak.
 3          Q.     What do you do to evaluate the
 4    creditworthiness of the borrower?
 5          A.     Not much unless I make a couple of calls
 6    or run a credit report to make sure they're not in
 7    bankruptcy or they have judgments against them;
 8    and even if they do, we sometimes close our eyes
 9    to that if they give us explanation.                That's
10    another function of the hard money lender.                  We're
11    not as stringent as banks and institutions.
12          Q.     Shatar Capital has filed a claim in the
13    SEC action that we're appearing here today in,
14    correct?
15          A.     Yes.    I remember we getting a Proof of
16    Claim from you guys or your client, and we filled
17    it and sent it.
18          Q.     Okay.    Who did the -- who prepared the
19    Proof of Claim Form?
20          A.     There was a girl in the office called
21    Maria Yellon (phonetic).            I don't know how to
22    spell her last name.          Maria did this.        And I
23    looked at it, and I'm sure Daniel looked at it
24    too.


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 1          Q.     I've seen email correspondence with Maria
 2    that the domain is nutfarmers.com?
 3          A.     Nut Farmers is the major employer.
 4          Q.     What is Nut Farmers?
 5          A.     They are into pistachio and almond
 6    farming.      That's the main business.
 7          Q.     And whose company is that?
 8          A.     I really don't know, but it belongs to my
 9    brother's family.         I don't know if it's his wife
10    or son, my nephew.         I don't know.        I don't know
11    the makeup of the company, and they have a lot of
12    other partners too, outside partners.
13          Q.     What's your brother's name?
14          A.     Mousa, M-o-u-s-a.
15          Q.     So are you telling me that employees of
16    Nut Farmers worked for Shatar?
17          A.     They didn't work for Shatar.            We could
18    pull them to do accounting and other things, and
19    whether we pay them or not I'm not sure.                 I know
20    in some cases we paid them, reimbursed like their
21    hours or whatever; but it was like the accounting
22    or keeping track of the payments because it's not
23    too time-consuming.
24          Q.     Okay.    And there's another gentleman that


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 1    was involved in the communications relating to
 2    this loan named Andrew Calleja, C-a-l-l-e-j-a.
 3          A.     Andrew Calleja, I'm glad you brought him
 4    up.    I think at some time -- he is not here
 5    anymore for years.         Way before COVID he went to
 6    the Philippines, and he kept servicing the loans
 7    until maybe two years ago, year and a half ago.
 8    He would keep track of the payments and bill
 9    people maybe for the payments if the interest
10    wasn't already prepaid.            He was at the Nut Farmers
11    office too.
12          Q.     But he didn't work for Shatar Capital?
13          A.     I'm 99 -- I don't know.          I don't think he
14    was ever an employee of Shatar Capital.                 That's
15    easy to find out, but I don't know.
16          Q.     Okay.    I've now put in the Dropbox
17    folder -- I gave people access to an Exhibit 2.
18    You may need to refresh your computer to...
19                 MR. DEVOOGHT:       Jodi, are you going to put
20          it on the screen?
21                 MS. WINE:     Yeah.     I was just looking at
22          the chat.      Some back and forth about this
23          exhibit or the Dropbox link.
24                 MR. DEVOOGHT:       Okay.    Got it.


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 1                 MS. WINE:     Can everyone now see a Proof
 2          of Claim Form that has been marked as Exhibit
 3          2?
 4    BY MS. WINE:
 5          Q.     Mr. Namvar, you can see that on the
 6    screen?
 7          A.     Yes.
 8          Q.     And this was a Proof of Claim that was
 9    submitted by:        "Shatar Capital Inc., et al.
10    (Please see Exhibit A attached)."               Do you see
11    that?
12          A.     Yes.
13          Q.     Is the Exhibit A that was attached the
14    list of lenders that was attached to the mortgage?
15          A.     I don't know.       Show me Exhibit A and I'll
16    tell you.
17          Q.     The way that we got this, there were
18    hundreds of pages attached to the claim form.                   The
19    only thing that was marked as Exhibit A was
20    attached to promissory note and the mortgage --
21    mortgages, plural, related to the properties
22    located at 5450 South Indiana and 7749 South
23    Yates.     I wasn't clear on what was meant by
24    "please see Exhibit A attached."


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 1          A.     I imagine, I'm not sure, that when we do
 2    the loan documents, usually always Exhibit A is
 3    the legal description.           So this Exhibit A and that
 4    Exhibit A may be different, if you just got the
 5    legal description.
 6                 I'm imagining, imagining, unless you show
 7    me something, that this Exhibit A here talks about
 8    the breakdown of monies owed.             If you put the
 9    investor's name in there, that could be, but I
10    can't testify to anything unless I see this
11    Exhibit A or the other Exhibit A, if I have to
12    distinguish.
13          Q.     Let me just ask you this:           Who is the
14    claimant on the claim that has been asserted by
15    Shatar Capital?
16          A.     Right now it would be Shatar Capital.
17    You can call it anybody you want, or the
18    investors; and if we get anything, we will -- by
19    the way, hold one second, please.
20                 Bill, where are you?         Which one is Bill?
21    Bill Cherny?
22                 MR. CHERNY:      I'm here.
23                 THE WITNESS:       You're here, okay.         What
24          did you ask?       What was your last question?


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 1          Sorry.     It would be the -- the claimants
 2          would be either Shatar on behalf of the
 3          current noteholders.          I don't know the
 4          percentages, but I can tell you who they are,
 5          or themselves directly.           It doesn't make any
 6          difference.       They trust us.       We have always
 7          distributed any money we got, et cetera, et
 8          cetera.
 9    BY MS. WINE:
10          Q.     And the claim submitted by Shatar Capital
11    in this case related to the two properties I just
12    identified, 5450 South Indiana and 7749 South
13    Yates?
14          A.     Correct.
15          Q.     And are there any other loans that Shatar
16    Capital had outstanding with EquityBuild?
17          A.     At that time I'm not sure, but I think we
18    made EquityBuild one loan before this loan.                  I'm
19    not sure.       I don't know the dates of when they
20    were due or not, but the one we made before this
21    loan we got paid.
22          Q.     Okay.    So your understanding is Shatar
23    Capital made two different loans to EquityBuild,
24    one of them was paid off and this one resulted in


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 1    this claim?
 2          A.     I don't want to say Shatar Capital made.
 3    I like to say the word arranged, Shatar Capital
 4    arranged.
 5          Q.     Okay.    I think we go to the last page of
 6    this exhibit, let me explain.             The third to the
 7    last page has signature of Daniel Namvar.                  He's
 8    the one that signed this Proof of Claim, correct?
 9          A.     Are you asking me a question?
10          Q.     Yes.
11          A.     What's the question?
12          Q.     This claim was submitted by Daniel
13    Namvar?
14          A.     I'm assuming so, yes.          I have no reason
15    to doubt it.
16          Q.     And let me just explain to you these last
17    pages that are appended on to Exhibit 2 sets out
18    some of the information on the exhibit the way
19    these claim forms were generated.               I'll give you
20    an example.         On page 5 of the exhibit where it
21    says:      "Describe the basis for other amounts you
22    claim," do you see that there?
23          A.     Yes.
24          Q.     This information was pretty much


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 1    illegible on the form as printed out, so there's a
 2    separate document that has that information, the
 3    other claimed amounts basis.             This is the
 4    information that was typed into that section of
 5    the claim form.
 6                 I'm not asking a question there.              Since I
 7    went to the end of the document and saw this, if
 8    anyone wants to see any information that's not
 9    legible, this is where it can be found.
10                 MR. DEVOOGHT:       Thank you.
11    BY MS. WINE:
12          Q.     Section 3 of this claim form indicates
13    $240,750.30 was the total amount received from the
14    receivership defendants.            Do you see that?
15          A.     I see the number, yes.
16          Q.     And that same number is listed under
17    interest that was received on this loan?
18          A.     Okay.
19          Q.     And then there's another $100,000
20    principal returned to you?
21          A.     Correct.
22          Q.     So based on that you're listing
23    $340,750.30 that was received by Shatar Capital on
24    this loan?


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 1          A.     Yes, interest entries.
 2          Q.     And the total amount loaned was
 3    $1,800,000?
 4          A.     Correct.
 5          Q.     If we go to section 5 of the document.
 6    Sorry if I'm making you dizzy.              I believe it is
 7    section 5.       Okay.    Section 5 shows outstanding
 8    principal balance of $2,247,163.78.                Do you see
 9    that?
10          A.     Yes.
11          Q.     How did the principal balance increase by
12    almost $450,000?
13          A.     Probably default rates and legal fees,
14    calculated and default rates which are not allowed
15    and add any out-of-pocket fees.              That's not
16    unusual.
17          Q.     So you're adding default interest and
18    legal fees to the principal balance of the loan?
19          A.     Yes, as our note allows.
20          Q.     The loan documentation allows that?
21          A.     The loan documents is very specific about
22    default rates and legal fees and collection fees.
23          Q.     Let me show you then another exhibit
24    which I will mark as Exhibit 3.              Do you see a


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 1    Demand Statement that's been marked as Exhibit 3
 2    on your screen?
 3          A.     Yes.
 4          Q.     Okay.    And this document is dated June 5,
 5    2023?
 6          A.     What?
 7          Q.     Do you see the document is dated June 5,
 8    2023?
 9          A.     That's a few months ago.           I see that
10    date, yeah.
11          Q.     Okay.    And the header on this document
12    says Shatar Holdings LLC?
13          A.     That -- yeah, that's the service there
14    now.     Most servicing is done by Shatar Holdings.
15          Q.     So Shatar Holdings LLC is a separate
16    company from Shatar Capital Inc. and Shatar
17    Capital Partners?
18          A.     Yes.    Shatar Capital Partners and Inc.
19    are the same, but this one is different.
20          Q.     And Shatar Holdings LLC, who are the
21    members of that entity?
22          A.     Pardon?     What was your question?
23          Q.     Shatar Holdings LLC is a limited
24    liability company, correct?


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 1          A.     Yes.
 2          Q.     And who are the members of that company?
 3          A.     I don't know the exact members, but maybe
 4    my nephew is one, Mousa's son, and for sure I know
 5    Daniel is not involved.
 6          Q.     Are you a member of that LLC?
 7          A.     No.
 8          Q.     What is Mousa's son's name?
 9          A.     Ariel.
10          Q.     Namvar also?
11          A.     Yes.
12          Q.     And on Exhibit 3 do you see that the
13    total amount due by June 5, 2023 is over 5 million
14    dollars?
15          A.     I don't know how we got there, but it's
16    probably a different -- I don't know.                Let me see.
17    Can you go up?        Let me see this.
18          Q.     I will go up to the top.           It appears that
19    every month there's a monthly interest due and a
20    10 percent penalty that's added to the principal
21    balance and then some legal fees which are showing
22    up in blue, and those are all added to the
23    principal balance -- this doesn't show principal
24    balance.      I'm sorry.      The column does say


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 1    principal balance, so the $5,048,000 is the
 2    principal balance as of June 5, 2023.
 3    (Simultaneous talking.)
 4                  THE REPORTER:      I'm sorry.      I didn't hear
 5          that.
 6                  THE WITNESS:      I said I will make you a
 7          deal.     Give me 3 million, we are done.
 8                  MR. DEVOOGHT:      Let's let her ask
 9          questions.      You can answer her questions.
10                  THE WITNESS:      All right.
11    BY MS. WINE:
12          Q.      Okay.   Your testimony is that your loan
13    documentation enables you to add all of these fees
14    and interest to the principal balance, correct?
15          A.      I really am not sure, I'll be honest with
16    you, about the late charges.             The default rate,
17    yes, 100 percent.         I don't think once the loan
18    matures you can charge those late charges.                  The 10
19    percent late fees we're willing to waive it and
20    take it off the statement.            They don't -- I don't
21    think they legally apply, according to California
22    law anyways.       Default rate does for sure.
23          Q.      Turning back to Exhibit 2, section 5D
24    lists the payments that were received, do you see


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 1    that, D, Details About Money Returned and/or Paid
 2    To You?      And this lists a $1,000 payment on April
 3    4, 2017, which is identified as a per diem.                  Do
 4    you understand that to be money that was paid out
 5    at the closing of the loan?
 6          A.     I'm not sure.       Sometimes the way our
 7    format works, if we close, if we close, we get
 8    prepaid interest for the amount of -- for the
 9    number of days till the 1st of the month.                  And
10    then the first payment comes due the 1st of the
11    following month, the next month.
12          Q.     Okay.    And that's consistent with the
13    documents that we've seen in this case that
14    there's $1,100 per diem paid at the loan closing?
15          A.     Yes, from 26 days.
16          Q.     It's actually two days?
17          A.     Assuming.     Because let's just say we
18    close on April 4, and then to May 1 it's 26 days
19    so we would charge that; but the next payment is
20    not due May 1.        It's due June 1 because interest,
21    unlike rent, gets paid at the rears, at the end of
22    each month, not the beginning of each month.
23          Q.     Okay.    And this Proof of Claim Form
24    listed -- and it's going to be hard for you to see


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 1    that, but there's 15 payments of $16,500 listed?
 2          A.     If my memory serves me right, we were
 3    never late on this loan.            It was performing like
 4    clockwork until your clients came in.
 5          Q.     Okay.    In July of 2018 a principal
 6    payment of $100,000 was made.
 7          A.     Correct.
 8          Q.     And then the payment in August was
 9    increased to $16,666.66.            Do you know why that
10    happened?
11          A.     Unless there was a late charge I don't
12    know.      It should have gone down, not up.
13          Q.     I want to talk about EquityBuild now.
14    What was the first contact that Shatar Capital had
15    with someone at EquityBuild?
16          A.     I, as a representative, Ezri.             I just
17    want to make sure.         There was a guy named Chris
18    Miro [sic] that was introduced to me by somebody
19    else, Doron Kermanian.
20          Q.     Just to interrupt for the court reporter,
21    Chris Mora is spelled M-o-r-a, correct?
22          A.     M-i-r-o I think.        Mora -- I don't think
23    it was Mora.       It was Miro I think.
24          Q.     Well, I can show you a document.


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 1          A.     Chris is the one.
 2          Q.     Just one second I'll mark as Exhibit 4.
 3    Not quite as quick as I would like.                Okay you
 4    should now be able to see a document marked as
 5    Exhibit 4?
 6                 MR. DEVOOGHT:       Yes.    Thank you.
 7    BY MS. WINE:
 8          Q.     Okay.    And you see that Exhibit 4 is an
 9    email sent from Christopher Mora, M-o-r-a?
10          A.     Yeah.    Then you're right.
11          Q.     That's the gentleman you're talking
12    about?
13          A.     Yes.
14          Q.     And then it also mentions in the first
15    line Doron Kermanian told me that he thought you
16    would be interested, and that's the Doron
17    Kermanian you just mentioned?
18          A.     Yes.
19          Q.     Okay.    And you said that Mr. Kermanian
20    introduced you to Mr. Mora?
21          A.     Yes.
22          Q.     And were you partners with Mr. Kermanian
23    in a different business venture?
24          A.     Never.


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 1          Q.     What was your relationship with him?
 2          A.     I knew his father for years and years,
 3    for over -- I've known his father who has passed
 4    away since 1980, 1979 even.
 5          Q.     Okay.    And did you do business with
 6    Mr. Kermanian, the son?
 7          A.     The son, never except this, I mean if you
 8    call this a business.           We gave him one of two
 9    referral fees on this stuff that he would refer to
10    us.    I was very passionate about him making money
11    because he had lost his father.
12          Q.     And you understood that he was also
13    investing in EquityBuild?
14          A.     No, I was not.
15          Q.     Did you talk to him about --
16          A.     I never thought he had any money.
17          Q.     But you were talking to him about this
18    particular loan?
19          A.     Not even.     I don't think he knows
20    anything about the loan.            He just introduced me to
21    Christopher Mora; and when the loan was made, we
22    gave him some sort of a referral fee.                I don't
23    remember how much it was; a few thousand dollars.
24          Q.     This exhibit we've marked as Exhibit 4


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 1    from November 22, 2016, do you believe this is the
 2    first contact you had with Mr. Mora, or had you
 3    already been communicating with him before this?
 4          A.     I'm assuming almost 100 percent that this
 5    is the first time.         I really -- time flies.           I
 6    really never would have thought it's been seven
 7    years, oh, my God.
 8          Q.     Okay.
 9          A.     My goodness.
10          Q.     Mr. Mora sent you in this email he says a
11    link to the offering memorandum for 7024 South
12    Paxton?
13          A.     Yeah.    That was probably the first loan
14    we made.
15          Q.     Okay.    And Mr. Mora explains the model of
16    EquityBuild which consists of three key
17    components?       Do you see that?        I'm not sure what
18    you can see.       Do you see --
19          A.     I see No. 1 where your mouse is at.
20          Q.     You can see the mouse.          I wasn't sure if
21    you could.
22                 MR. DEVOOGHT:       Yeah, we can see 1 and A.
23    BY MS. WINE:
24          Q.     And then it continues B through F below,


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 1    and then 2 and 3?
 2          A.     Okay.    I mean I see all of that.
 3                 MR. DEVOOGHT:       Do you want him to read
 4          it?
 5                 MS. WINE:     I don't.
 6    BY MS. WINE:
 7          Q.     You understood that EquityBuild was
 8    finding investors and offering them secured loans?
 9          A.     I don't know.       When I read this, I see
10    what you're saying, but not only equity, but a lot
11    of people us to be their partners in the deal or
12    be equity players.         We just want to make bridge
13    loans, that's all, first mortgages only; and
14    that's what I would have told him for sure.
15          Q.     Okay.    Do you understand what Mr. Mora
16    means when he says no pooling?              Let me read this
17    to you.      He says:     "Each lender has a first lien
18    position on the money they lend and their funds
19    are further secured by the property itself as
20    collateral.       This is not a pooling model that
21    investors commonly see with other companies."
22    What do you understand that to mean?
23          A.     I can tell you that I understand what No.
24    3 is saying.       I can also, although I've been


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 1    advised not to, tell you that what I think
 2    happened here, he just copied and pasted whatever
 3    EquityBuild sent him, Shaun Cohen or whoever.
 4    Chris Mora, as I remember, is not this detailed at
 5    all.
 6                 He probably copy and pasted one of the
 7    emails that he received from EquityBuild and sent
 8    it to me.      This was an introduction email.              So I
 9    didn't go into it in detail unless I talk to the
10    borrower and ask questions about the property they
11    want a loan on.
12          Q.     Okay.    And he's telling you that there's
13    a few spots left on this Paxton note with about
14    $100,000 left to raise of the overall 2.75
15    million.      Do you see that?
16          A.     I see that, yes.
17          Q.     So you understood that EquityBuild had
18    already raised over 2 1/2 million dollars on -- a
19    note on -- secured by 7024 Paxton?
20                 MR. DEVOOGHT:       Object to the form.
21                 THE WITNESS:       I see what's written here,
22          but what does this have to do with our loan
23          of today's deposition?
24    BY MS. WINE:


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 1          Q.     Shatar Capital made a loan on 7024
 2    Paxton, correct?
 3          A.     A loan, a first mortgage loan and got
 4    paid off.
 5          Q.     And that loan was made after EquityBuild
 6    told you that they had already raised over 2 1/2
 7    million dollars from investors that was secured by
 8    that property?
 9          A.     Doesn't matter to me anyways.             We look at
10    the property that we're making a loan on.                  We make
11    sure our documents are dotted and crossed, and we
12    get a title policy, and that's all I care about.
13    What this says doesn't matter to me because we
14    hadn't even got -- I don't think when this was
15    sent, I didn't talk to Shaun Cohen in my life.
16                 This is an introductory letter, whatever
17    it is.     I go -- when I get to the bottom and to
18    the nitty-gritty, that's when I concentrate, and I
19    put my head on.        Because we get, believe it or
20    not, probably 15, 20 requests a week, at that time
21    maybe 10 requests a week.            So I don't have time to
22    sit and read every sentence or comma or dot.
23          Q.     After receiving this letter from
24    Mr. Mora, did you have further contact with


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 1    EquityBuild regarding what Mr. Mora was offering?
 2          A.     Not regarding what Mr. Mora was offering,
 3    I think that letter was the beginning of me or the
 4    introduction or the setup or the precursor for me
 5    to speak to Shaun Cohen, which is the first person
 6    I spoke to from EquityBuild.
 7          Q.     And what do you recall of the first
 8    communications you had with Mr. Cohen, Mr. Shaun
 9    Cohen?
10          A.     I don't recall exact words.
11          Q.     I've seen a meeting invite for a week
12    after this email on November 28, 2017.                 Does that
13    sound about when you might have talked to
14    Mr. Cohen?
15          A.     I don't know.       I really don't know.          If
16    you want to show me something, I'm not going to
17    deny it; but as my lawyers have seen, I forget
18    common names including my own people now at my
19    age.    Now you want me to go back six years and
20    tell you what it was.           I don't know.
21          Q.     Fair enough.       Other than Shaun Cohen and
22    Chris Mora, who else at EquityBuild did Shatar
23    Capital have contact with?
24          A.     That's a question I remember.             Toward the


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 1    end -- and I'm sure there was a couple others too.
 2    I don't remember names, but Tyler DeRoo toward the
 3    end, and a couple or three years before you people
 4    came on board he was my -- I could say my main
 5    contact.
 6          Q.     Did you have any contact with Jerry
 7    Cohen, Jerome Cohen?
 8          A.     One time.     I mean I'm sure there's a
 9    couple emails back and forth between us, but
10    speaking on the phone one time because I remember
11    specifically Shaun was in Israel or someplace.                   I
12    had to call the father.           Is that Jerome; is that
13    the father, Jerry?
14          Q.     That is.
15          A.     I had to call him.         He was in Florida,
16    and my total conversation had to do with how to
17    sign a guarantee or send it where, and it didn't
18    last maximum.        It must have lasted -- might have
19    lasted one and a half minutes.              It's the only
20    conversation I had with him.
21          Q.     So most of your dealings were with Shaun
22    Cohen or Tyler DeRoo?
23          A.     EquityBuild, yes, and their lawyers.
24          Q.     Okay.    I'm going to show you another


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 1    exhibit marked as Exhibit 5 which is a December
 2    23, 2016, email from you to both Shaun Cohen and
 3    Tyler DeRoo, copying your son, Daniel Namvar.                   Do
 4    you see that?
 5          A.     I see, yes.
 6          Q.     And do you see on the third paragraph
 7    that's in all caps you state:             "Since we have
 8    become aware of your business structure, assuming
 9    your previous deals have been closed with
10    crowdfunding investors, we need to make sure
11    you're not refinancing already-closed deals" --
12    sorry.     Let me strike that.
13                 "Since we have become aware of your
14    business structure, assuming your previous deals
15    have been closed with crowdfunding investors, we
16    need to make sure your refinancing of
17    already-closed deals are allowed and kosher, in
18    case the proceeds is not distributed and/or going
19    toward new deals."         Do you see that?
20          A.     I see that, of course.
21          Q.     And what did you mean by that?
22          A.     What it says.       We got to make sure, I
23    told you, like the Ts are crossed, dots, you know.
24    Although we were getting title policy, I wanted to


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 1    make sure there is no funny business, and that's
 2    what you should tell your clients, that there is
 3    no funny business.         Please stop and give us our
 4    money.
 5          Q.     Okay.    So are you referring to
 6    EquityBuild's business structure getting different
 7    investors to lend money secured by properties; is
 8    that what you mean by crowdfunding investors?
 9          A.     I don't know where I got that term.               I
10    don't use crowdfunding.           That's something he
11    probably said to me.          But what I'm saying is we
12    have to have a very clean first mortgage and make
13    sure everything is arm's length.              That's why we
14    employed attorneys and gave him this in caps;
15    although I see a couple of spelling errors, but
16    that's okay.
17          Q.     I'm asking what you meant by crowdfunding
18    investors when you used that in this email?
19          A.     I don't want to guess; outside investors
20    maybe.     I don't want to guess.
21          Q.     You go on and ask for documents:              "Please
22    provide any document you can."              And then it said:
23    Depending on our underwriting we may need a strong
24    opinion letter from EquityBuild's attorney?


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 1          A.     Yes.
 2          Q.     And what would that opinion letter say?
 3          A.     A lot of things.        The LLCs are correct.
 4    They're authorized.          Corporate resolutions are
 5    there.     The purchase price is arm's length.               Our
 6    documents are enforceable and correct.                 I mean I
 7    don't have one in front of me, but we use
 8    different opinion letters from opposing counsel,
 9    which our counsel normally draws and goes back and
10    forth with the opposing counsel until it gets
11    finalized.
12          Q.     When you say you needed to make sure that
13    the refinancing of already-closed deals are
14    allowed and kosher, what did you mean by that?
15          A.     Because according to Chicago laws and
16    regulations or Illinois, that's something I would
17    have present to any new person I would meet, not
18    the people I do repeated business with because
19    they know my model.          Don't waste my time.          I just
20    want to make sure that everything is kosher.
21          Q.     You follow that to say:          "In case the
22    proceeds is not distributed or going toward new
23    deals."      Can you explain what you meant by that?
24          A.     This is before we probably got the


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 1    packet.      The proceeds of our loan went toward the
 2    purchase of the deal.           It was a purchase money
 3    loan in every case.
 4          Q.     So you understood that --
 5          A.     This would be --
 6          Q.     Sorry.    I didn't mean to interrupt you.
 7    What were you saying?
 8          A.     This maybe 100 percent doesn't apply
 9    here.      What I was telling him, if you want
10    refinancing, we've got to make sure everything is
11    correct; but this wasn't a refinance I don't
12    believe.      Paxton was not a refinance.            I think
13    that was also purchase.           But Indiana/Yates was for
14    sure a purchase money loan.
15          Q.     And you understood that the property on
16    Yates Boulevard had closed before Shatar Capital
17    made its loan, correct?
18          A.     If you tell me that, I believe, and then
19    we probably required as an additional security
20    because the money he was asking wouldn't stand
21    alone on Indiana.         Just telling you my format and
22    my thought process.
23          Q.     I'm sorry.      You said that you probably
24    would have required additional security?                 I'm not


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 1    sure I heard you correctly.
 2          A.     If Indiana was a purchase money loan and
 3    he wanted 1.8 million -- I thought both of them
 4    were purchase money, but I'm going to take you at
 5    your word.       If you tell me Yates had closed before
 6    this loan, then I'm telling you we probably wanted
 7    Yates as an additional security because 1.8 was
 8    too much under Indiana law based on what I would
 9    feel comfortable with a loan to valuations.
10          Q.     Okay.
11          A.     I don't remember those details, but I'm
12    telling you the way I think and I conduct myself.
13                 MR. DEVOOGHT:       Jodi, we've been going
14          about an hour.       When you're at a good spot,
15          do you mind if we take a short break?
16                 MS. WINE:     Let's go ahead and do that now
17          since I don't have a document on the screen.
18          We can take a -- how long would you like?                 I
19          think -- there's not a big time constraint at
20          the end of the day for me.            If you don't have
21          one, we could take ten minutes.
22                 MR. DEVOOGHT:       Sure, let's do ten and not
23          do the lawyer thing and more generally make
24          it 20.     Let's make it ten, actual ten, how


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 1          about that?      We can say five and it would be
 2          ten, but let's say ten and take ten.
 3                 MS. WINE:     Okay.     We'll go back on the
 4          record at 2:10, how is that?
 5                 MR. DEVOOGHT:       That's perfect.
 6                          (Whereupon a recess was taken from
 7                           2:01 p.m. to 2:11 p.m., after
 8                           which the preceding deposition
 9                           continued as follows:)
10    BY MS. WINE:
11          Q.     Mr. Namvar, we're back from the break,
12    and I am going to share another exhibit with you.
13    Are you able to see the document that's been
14    marked as Exhibit 6?
15                 MR. DEVOOGHT:       We can see part of a
16          paragraph, we can see the top, and then --
17          there we go.       Thank you.
18    BY MS. WINE:
19          Q.     So I'm going to go down.           This is an
20    email chain that -- the bottom part of the chain
21    actually ended up as an attachment, which I've
22    seen on emails usually coming from Max.                 But you
23    see here at the bottom of the chain is the email
24    we were just looking at as Exhibit 5.                Do you


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 1    recognize that, Mr. Namvar?
 2          A.     Yes, yes.     Who is saying that?
 3          Q.     Can you maybe get a little closer to the
 4    microphone.       I'm having trouble hearing you again.
 5          A.     Who is saying that?         Who is including
 6    Shaun and whatever; me or somebody else?
 7          Q.     This is the email we just looked at,
 8    Exhibit 5, from you.          See "Ezri Namvar wrote"?
 9          A.     Right.
10          Q.     And that this is the same email we just
11    looked at, correct?
12          A.     Right.
13          Q.     Okay.    And then if you go up, the
14    response to that, do you see from Mr. Cohen to you
15    also on December 23rd?           Can you see it?
16                 Mr. -- first can you answer the question,
17    are you able to see that on the screen the email
18    from Shaun Cohen to you?
19          A.     Yes, I've seen it.
20          Q.     And Mr. Cohen says:         "On all refinances
21    we send out rollover documents to ask our
22    lenders -- asking them if they would like their
23    funds back or if they would like to roll over
24    their funds into a new deal."             And he asks:       Would


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 1    you like to have samples that they have sent out
 2    on previous deals?
 3          A.     What was my answer?
 4          Q.     And your answer also the same day said:
 5    "Please do.       This is good to know."           Do you see
 6    that?
 7          A.     Yeah.    That means -- yes, I see.
 8          Q.     And then the response from -- the email
 9    comes from Tyler DeRoo, so it's probably not a
10    response, but he sends you standard rollover
11    forms, do you see that, and there's an attachment?
12          A.     I see what it says.
13          Q.     Okay.    I'm going to go through some of
14    the attachments to this email.              There's a
15    Rollover/Distribution Authorization form that's
16    not filled out.
17                 I'm going to go back up, and he also says
18    that he's -- he says:           "I think it would be
19    easiest and best to start with 7024 South Paxton.
20    You already have the relevant financial
21    information for this one as it was one of the
22    original buildings we had you look at."                 Do you
23    see that?
24                 Did you actually come to Chicago and look


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 1    at buildings?         Mr. Namvar?
 2          A.     No, I did not.
 3          Q.     Okay.    So I think when he said had you
 4    look at them, that meant that he sent you
 5    financial information?
 6          A.     That would have been by email or other
 7    means.
 8          Q.     Right.     And then he also says he attached
 9    the title policy, closing statement and relevant
10    closing documents in an email yesterday with all
11    the closing information, but he reattaches it for
12    convenience.
13                 Okay.    Then Mr. DeRoo says he thinks it
14    would be probably easiest and best if we focus on
15    7524 Paxton since we dry closed this yesterday and
16    are scheduled to fund on Tuesday.               So we need to
17    get going on this one ASAP.             And then he asks you
18    for financing for 75 percent of the purchase
19    price.     Do you see that?
20          A.     I see it.
21          Q.     And this is the property that you've
22    already been told that EquityBuild has taken
23    2.5 -- I'm sorry.         Yeah, 2 1/2 million dollars
24    from investors that were given first position


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 1    mortgage loans?
 2          A.     I don't relate in that way.            I get to
 3    every specific deal, make sure I have a first
 4    mortgage, I have a title policy, insurance policy,
 5    casualty insurance, coverage, and all the other
 6    relative requirements.
 7          Q.     So if EquityBuild promised first
 8    mortgages to other people, as long as that wasn't
 9    in the title, it wasn't a concern of yours?
10          A.     I didn't even think that way.             My mind
11    doesn't think that way.           I've been a lender for
12    years, over 40 years.           I need a title policy.           I
13    need certain documents, and I'm not saying that we
14    made that loan.        It's a loan request for 75
15    percent, which is very unlikely.              If he made it,
16    then we made it.
17                 The dry close, which means within the
18    same week which we call it desktop closing to me,
19    to me, is the same as purchase money loan.
20          Q.     Can you explain what dry closing means?
21          A.     I don't know -- he says dry closing.                We
22    have here or I use the term desktop closing.                   If
23    your close to a title company and the escrow
24    company is known to you and your attorneys provide


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 1    either the escrow, the title letters and
 2    assurances that this is okay, they will do a
 3    closing, maybe money gets -- I don't know.                  They
 4    will do a closing without total money is getting
 5    transferred or not.          It's very rare; but since
 6    I've done it before on my end, I call it desktop
 7    closing.
 8                 So maybe a deed was recorded a few days
 9    before or after -- I mean a few days before, two,
10    three, four, five days.           That to me is the same as
11    purchase money loan; and I'm sure when it says dry
12    closing, he means desktop closing.               I don't know.
13    Ask him what he meant by that.
14                 I don't remember these emails word for
15    word.     I read things, and I kind of put it in the
16    back burner until it comes to the closing and the
17    nitty-gritty, and our attorneys advising us what's
18    missing, what's not missing.
19                 And the only reason I say attorneys is
20    because we use outside attorneys for almost all of
21    our out-of-state loans.           In California we use
22    attorneys also, but very occasionally, because our
23    processing department has loan docs which for the
24    most part are standard, and we use those.


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 1          Q.     Okay.    When Shaun Cohen told you that
 2    they asked investors to roll their investment to a
 3    different loan, and you said that was good to
 4    know?
 5          A.     No.   I think the good to know is that we
 6    always have deals we're closing, and I thought,
 7    well, if these guys are performing and they are
 8    the way they are, they're ideal clients.                 I can
 9    get repeat businesses from them all the time.
10    That's what I meant good to know.
11                 And I know you haven't asked me a
12    question, but I prefer to tell it to you right
13    now.     I would have never signed, neither would I,
14    the rollover papers they sent us.               We only use our
15    own documents.
16          Q.     Did you ask to see rollover papers for
17    investors in this property?
18          A.     He probably send it to me.            I want to
19    know what it looks like, because I also collect
20    legal documents.         I have over 2,800 legal
21    documents, including a 520-page ground lease
22    document from port authorities in New York.                  I
23    collect documents.
24          Q.     I'm going to show you a different exhibit


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 1    now.    Can you now see another exhibit on the
 2    screen?
 3                 MR. DEVOOGHT:       Right now we see a list of
 4          exhibits, like a file, subfolder with Exhibit
 5          1, 2, 3, 4, 5, 6, 7; and it's your mouse that
 6          is on Exhibit 7, but we don't see that actual
 7          document.
 8                 MS. WINE:     Thank you.
 9                 Okay.    Now do you see a document that's
10          Exhibit 7?
11                 MR. DEVOOGHT:       We see the top of one,
12          yeah, just a one-sentence email.
13                 MS. WINE:     Correct.
14    BY MS. WINE:
15          Q.     All right.      Mr. Namvar, Exhibit 7 is a
16    December 27, 2016, email from Tyler DeRoo to you
17    with the subject Lender Doc Set and listing
18    attachments; and the text says:              "Please find
19    attached our standard lender docs.               Let me know if
20    you have any questions."            Do you see that?
21          A.     I see that.
22          Q.     And do you recall getting this email from
23    Mr. DeRoo?
24          A.     I'm assuming I did, but I don't recall


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 1    these things by memory.
 2          Q.     Okay.    I'm going to scroll through some
 3    of the documents.         There's wire instructions, a
 4    blank document called Exhibit A.              Then there's a
 5    Mortgage that's a standard form apparently because
 6    it has no dollars and cents or properties in it.
 7    Actually the property is listed as 123 South Oak
 8    Street, probably a pretend address, the form of a
 9    promissory note, a document called a Collateral
10    Agency and Servicing Agreement between EquityBuild
11    and each of the lenders.
12                 EquityBuild sent you these documents.               Do
13    you know if you requested them or why Mr. DeRoo is
14    sending them to you at this time?
15          A.     I don't remember whether I request them
16    or sent them.        I don't remember.
17          Q.     Why would you want to see these
18    documents?
19          A.     If I requested them, that would be a good
20    question.      I don't know that I did.
21          Q.     Let's talk now a little bit about the
22    loan at issue.        Go ahead and mark a document --
23    because it's easy to -- it helps with the dates.
24                 Okay.    I've now put on the screen a


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 1    document marked as Exhibit 8, which is an email.
 2    The top of the chain is from you to Andrew Calleja
 3    and Daniel Namvar at Shatar on March 7, 2017.                    Do
 4    you see that?
 5          A.      Yes.
 6          Q.      Okay.   And that's forwarding a message
 7    from Tyler DeRoo to you also on March 7th.                  Do you
 8    see that?       Do you see it?
 9          A.      I'm seeing No. 1, just going through No.
10    1.    Wait.
11          Q.      But you see this is an email from Tyler
12    DeRoo to you sent on March 7, 2017; is that
13    correct?
14          A.      Yeah.   Yes I mean.
15          Q.      And Mr. DeRoo is following up with you on
16    some new deals that EquityBuild needs help with?
17          A.      I see that.
18          Q.      And one of those is -- the No. 1 on his
19    list is 5450 South Indiana?
20          A.      Correct.
21          Q.      And Mr. DeRoo says that they only have
22    until next Wednesday to get this done.                 Did you
23    understand that to mean to get the loan closed?
24          A.      I see it.


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 1          Q.      So the email was sent on Tuesday, March
 2    7th.    He said they only have until next Wednesday,
 3    which is eight days.          Is that a very quick
 4    turnaround, or is that standard in your
 5    experience?
 6          A.      It's typical for us to do loans within a
 7    week out of state eight, nine days.                I don't know
 8    when this got recorded.           If everything is ready,
 9    but in California we have done loans as short as
10    three business days from --
11                  MR. DEVOOGHT:      Jodi, just -- go ahead.
12          Sorry.     And this is just a function of Zoom,
13          can we just see the rest of the email before
14          we continue with the questioning just so we
15          can see the full?         Great.    Thank you.
16                  MS. WINE:    That was it.       It does have a
17          third page, but there's nothing on it.
18                  THE WITNESS:      I did not read past No. 2.
19          Okay.     Let me read No. 3.
20                  MR. DEVOOGHT:      Thank you, Jodi.
21    BY MS. WINE:
22          Q.      So Mr. Namvar, you forwarded this email
23    to Mr. Calleja and your son, Daniel Namvar?
24          A.      Yes, processing and underwriting


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 1    purposes.
 2          Q.     Okay.    And are those the two individuals
 3    at Shatar that were doing the underwriting?
 4          A.     I would do most of the like mental
 5    underwriting.        The paperwork would be handled by
 6    mostly Andrew; and I wanted Daniel, since he was
 7    the broker on the deal, to be aware what's going
 8    on.    I don't know what he looked at or did not
 9    look at.
10          Q.     Why did you send it to them?
11          A.     Make a file, if I need to follow up on
12    something like paperwork, so Andrew would be
13    aware, and Daniel is the broker on the deal.                   He
14    has to have a file.
15          Q.     Was there anyone else that was involved
16    in these loans other than the three of you?
17          A.     Not that I remember.         On our side, no.
18    Maybe an attorney, we would have finally hired a
19    law firm to do the docs.
20          Q.     But nobody else that was --
21          A.     Not that I remember, not that I'm aware
22    of.
23          Q.     To finish my question, I was going to say
24    nobody else that was part of Shatar.


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 1                 What due diligence did Shatar perform
 2    before making this loan?
 3          A.     Make sure that a title policy or the
 4    title commitment was okay, that's the first thing;
 5    to make sure that the purchase contracts are arm's
 6    length; and to -- I don't know whether we ran a
 7    credit report on this.           Maybe on Paxton we did.
 8    We didn't do it twice so close to each other; and
 9    to make sure that the property values are there,
10    either by calling and asking around or looking at
11    documents or otherwise.
12          Q.     And do you recall specifically whether
13    you did that in this case?
14          A.     Which one, which part?
15          Q.     Whether Shatar -- okay.          Starting with
16    the property values, did Shatar confirm the value
17    of these properties?
18          A.     Yes.
19          Q.     How did Shatar do that?
20          A.     I called a friend of mine who owns
21    apartment building and commercial buildings.                   He's
22    not an appraiser.         He's a very big investor in
23    Chicago and lives in Chicago.             I guess you want
24    his name, right?


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 1          Q.     If you have it.
 2          A.     Kourosh.     I don't know what his American
 3    name is.      I know him as Kourosh, which is Cyrus,
 4    K-o-u-r-o-s-h, Cohan, C-o-h-a-n; but I think he
 5    has a different name, both first and last,
 6    American.      Ushie (phonetic) may be his last name
 7    in Chicago.       I don't know.       I have no problem
 8    finding the details and giving it to Ali.                  Kourosh
 9    Cohan who lives there.           He did me a big favor, and
10    he drove by these two properties.               I remember --
11          Q.     You also -- sorry.         I thought you were
12    done.      Did you have more?
13          A.     He looked at these properties.             He called
14    me from his car while he was at the properties.
15    He said if you're making so much loan -- I don't
16    remember how much, I don't remember what -- you
17    cannot go wrong.
18          Q.     You also said that you didn't recall
19    whether you got a credit report in this instance,
20    correct?
21          A.     If I didn't, it was because we had one
22    from the Paxton deal, which was before this; and
23    if I had one from Paxton and I was seeing the
24    performance, which was perfect, I wouldn't need to


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 1    run a credit report.
 2          Q.     I think you mentioned before you did a
 3    credit report to see if there were bankruptcies
 4    was one of the things you looked at, correct?
 5          A.     The purpose are my credit reports would
 6    have been to look at any judgments the
 7    individual -- and I only run credit reports on
 8    individuals who are guarantors.              I never ran a
 9    credit report on EquityBuild because our attorneys
10    were instructed to do the public record search for
11    that purpose.
12          Q.     They did a public record search?
13          A.     I'm sure they did; otherwise they
14    wouldn't have done their job.
15          Q.     Do you recall anything about the results
16    of those searches or the credit report?
17          A.     I don't remember anything unless it was
18    something adverse.
19          Q.     Were you aware that Jerry Cohen had filed
20    bankruptcy on at least one occasion?
21          A.     That's the father?
22          Q.     Correct.
23          A.     No.
24          Q.     All right.      Are prior bankruptcies a


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 1    problem for you when you make loans, or is it
 2    something that is an automatic deal breaker or
 3    just --
 4          A.     I don't understand the question.
 5          Q.     I'll strike the question.           It wasn't a
 6    particularly good question.
 7                 You also mentioned that you make sure
 8    that the transaction is at arm's length?
 9          A.     Yes.
10          Q.     Did you do anything to make sure that
11    this transaction was at arm's length?
12          A.     All the documents look arm's length to me
13    and not...
14          Q.     You relied on the documents.            Would that
15    be the purchase and sale agreement?
16          A.     And the title commitment and the dates
17    and advice of my lawyers.            If there was anything
18    adverse, they would have let me know.                I don't
19    remember receiving a call from them regarding
20    adverse situation.
21          Q.     Can you now see on the screen a document
22    marked as Exhibit 9?
23          A.     Yes.
24          Q.     And I'm going to go down to the bottom of


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 1    this chain.         It's in reverse chronological order.
 2    Do you see that Mr. DeRoo is introducing Andrew
 3    Calleja to EquityBuild's lawyers?               Is the name
 4    Ioana, which is I-o-a-n-a, familiar to you?
 5          A.     Yes.
 6          Q.     And do you understand her to be
 7    EquityBuild's lawyer?
 8          A.     Yes.
 9          Q.     Go up the chain a little bit because
10    there's a lot of messages in here, do you see on
11    March 14th Andrew Calleja of Shatar Capital sent a
12    message to Patty San Martin, who is identified
13    below as the paralegal working with Ioana
14    Salajanu?
15          A.     I see that.
16          Q.     And Andrew says:        As per our discussion,
17    since the purchase loan for 7749 South Yates was
18    just closed today, please email the final closing
19    statement for them.
20          A.     I see that, yes.
21          Q.     So we talked about before about this
22    being a purchase money loan, but Shatar was aware
23    that the purchase of 7749 South Yates happened at
24    least by March 14, 2017, or on March 14, 2017?


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 1          A.     What's your question?          I mean I see what
 2    this says, but --
 3          Q.     So does that refresh your recollection
 4    that that was not a purchase money loan?
 5          A.     Well, the previous emails you showed me
 6    and the different term sheets it was a purchase
 7    money loan to begin with.            If it ended up
 8    differently for one of them, then I don't know.                    I
 9    need to look at a lot of emails and what happened.
10          Q.     You were copied on this email?
11          A.     Yes, and you want me to remember all my
12    emails?
13          Q.     And you responded to this email chain
14    saying:      "Tyler, I must speak with you.             Call me
15    ASAP"?
16          A.     Yes.
17          Q.     All in capital letters?
18          A.     Yes.
19          Q.     Do you recall why you needed to speak
20    with him urgently?
21          A.     I don't remember specifically.
22          Q.     Did it relate to the fact that this loan
23    had already closed, the sale of this property?
24          A.     I don't remember.


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 1          Q.     Let me ask you, I've seen in your
 2    signature block as well as others at Shatar
 3    Capital the letters BH before your name.
 4          A.     Are you Jewish?        Not adversely.       I'm not
 5    ask -- that means Baruch Hashem, bless God.                  That
 6    we do on every letter we write, every document we
 7    have.
 8          Q.     And why do you add that?
 9          A.     You want to ask me religious questions
10    now?
11          Q.     I'm asking you why you include that on
12    your business signature block?
13          A.     That would take the whole two hours for
14    me to explain to you.
15          Q.     Are you trying to convey anything in
16    particular by including that in your signature?
17          A.     No, just blessings.
18          Q.     I think you testified earlier that if the
19    loan was not a purchase money loan, that you would
20    take different steps?
21          A.     Yes, a little bit, couple of the steps
22    would be different.
23          Q.     And were any different steps taken in
24    this case since this closing of 7749 South Yates


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 1    had occurred before the loan?
 2          A.     I don't recall; but if it had, it would
 3    have to do with determining that the value was
 4    there; and my friend, Kourosh, looked at it, made
 5    sure that the value is there.
 6          Q.     Can you now see an email marked as
 7    Exhibit 10 from you to Angie Yoo at Chicago Title
 8    and others dated March 30, 2017?
 9                 MR. DEVOOGHT:       If the last part of -- I
10          don't know if it's a chain.
11                 MS. WINE:     I'm sorry.       Andy, I could not
12          hear that.
13                 MR. DEVOOGHT:       Jodi, we can see the top,
14          just the last email.          It looks like it's a
15          thread.     We can see the email "What?"
16                 MS. WINE:     Right.     I'm just trying to
17          confirm that you can actually see the
18          documents.      I don't know about the screen --
19                 MR. DEVOOGHT:       You got it.
20                 MS. WINE:     -- because -- (simultaneous
21          talking).      At least one occasion --
22                 MR. DEVOOGHT:       That's true, with the
23          directory.      So I can confirm we can see the
24          top email from Ezri, now you're scrolling.


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 1                  MS. WINE:    Okay, thank you.         The bottom
 2          of the document is just a two-page document,
 3          3519.     And I'll just say that these are
 4          documents produced by Shatar Capital, and the
 5          Bates numbers at the bottom identify where
 6          the production...
 7    BY MS. WINE:
 8          Q.      In an email on March 30th in the middle
 9    of the chain Ms. Yoo from Chicago Title indicates
10    the borrower is receiving approximately $86,000
11    from the closing.         Please let her know what these
12    funds are being used for.            And then your response
13    to that message said:           "What?    I thought the
14    borrowers are putting over 1.5 million in to close
15    the purchases.        Can someone explain this to me?"
16    Do you see that?
17          A.      I see that.
18          Q.      And do you recall this email exchange?
19          A.      No, but I can't say it's not true.             It
20    speaks for itself.
21          Q.      Okay.   And did you get an explanation for
22    this?
23          A.      I don't know.      Do you have an email that
24    I did?     I don't remember.


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 1          Q.     I don't have an email for you.             I believe
 2    EquityBuild's counsel sent you closing documents
 3    from the closing of the South Yates property.
 4          A.     I really don't remember any specific
 5    documents unless you show it to me.
 6          Q.     And I understand you personally don't
 7    remember Shatar Capital testifying on behalf of
 8    Shatar Capital was there -- you know, did someone
 9    at Shatar Capital receive an explanation?
10          A.     The email speaks for itself, and I cannot
11    think of any reason to dispute its authenticity.
12          Q.     What was your understanding of where the
13    borrowers -- of where EquityBuild was getting 1
14    1/2 million to close the purchase?
15          A.     I heard they were syndicators.
16          Q.     Can you explain what you mean by that?
17          A.     When you syndicate the purchase of the
18    property, you look at your investors and say this
19    is how much money we need for a down payment and
20    this is the loan we're getting.              People who put up
21    the equity will have an arrangement; they get so
22    much of the profit, maybe you prefer to examine,
23    maybe not.       And EquityBuild, as the promoter and
24    the syndicator, would get a cut at the end from


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 1    the profits or other arrangements.               I don't know.
 2          Q.     EquityBuild had already told you that
 3    their business model was that they offered first
 4    mortgage loans to their investors, correct?
 5          A.     I don't know about which investors where.
 6    I thought they were offering me that, and I said I
 7    don't want to be syndicator.             I mean a limited
 8    partner.      I'm just making bridge loans.             As long
 9    as the paperwork is correct, I don't care.
10          Q.     Do you now see on your screen a different
11    exhibit marked as Exhibit 11?
12                 MR. DEVOOGHT:       Yes.
13    BY MS. WINE:
14          Q.     And Exhibit 11 is a copy of a Mortgage.
15    Do you see that?
16          A.     I see a Mortgage document, yes.
17          Q.     And it's identified as a Mortgage given
18    on March 14, 2017, and secured by property at
19    7749-59 South Yates in Chicago?
20          A.     Yes.
21          Q.     And this Mortgage identifies the lenders
22    as the persons listed on Exhibit A.                Do you see
23    that?
24          A.     Where is that?       Where is that?


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 1          Q.     (Indicating.)
 2          A.     Yes, I see that.
 3          Q.     And Exhibit A to this document is on the
 4    7th of 8 pages.        Do you see that?
 5          A.     What?    No, no, no, no.        I don't -- are
 6    you saying that these were -- are investors?                   I
 7    don't remember.        I don't know these people.
 8          Q.     This is a document that was produced by
 9    Shatar Capital.        When did Shatar Capital first
10    become aware of this mortgage from March 14th of
11    2017?
12          A.     It's --
13                 MR. DEVOOGHT:       Hold on.     I'm sorry.       Just
14          again, given I know this is not -- since we
15          don't have a hard copy, can you give him a
16          chance to just scroll through and familiarize
17          himself with each page so he understands
18          whose mortgage it is and the specifics of the
19          document I think given your question?
20                 MS. WINE:     Right, it is harder when it's
21          not a hard copy in front of the witness.
22                 MR. DEVOOGHT:       If he had it in his hands,
23          he would be able to focus in and familiarize
24          himself more quickly, right.            But if you go


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 1          to the first page and just give him the time
 2          he says he needs.         If you could start at the
 3          top.    And if you could minimize, Jodi, he
 4          could see the whole page.           There you go.
 5          Thank you.
 6                 MS. WINE:     Sometimes people have a hard
 7          time seeing these.
 8                 MR. DEVOOGHT:       100 percent.       I have my
 9          old-man glasses on, so trust me.
10                 Ezri, please take your time and read
11          through this document.          If you can't read it,
12          you can ask Jodi to make a particular page
13          bigger, just the way you would if you had a
14          hard copy.
15    BY MS. WINE:
16          Q.     Shatar Capital sees a lot of mortgage
17    instruments, correct?
18          A.     Oh, my God.      You're going too fast with
19    this screen.
20                 MR. DEVOOGHT:       Can we go back to the
21          first page again, and he will tell you when
22          he's ready to move to the next.              That would
23          be great.      I only ask because of the Zoom
24          setup.     Thank you.


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 1                  THE WITNESS:       Now go to the next page,
 2          please.        Roll up.    Roll up, up to the --
 3          okay.
 4    BY MS. WINE:
 5          Q.      This way?
 6          A.      Right here.       (Witness examines document.)
 7                  Okay.    Without going through the rest,
 8    let me assume -- if my assumption is right, I can
 9    answer your question.            This is a Mortgage that
10    they had on Yates, and the fractionalized lenders
11    were all listed in Exhibit 8, correct or not
12    correct?
13          Q.      That is correct.
14          A.      Okay.    So what's your question?
15          Q.      My question is:       When did Shatar Capital
16    first become aware of this mortgage?
17          A.      I don't remember seeing this.            I'm sure
18    it's in our documents.           That's something our
19    attorneys would look at if they need to, or my
20    Andrew would look at.            For sure Daniel would not.
21          Q.      Okay.    Mr. Namvar, I'm now showing you
22    the mortgage that I marked as Exhibit 12.                  Do you
23    recognize this document?
24          A.      Yes.


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 1          Q.     This is the mortgage that Shatar Capital
 2    was involved in secured by 7749 South Yates?
 3    (Simultaneous talking).
 4                 I'm sorry?
 5          A.     Just please hold on right here.             (Witness
 6    examines document.)
 7                 I'm assuming it was, yes.           Geraci Law
 8    Firm was our law firm.
 9          Q.     I'm going to go down to the 36th of 38
10    pages.     Do you see Exhibit A, Beneficiary List?
11          A.     Yes.    These are the original
12    beneficiaries.
13          Q.     And these are the individuals identified
14    on page 1 of the mortgage saying that the lenders
15    in Exhibit A attached hereto and incorporated
16    herein whose address is care of Shatar Capital
17    Partners, those are the lenders on this mortgage
18    loan?
19          A.     These were the original lenders, original
20    investors, yes.
21          Q.     And how were these original lenders
22    identified?
23          A.     What?
24          Q.     How did Shatar find these people to make


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 1    this loan?
 2          A.     We all know them for years.            These are
 3    people known to me, except Hamid Esmail.                 I think
 4    Hamid Esmail is a friend of Farsaa, Farokh Saadat,
 5    who told us that he has some money.                Can I put him
 6    in the same loan offering again?              I said fine, no
 7    problem.
 8                 I don't know Hamid Esmail.            I don't think
 9    I ever met him.        The others I can telling you as
10    much as you want.         I know all of them.
11          Q.     Are there individuals you've had business
12    with in the past, that Shatar Capital had business
13    with?
14          A.     Hold on one second.         I had done business
15    with the father -- I mean the father is dead.                   The
16    Crest Drive LLC belongs to the Hekmatja family.
17    The father is dead.          I had done business with the
18    father at least 20, 30 years ago, maybe a couple,
19    three occasions.
20          Q.     I'm sorry.      Which family did you say?
21          A.     Hekmatja.     Do you want the spelling?
22          Q.     I think the court reporter would like
23    that?
24          A.     H, as Harry, e-k, as kilo, M, as Mary,


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 1    a-t, as Tom, J, as June, A, as apple, Hekmatja
 2    family.      There is an ex-wife remaining and three
 3    sons.      I'm not sure about a daughter; but they
 4    own, as far as I know, Crest Drive LLC.                 So we
 5    refer to them as the Hekmatja loan.
 6                 Abraham Ebriani was in our office at the
 7    time we made loan -- I don't know when he
 8    started -- with no salary.            He was learning,
 9    processing in the loan business from me and
10    Daniel, and finally he landed a great job.                  That's
11    Aaron -- we called him Aaron.             It says Abraham,
12    but anyway -- yeah, Aaron.            It says Aaron Ebriani.
13                 Hamid Esmail I don't know at all.              Farsaa
14    is Farokh, F-a-r-o-k-h, Saadat, S-a-a-d, as David,
15    a-t, as Tom, who was a friend of mine, well-known
16    to me for years.
17          Q.     Did Shatar discuss the opportunity of
18    investing in this loan with anyone other than
19    these four?
20          A.     Sure, you know, as the investors come.
21    It's a very fluid business, I'm sure, but it would
22    have been me discussing it.             Nobody else.       The
23    only reason Hamid Esmail came was because Farokh
24    Saadat who brought him.


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 1                 THE REPORTER:       I'm sorry.      I didn't --
 2          could you repeat that, please.
 3                 THE WITNESS:       The only reason Hamid
 4          Esmail is in there is because of Farokh
 5          Saadat who brought him in as his coattails,
 6          or whatever the right word is.
 7    BY MS. WINE:
 8          Q.     Who is Nicholas Klein?
 9          A.     He is an attorney in town, very
10    experienced attorney.
11          Q.     You say "in town."         In Los Angeles?
12          A.     In Los Angeles.
13          Q.     Why did you send him these loan
14    documents?
15          A.     I don't know.       Probably, probably either
16    the Hekmatjas or Farokh Saadat or somebody asked
17    me to send it.        I don't know why I send it because
18    we had Geraci on it, right?             Unless it was for
19    future assignments.          What is the date I send it to
20    because these lenders changed at some point?
21          Q.     I'm sorry.      I didn't hear that last thing
22    you said.
23          A.     These lenders changed at some points, and
24    maybe new investors or an old investor wanted Nick


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 1    to look at the assignment document.                I don't know.
 2    I don't know.        Where does it say I send this to
 3    Nick?      I know Nick very well.
 4          Q.     I'm trying to streamline and not mark
 5    more exhibits than I have to.             There was an email
 6    showing you sent them.           I was just asking you why.
 7    But if you don't recall, that's fine.                We'll move
 8    on.
 9                 You did just mention the lenders changed.
10    There's also an assignment to Pakravan Living
11    Trust.     I can show you that document.
12          A.     No, I know we did.         He bought two of
13    these lenders when they wanted money back.
14          Q.     Which two lenders?
15          A.     I don't know which two but not -- Hamid
16    Esmail and Farokh Saadat for sure.               I don't know
17    about Ebriani, whether he bought Ebrianis or not.
18          Q.     I believe the only document that I've
19    seen is an assignment of the Ebrianis' interest?
20          A.     No.   For sure Hamid Esmail and Farokh
21    Saadat assigned theirs too.             The three I saw were
22    Ebriani, Hamid Esmail and Farsaa.               For sure 100
23    percent I know they are not in this loan anymore.
24          Q.     And how did Pakravan Living Trust -- let


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 1    me ask you this first:           Who is the grantor for the
 2    Pakravan Living Trust?
 3          A.     Either him or his wife.          I've known him
 4    also for 40 years.
 5          Q.     Who is him?
 6          A.     Danny Pakravan.
 7          Q.     And how did Danny Pakravan come to
 8    purchase these interests from the other investors?
 9          A.     First of all, let me spell Danny for you,
10    D-a-n-n-y.       That's how he spells his name.
11    Secondly, I've given Pakravan at least eight,
12    nine, ten loans, different loans, different
13    places.      He is an investor and trustee for years.
14    I called him.
15          Q.     The date of the assignment that I've
16    seen, which I can show you if you need to, but
17    it's dated November 20, 2018, which is after the
18    receivership.        So why did Mr. Pakravan want to
19    invest in a loan when the company borrows in
20    receivership?
21          A.     Because the first mortgage was a secured,
22    perfect mortgage at that time.              Documents were
23    perfect.      Everything was perfect.           The fact that
24    things --


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 1          Q.      Did Mr. Pakravan know that borrower was
 2    in receivership?
 3          A.      100 percent.      And he loves to buy things
 4    in acquisition because of the default rates.
 5          Q.      I'm now going to show you --
 6                  MR. DEVOOGHT:      Jodi, we're just under an
 7          hour.     If you're switching topics, do you
 8          want to take a quick break before the last
 9          hour?
10                  MS. WINE:    You know, I'm going to do this
11          one last exhibit, and then we can have a
12          break.
13                  MR. DEVOOGHT:      Okay.    Sounds good.
14                  MS. WINE:    Has the screen now switched to
15          Exhibit 13?
16                  MR. DEVOOGHT:      Yes.    We can see the top
17          email, Jerry Cohen.
18    BY MS. WINE:
19          Q.      Okay.   I'm going to go down to the bottom
20    email from Daniel Namvar sent on April 19, 2017.
21    It splits two pages but can you see the entire
22    email?
23                  MR. DEVOOGHT:      We can see -- the top on
24          April 19, Shaun/Jerry.          And then we can see


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 1          the text of the email on the next page.
 2    BY MS. WINE:
 3          Q.     So on April 19 Daniel Namvar sent an
 4    email to Shaun and Jerry Cohen saying:                 "This
 5    email is to confirm our agreement that all loans
 6    from Shatar or related entities to you shall be
 7    subject to the provisions of a Heter Iska."                    I'm
 8    not sure I'm pronouncing that correctly.                 How do
 9    you pronounce that term?
10          A.     Heter Iska.
11          Q.     Okay.    What is a Heter Iska?
12          A.     It's a religious document between
13    observant Jews.        All Jews should be; but some
14    rabbis say if they're very observant, like they
15    keep Sabbath, have a Heter Iska with them.                  It's
16    to make the prohibition of the Bible against
17    charging interest to another, which this wasn't
18    the case because EquityBuild was not an
19    individual.
20                 But since my son is super-duper
21    religious, a lot more than me, he wanted to have
22    Heter Iska signed.         It's a -- I don't know how to
23    put it.      It's a document to make the provision --
24    I mean the prohibition against charging another


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 1    Jew interest.        Correct, it makes it correct.
 2          Q.     And does it make it correct by converting
 3    the debt into an equity instrument and have the --
 4          A.     Heter Iska, okay, how much time do you
 5    have?      I can talk about this and run out the time.
 6    I'd love to.       Heter Iska, it's on our choice only,
 7    only, if they can prove with two major religious
 8    witnesses that they lost money on the loan they
 9    got from us.
10                 If they can prove they lost money in the
11    transaction, not by appointment of receiver -- the
12    receiver alone makes the Heter Iska provisions
13    invalid or nonexistent; but if they can prove I
14    borrowed money from you and I put it in X, Y, Z,
15    and I lost money, we are obligated as lenders --
16    and they have to bring it to our attention very
17    quickly.      We are obligated to give them all the
18    interest and points back.            The principal still
19    stands.      That's a Heter Iska document.
20                 MR. DEVOOGHT:       Do we have a Bates number
21          on this document?         It doesn't look like it
22          has a source.
23                 MS. WINE:     This one was not produced by
24          Shatar Capital.        It would have been in the


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 1          database of documents that we shared with
 2          all --
 3                 MR. DEVOOGHT:       Okay.    Thank you.
 4                 MS. WINE:     -- claimants.        Sorry.
 5    BY MS. WINE:
 6          Q.     So is my understanding from looking at
 7    this correct that a Heter Iska makes the lender
 8    into a joint business partner and converts it from
 9    a loan to a joint venture?
10          A.     If all other provisions of Heter Iska,
11    which I don't know how many Jews are in the room,
12    with Gemara has three full books just talking
13    about Heter Iska.         If all provisions apply, it
14    could be that; but the fact that one of those
15    major provisions is appointment of the receiver,
16    and the receiver is taking the position of Shaun
17    Cohen and Jerry Cohen as guarantors, not, you
18    know -- and we're not going after those
19    guarantees, so it doesn't apply.              Besides, the
20    receiver now for all practical purposes is not a
21    religious Jew appointed, this doesn't apply
22    anymore.
23          Q.     And after Shatar sent confirmation of the
24    agreement that the loans would be subject to the


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 1     provisions of a Heter Iska, you see that both
 2     Shaun Cohen and Jerry Cohen confirmed that
 3     agreement?
 4          A.     That's what this shows to Daniel.
 5                 MS. WINE:      Okay.      I think now would be a
 6          good time to take that break.
 7                 MR. DEVOOGHT:       Okay.     What are we at
 8          here; 3:13?       Do you want to shoot for 3:23?
 9                 MS. WINE:      That would work.        Is that good
10          with everyone else, especially the court
11          reporter?
12                 THE WITNESS:       Can I ask a question?
13                 MR. DEVOOGHT:       No.     You can ask me -- you
14          can call me, okay?
15                           (Whereupon a recess was taken from
16                            3:14 p.m. to 3:25 p.m., after
17                            which the preceding deposition
18                            continued as follows:)
19                 MS. WINE:      So I am going to turn the
20          questioning over to Max Stein.              Thank you for
21          your testimony thus far.           Appreciate it.
22                 THE WITNESS:       Stay warm.      I never come to
23          Chicago.      The wind factor is unbelievable.
24                 MR. DEVOOGHT:       Let's let them ask their


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 1          questions, and we can move forward.               Thank
 2          you.
 3                            CROSS EXAMINATION
 4     BY MR. STEIN:
 5          Q.     Good afternoon, Mr. Namvar.            As was
 6     indicated, my name is Max Stein.              I am one the
 7     attorneys representing some of the individual
 8     investors who have made claims in the
 9     receivership.        Can you hear me okay?
10          A.     Yes.
11          Q.     Okay.     I'm going to follow up on the
12     questions that you've already been asked by
13     Ms. Rosen Wine.        As a result, I will be jumping
14     around.     If I lose you in my jumping, raise your
15     hand and tell me because I want to make sure we're
16     talking about the same things at the same time.
17     Does that make sense?
18          A.     Yes.
19          Q.     Great.     Mr. Namvar, you started off your
20     testimony today looking at a document that was a
21     Notice of Deposition that included deposition
22     topics.     Do you remember that?
23          A.     Yes.
24          Q.     What did you do to prepare for today's


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 1     deposition, and in particular, what did you do to
 2     make sure that you had all of the knowledge that
 3     you needed on behalf of Shatar Capital regarding
 4     the deposition topics?
 5                 MR. DEVOOGHT:       I'll just state that I
 6          know Max is an experienced lawyer, and he
 7          certainly doesn't intend to suggest that you
 8          would disclose -- and he's not angry so
 9          there's not trickery here.            He's not asking
10          you to disclose your conversations with your
11          attorneys, as your -- like the substance of
12          your conversations with us.
13                 You can describe for him you had
14          meetings.      You can describe who you had
15          meetings with, if you looked at materials,
16          you know, materials you looked at, those
17          types of things.         He wants just a general
18          understanding of the steps you took, not
19          asking you about you talking with me or Ali
20          or Bill or others, just to confirm.
21                 MR. STEIN:      Yes, thank you.
22                 THE WITNESS:       We, I, Ezri, just made sure
23          to go to Maria, Andrew or whoever and have
24          them send every document or email that we had


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 1          on this Indiana Yates loan.
 2                 I also searched my email.            I don't know
 3          if I already delete it or not before I
 4          searched them, and folders, my own personal
 5          email, and see if he had anything which I
 6          think at the beginning we sent it to Bill
 7          Cherny, right, Bill?          Is he on?
 8                 Anyway, we send it to Bill Cherny, and
 9          who he sent it to on our behalf, I'm sure he
10          sent it to all the proper people.
11     BY MR. STEIN:
12          Q.     And so -- I'm sorry.          Go ahead.
13          A.     Before this deposition I did not look at
14     any of this list anymore, especially since I leave
15     everything to the last minute.             And my computer,
16     it's well-proven known to all, crashed about 10,
17     12 days ago, and it's still not back; although I
18     bought a new computer.          It totally crashed unlike
19     something I ever seen or heard before.                My tech
20     guy also was very surprised.
21                 And I always tell myself you show me a
22     document, I'll tell you if it's correct or not, I
23     don't remember little detailed commas and dots and
24     sentences; but I do remember like my conversation


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 1     with Jerry Cohen because it was a one-time
 2     conversation, things like that.              So I said I'll
 3     answer your questions.
 4          Q.     So just so I'm understanding what you're
 5     saying, when you mentioned that you made sure with
 6     Maria, Andrew and whoever and had them send every
 7     document or email that Shatar had on Indiana and
 8     Yates, that's what you did when you gathered the
 9     documents that you provided to your counsel who
10     then produced them; is that what you're saying?
11          A.     That was part of it.          Also I personally
12     searched.
13          Q.     I understand.       What I'm trying to
14     understand right now, Mr. Namvar, is when did that
15     occur?     Did that occur within the last month or so
16     in connection with this deposition or had that
17     occurred some months prior when the documents were
18     produced?
19          A.     When I got the notice for production.
20          Q.     For production.        So when you got the
21     notice for the deposition, what work did you do to
22     make sure that you, as the corporate
23     representative, had all of the information that
24     Shatar Capital had about those topics?


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 1          A.     Not much because I didn't think that I
 2     need to do that.        The deposition is yours.           You
 3     ask me questions and I'll answer them, but I had
 4     everything that I could probably produce.
 5          Q.     Do you understand, Mr. Namvar, that
 6     you're testifying today not in your individual
 7     capacity but as a corporate representative?
 8          A.     Yes.
 9          Q.     And so as a corporate representative,
10     you're supposed to be here prepared to tell us
11     everything that the corporation, Shatar Capital,
12     knows about these topics.           Do you understand that?
13          A.     Yes, and I'm telling you.
14          Q.     Okay.     And you're able to do that without
15     having done any additional preparation for today's
16     deposition?
17          A.     Yes.    I met with Daniel and made sure
18     that he has produced everything.
19          Q.     So you met with Daniel, your son; is that
20     right?
21          A.     Few days ago.
22          Q.     I'm sorry.      What?
23          A.     Few days ago.
24          Q.     Did you just receive a note or something


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 1     that reminded you of that?
 2          A.     Yeah, I was coming to deposition.              I
 3     wanted to make sure that he had -- he was aware
 4     that I was a Shatar representative.               He said 100
 5     percent.     I don't want to tell you the
 6     attorney-client privilege statement, so that's it.
 7     I met with Daniel, see if there was anything else
 8     I needed to know.         He didn't bring anything to my
 9     attention that I did not know.
10          Q.     Mr. Namvar, you've looked a couple of
11     times to your left there.             Is there a note for you
12     on the table there?
13          A.     No.
14                 MS. SCHALLER:       I'm over here.
15                 MR. STEIN:      I understand.        Did you write
16          a note to the witness?
17                 MS. SCHALLER:       We had previously
18          discussed that we met as a group.
19                 MR. STEIN:      Okay.     So that's your
20          testimony.       I need his testimony.          Did you
21          write him a note?
22                 MS. SCHALLER:       No.
23     BY MR. STEIN:
24          Q.     Okay.     So Mr. Namvar --


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 1                 MR. DEVOOGHT:       Ask better questions, Max.
 2          You're turning this deposition upside-down
 3          unnecessarily in an academic fashion.                If you
 4          have a problem with the topic, let's talk
 5          about the topic versus like --
 6                 MR. STEIN:      No.    I have a problem with
 7          the witness who apparently did nothing to
 8          prepare, and I'm asking questions that are
 9          appropriate to understand what he did to
10          prepare.      I will ask the questions I need to
11          ask. (Simultaneous talking.)
12                 MR. DEVOOGHT:       It's running.
13                 THE WITNESS:       I did not tell Max that.
14                 MS. SCHALLER:       Hold on.
15                 THE WITNESS:       I told you that I'm
16          prepared --
17                 MS. SCHALLER:       Hold on.
18                 THE WITNESS:       -- with the best of my
19          ability --
20                 MS. SCHALLER:       Hold on.
21                 THE WITNESS:       -- on everything.         Stop it.
22                 MS. SCHALLER:       I think there's some
23          confusion on production --
24                 THE WITNESS:       Stop it.


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 1                  MS. SCHALLER:      -- and his dep prep.
 2                  THE WITNESS:       Stop it.
 3                  MR. DEVOOGHT:      Ezri, calm down.         Calm
 4          down.     Don't fall prey to this.
 5                  THE WITNESS:       I don't want to deprive any
 6          investors of a real legitimate loan that was
 7          made.
 8                  MR. DEVOOGHT:      We know.      We know.
 9                  THE WITNESS:       Stop it.     Stop this hitting
10          below --
11                  MR. DEVOOGHT:      We're going to take five
12          minutes.       We're going to take five minutes
13          right now.
14                  THE WITNESS:       No, we're not.       I'm going
15          to be quiet.       Okay.     Ask the questions, real
16          questions.       I told you, I did everything in
17          my capacity to prepare, and I did.               Now ask
18          your questions.
19     BY MR. STEIN:
20          Q.      You mentioned that you met with your son,
21     Daniel; is that right?
22          A.      Yes.
23          Q.      Is your son, Daniel, an attorney?
24          A.      No.


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 1          Q.      Was anybody else at that meeting?
 2          A.      In one of the meetings, yes.
 3          Q.      In one of the meetings it was just you
 4     and Daniel?
 5          A.      No.   I had a phone call with Danny which
 6     lasted seven, eight minutes.            We had a Zoom
 7     meeting with Daniel, I and my lawyers, or the
 8     lawyers that are here now.
 9          Q.      And when was that Zoom meeting?
10          A.      During the last week.
11          Q.      Okay.    Approximately how long did it
12     last?
13          A.      With the lawyers?        The one I told you.
14     Don't ask me repeat questions.             I told you might
15     lasted seven or eight minutes.
16          Q.      I know.    And I asked you how long did the
17     Zoom meeting with the lawyers last?
18          A.      Probably 15 minutes or 20 minutes.
19          Q.      Okay.    Did you have any other meetings to
20     prepare for the deposition?
21          A.      With Daniel?
22          Q.      With anyone.
23          A.      No, I don't need to except, you know,
24     Bill Cherny and I have been talking before, not


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 1     recently.
 2          Q.     Okay.     So the meetings that you had to
 3     prepare for the deposition was the phone call with
 4     Daniel and the Zoom meeting with the lawyers,
 5     right?
 6          A.     Asked and answered.         I'm going to get
 7     with you now.       Asked and answered.
 8                 MR. DEVOOGHT:       Just answer the question.
 9                 THE WITNESS:       Asked and answered.         Leave
10          me alone.      Go forward.       I answered you that.
11     BY MR. STEIN:
12          Q.     Mr. Namvar, please answer my question.
13          A.     I'm not because I --
14          Q.     Are you refusing to answer the question?
15          A.     I answered the question.           Okay.
16                 MS. SCHALLER:       Why don't we --
17                 MR. DEVOOGHT:       Why don't we take a
18          five-minute break.
19                 THE WITNESS:       I don't want to take a
20          five-minute break.         This is my deposition.
21                 MR. DEVOOGHT:       Yes.    We're going off the
22          record.
23                 THE WITNESS:       We had the --
24                 MR. DEVOOGHT:       Court Reporter, we're


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 1          going off the record. Close the video.
 2                           (Whereupon a recess was taken from
 3                            3:35 p.m. to 2:44 p.m., after
 4                            which the preceding deposition
 5                            continued as follows:)
 6     BY MR. STEIN:
 7          Q.      Mr. Namvar, you at one point mentioned
 8     that Shatar Capital made a loan on the Paxton
 9     property that was paid off.            Do you recall that?
10          A.      Yes.
11          Q.      Thank you.     How much was that loan?
12          A.      I don't remember.
13          Q.      And when was it paid off?
14          A.      After the Indiana and Yates loan was
15     made.
16          Q.      So just to make sure I understand the
17     timing, you made the Paxton loan, then you made
18     the Indiana and Yates loans or loan; and then at
19     some point after that but before the receivership
20     began the Paxton loan was paid off; is that right?
21          A.      That's my recollection.
22                  MR. STEIN:     Okay.     Thank you.      You know
23          what, let's go off the record a quick second.
24                           (Discussion held off the record.)


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 1     BY MR. STEIN:
 2          Q.      Can you see that okay, Mr. Namvar?
 3          A.      Yes, I said.
 4          Q.      Oh, thank you.       I think when you speak
 5     very shortly, it doesn't -- with very short
 6     sentences, it doesn't quite get picked up each
 7     time.     That's why I keep not hearing you.               So my
 8     apologies.
 9                  MR. STEIN:     Miss Court Reporter, we're
10          back on the record?
11                  THE REPORTER:      Yes.
12     BY MR. STEIN:
13          Q.      Mr. Namvar, this is the document that was
14     previously marked as Exhibit 5, and it's an email
15     that you sent on December 23, 2016.               Do you
16     remember being asked questions about this exhibit
17     earlier in the deposition?
18          A.      Yes.   He doesn't hear me.          I said yes.
19          Q.      That one I heard.        Thank you.
20                  In the email you say here that you need a
21     detailed request letter what properties we are
22     looking at and the amount of the loans.                Was this
23     regarding the Paxton loan or the Yates and Indiana
24     loans?


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 1          A.     I really don't know because if I look at
 2     all the different dates, I may take a guess, but I
 3     don't know as I sit here.
 4          Q.     Okay.     You say then that if it's purchase
 5     money that the loan would be used for, you would
 6     need one set of information, and if it's a
 7     refinance, you would need a different set of
 8     information; is that right?
 9          A.     Yes.
10          Q.     And why the different information?
11          A.     Not difference -- not different.              90
12     percent, 95 percent of the information in both
13     cases would be the same.           The only other
14     information we may need is as to regarding the
15     valuation.      If it's a purchase money loan and I
16     decide or we decide or our attorneys decide it's
17     an arm's length transaction, we take the purchase
18     price as the value; but if it's a refinance loan,
19     it depends on a lot of previous stuff, what
20     happened, what was the purchase price, the date of
21     the purchase price, whatever money they have spent
22     in it so far, the market conditions according to
23     me, has Chicago gone up, gone down since then, to
24     make sure we feel comfortable with the valuation.


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 1     And I told you we never get appraisers because we
 2     don't have time.
 3          Q.     Just so that I understand, what you're
 4     sort of -- what I understood you to be explaining
 5     there is that with a purchase price you can rely
 6     on the fact that it's an arm's length transaction
 7     between strangers, and they're going to come up
 8     with a fair value; whereas with a refinance you
 9     need to confirm that the value being proposed by
10     the owner is a fair value.            Is that -- that's
11     obviously a short summary -- shortened summary of
12     what you said, but is that fair?
13          A.     Yes.
14          Q.     Okay.     Thank you.      At this point in time
15     you were talking about information you might need
16     for purchase loans and for refinance loans.                  Does
17     that mean that at this point in time, that is,
18     December 2016, Shatar Capital is contemplating
19     making either type of loan to EquityBuild?
20          A.     I don't remember where my head was at,
21     but, yes, we made both kind of loans as long as
22     there's equity and we can get our rates.
23          Q.     You've mentioned a couple of times that
24     Shatar Capital relies on outside attorneys


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 1     particularly for loans in other states; is that
 2     right?
 3          A.      Correct.
 4          Q.      Who were the outside attorneys that
 5     Shatar relied on for the loans with EquityBuild?
 6          A.      In this case it was the Geraci Law Firm.
 7          Q.      And what did that law firm -- what
 8     services did the law firm provide that Shatar
 9     Capital relied on in making the loan?
10          A.      Mostly loan documents, checking the
11     entity documents to make sure they're valid,
12     they're outstanding and they're legal and the
13     signatures are right, the right person signs them,
14     and reading entity documents if we needed to or if
15     they needed to.
16          Q.      What do you mean by reading entity
17     documents if they need to?
18          A.      If there is an LLC formed, they need to
19     inspect and read the LLC to make sure who has the
20     authority to sign for loan documents, who has the
21     authority to do the corporate resolution, et
22     cetera, et cetera, et cetera.
23          Q.      And was there an LLC involved in this
24     loan?


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 1          A.     I'm assuming there was, yes.
 2          Q.     But you don't remember right now?
 3          A.     No, I do not.
 4          Q.     Do you have any -- do you or Shatar
 5     Capital have any concerns with the legal services
 6     that were provided to it in the course of making
 7     this loan?
 8          A.     With the Geraci Law Firm?
 9          Q.     Yes.
10          A.     No.    They did a lot, a lot of documents
11     for us.     We've always been happy with them.
12          Q.     Thank you.      Sorry.     I'm going to pull up
13     another exhibit.
14                 Mr. Namvar, I've now brought back up what
15     was previously marked as Exhibit 7.               This was an
16     email from Mr. DeRoo at EquityBuild sent to you,
17     copying Shaun Cohen with the lender doc set.                  Do
18     you remember seeing this exhibit earlier?
19          A.     Earlier today, yes.
20          Q.     Thank you, that's what I meant.              Attached
21     to the document are, as Mr. DeRoo said in the
22     cover email, blank loan documents.               I'm not
23     expecting you to look at them; but if you need me
24     to scroll through any of them, let me know.


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 1                 My question to you though is:             Did anyone
 2     at Shatar Capital review these documents?
 3          A.     I did not, and the person to have done it
 4     would have been me because I don't know why we
 5     have to look at their loan documents.                We had our
 6     own and we had our own attorneys.
 7          Q.     And I'm sorry.        You said the person who
 8     would have had to and then I didn't hear.
 9          A.     If anybody from Shatar had to look at
10     this, would have been me and would have been our
11     attorneys; but knowing ourselves and our mode of
12     operation, because we had outside attorneys and we
13     have our own set of loan documents, I don't see
14     why I would look at this or even consider it.
15          Q.     Okay.     Thank you.      Let me circle back to
16     your role at Shatar Capital.            You've mentioned
17     that the only member of Shatar is your son,
18     Daniel; is that right?
19          A.     Correct.
20          Q.     And there are no Shatar employees; is
21     that right?
22          A.     No.
23          Q.     I'm sorry.      You say no when I asked is
24     that right.       It's hard to know whether you're


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 1     saying, no, it's not right or you're agreeing with
 2     me that there are no employees.
 3          A.     Shatar did not have any employees.
 4          Q.     Thank you.
 5          A.     Pool employees in the office for
 6     accounting, for processing, and I testified that
 7     I'm not sure whether we gave monies to Andrew.                   If
 8     we did give monies to Andrew, would not have been
 9     as an employee.        It would have been as a
10     third-party vendor because his hours change, and
11     we would give him whatever money he billed; and
12     then we would 1099 him at the end of the year.
13          Q.     Thank you.      Do you make money for the
14     work that you do for Shatar Capital?
15          A.     Okay.     That's a very tough question to
16     answer and I'll tell you why.             It's not a trick
17     answer, and I don't want to open up old can of
18     worms about the past.          When I lost all of my money
19     in 2018, my brothers, my son, everybody is
20     supporting my living expenses.             My rent is being
21     paid by my mother.         Insurance is paid by two or
22     three brothers.        And every time my wife needs
23     money, they get it from them.
24                 So officially getting a check for a


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 1     commission or something, no, but I owe them.                  I
 2     owe the family so much that this is very minor.
 3          Q.     And so effectively -- and I appreciate
 4     what you just explained.           What you're saying is
 5     effectively you don't get paid, but you are doing
 6     this and there's value to it; but the reason
 7     you're doing it is because you have been so well
 8     supported by your family over the years?
 9          A.     Yeah, especially my son.           So whatever --
10          Q.     Okay.
11          A.     -- it goes in my son's pocket.             I still
12     probably owe him a couple, three million dollars
13     just since 2016.
14          Q.     One of the things that you mentioned that
15     you do for Shatar Capital is mental
16     underwriting -- sorry.          Yes?
17          A.     I need to correct the previous statement.
18     For a while while I was under probation -- I know
19     these questions haven't come up, but you know
20     about me.      I had to have an employment or the
21     probation department to let me work officially.
22                 So Nut Farmers, which is one of my
23     brothers or nephew or my sister-in-law, I don't
24     know, companies was employed me and paid me $1,800


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 1     a month.
 2          Q.     Okay.     And I don't actually need to get
 3     into all of that.         I was actually trying to better
 4     understand your role at Shatar Capital, and I'm
 5     focused -- right now my questions are going to be
 6     focused on Shatar Capital.            And the way you
 7     answered it helped me better understand your role
 8     in the company and why it is that you're doing
 9     these things.
10                 So I'm going to now move to what you said
11     was mental underwriting.           What did you mean by
12     mental underwriting?
13          A.     I know my attorneys don't -- I consider
14     myself number one, the best hard money lender,
15     knowledgeable hard money lender in the nation.                   I
16     used to be one of the biggest from control funds
17     we funded 100, 150 million a month.               I've done 20
18     billion dollars plus of that business in my past
19     life and present life; and everybody, including
20     some attorneys, call me when they have a question.
21                 So I see also -- one of my abilities, my
22     sixth sense, whatever, I see from A to Z, the end
23     of the tunnel, very quickly in my head.                I ask
24     different question than other people ask.                 Most


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 1     people -- most underwriters ask about income,
 2     what's the income of the -- I go by size.                 How
 3     much land do you have?          How much building do you
 4     have?     I ask the income too.
 5                  On the phone I decide whether a loan is
 6     good or not.       I say to everybody if I want to say
 7     no, it takes three minutes.            If I want to say yes,
 8     it takes ten minutes; and I need to assure you,
 9     you haven't asked the question, we've never lost
10     money in hard money loans.            They've gone through
11     foreclosures.        We have some, very few,
12     foreclosures; but I know this business
13     upside-down.
14          Q.      So when you say mental underwriting, what
15     you're effectively saying is based on your years
16     of experience and expertise in this area you size
17     up the loan and decide whether it makes sense to
18     make the loan that's being requested or not; is
19     that a fair summary?
20          A.      Exactly correct.
21          Q.      Okay.    Thank you.      What questions did you
22     ask about the Yates and Indiana properties?
23          A.      The number of units, the purchase price,
24     location, income; and I wanted to see, which I'm


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 1     sure we saw, the escrow instructions -- we call it
 2     escrow here.       Over there you go through
 3     attorneys --       the purchase contract and the title
 4     commitment, that's something I can smell for arm's
 5     length transaction purposes.
 6                 When I look at the title commitment, for
 7     example, if I see the ownership that is selling,
 8     has been in the building for 20, 30 years, the
 9     chances of this to be cheating or improper is very
10     low.    But if this present ownership went on title
11     only a month ago for 2 million and they're selling
12     it for 3 million or 2.8, that raises flags and red
13     lights in my head, and I need to check further.
14           Q.    And then the other thing that you did in
15     terms of underwriting for the Yates and Indiana
16     loan is you had your friend who lives in Chicago
17     and who is an experienced real estate investor in
18     Chicago drive by the properties; is that right?
19           A.    On Indiana/Yates, yes, I did.
20           Q.    Okay.     Based on all -- so you did your
21     mental underwriting.          You had your friend drive
22     by.    Were there other things that went into your
23     decision, your, Mr. Ezri Namvar's decision, to
24     move forward with this loan?


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 1          A.     By designating the various parts of the
 2     loan process, which is making sure the title
 3     commitment is there; making sure the attorney asks
 4     for 125 percent cover, always ask him; making sure
 5     we can have an ALTA policy, I -- not besides my
 6     attorney, I read title reports too, and I decide
 7     which items that even some normal lenders don't
 8     want to eliminate or subordinate that I may need
 9     to eliminate or subordinate.
10                 I also look at these things to see what
11     kind of endorsements are necessary.               I know title
12     endorsements better than most attorneys who deal
13     with this kind of stuff because I've been through
14     a lot.     I used to also -- this is unnecessary,
15     used to own a bank too.
16          Q.     So for this particular loan did you have
17     any issues with those additional items that you
18     just mentioned?
19          A.     At the first look before sending it to
20     the attorney I don't remember that I did.                 I don't
21     think I did; but once the Geraci Law Firm got hold
22     of it, they do their own thing.              They're very
23     detailed attorneys.         We respect them, like them a
24     lot, and they're national.            They do documentations


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 1     and whatever, this kind of thing nationally not
 2     only in Chicago; but they happen to be based in
 3     California.
 4          Q.     And did they raise any issues?
 5          A.     I don't remember.         I don't think so.          If
 6     they did have a concern about something, it would
 7     have been in the closing instructions to the title
 8     people and escrow people.
 9          Q.     And then they would have been satisfied
10     prior to the loan closing; is that right?
11          A.     Yeah.     If they're not satisfied -- yeah,
12     and they tell us not to do this or we need this or
13     we need that.
14          Q.     And then the loan doesn't close until
15     whatever it is gets satisfied; is that right?
16          A.     Correct.
17          Q.     You mentioned that you would have
18     included Daniel on loan documents because he was
19     the broker on the deal.           What kind of a broker is
20     Daniel?
21          A.     He has a real estate broker's license
22     which he uses for Shatar Capital as well.                 He's
23     designated, he's registered, and I love him to
24     death.


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 1          Q.     Was he acting as a real estate broker on
 2     the loans that were made for the Yates and Indiana
 3     property to EquityBuild?
 4          A.     Yes.
 5          Q.     I'm just -- he was, okay.            I'm just
 6     trying to understand what role a real estate
 7     broker would have played on these loans from the
 8     lender's perspective?
 9          A.     Yes, absolutely.
10          Q.     So what role did he play as the real
11     estate broker?
12          A.     Naming himself as the real estate broker
13     on the documents.
14          Q.     Doesn't the real estate broker usually
15     get named by either the buyer or seller of real
16     estate?
17          A.     That's a different kind of a broker.
18     That's a buying and selling.            The broker
19     license -- the real estate license in California
20     allows you to buy and sell and earn commissions;
21     but in order to be also a mortgage broker you need
22     to be falling under two different categories not
23     at the same time, either/or, either you have to be
24     a real estate broker, which Daniel was, and it


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 1     allowed him to do loan brokerage, or you have to
 2     go through Department of Corporation and do
 3     whatever they -- what is the name?               MLA, like
 4     lender license which --
 5           Q.     Right, okay.
 6           A.     -- we are not.
 7           Q.     Thank you.     That explains it.         We won't
 8     test your knowledge on things that aren't actually
 9     relevant to the loan that you all made in this
10     case.
11                  You've mentioned a few times that the
12     most important thing was getting comfortable with
13     the value of the property; is that right?
14           A.     What was that?       Yeah, most important.
15     You want me to tell you what it is?
16           Q.     No, I'm sorry.       I'm switching topics
17     slightly, and I want to be sure you're coming with
18     me.
19           A.     Please repeat your question.
20           Q.     Sure.    So you've testified the most
21     important part of underwriting is getting
22     comfortable with the value of the property; is
23     that right?
24           A.     Yes.


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 1          Q.      Okay.    And that trumps everything because
 2     Shatar you said was -- pardon me.              Let me start
 3     over.
 4                  You previously testified that that trumps
 5     everything because Shatar was a hard money lender;
 6     is that right?
 7          A.      It doesn't trump everything.            Even if the
 8     value is there, if we know we are dealing with a
 9     difficult character or somebody who is very
10     litigious, I'm just giving you examples, or
11     somebody who lied to us, you know, if we find out
12     that he lied to us, I would recommend not to do
13     the loan.      Life is too short.
14          Q.      Do you believe that Shaun or Jerry Cohen
15     ever lied to you?
16          A.      No, not ever.      I thought they were the
17     best people that walked under the sun.                He was
18     telling me how religious he was, Shaun, not Jerry,
19     and he wanted to come to Los Angeles.                His kid go
20     to Jewish school.         I don't know whether you're
21     Jewish or not, they wear the tzitzit.                So he
22     really got me sold, if that's the right word.
23          Q.      And even as you sit here today, you don't
24     believe that you were ever lied to by Shaun or


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 1     Jerry Cohen?
 2          A.     At the time we made the loan?
 3          Q.     Yes.
 4          A.     At the time we made the loan, no.              Now I
 5     think of him differently.
 6          Q.     Okay.     You also mentioned that you want
 7     the borrowers to be pregnant, meaning that they
 8     have their own money at the deal and cannot cash
 9     out.    What did you mean by that?
10          A.     Let's just say Shaun Cohen says we're
11     buying this property or we closed it a month ago,
12     and I told you and I told Ms. Jodi Wine I think is
13     her name that 30 days before you close, it's the
14     same as purchase price for us.             It doesn't have to
15     be exactly the stake.          But I want to make sure you
16     have your own equity, that EquityBuild had real
17     equity in the deal.         We don't finance or cash out
18     people.     One of the biggest psychological
19     underwriting points with me is they need to stay
20     pregnant.
21          Q.     So they need to keep their money in the
22     property as well as your money; is that what
23     you're saying?
24          A.     Their money would be junior to us as


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 1     equity.     Our money would be senior.            But since
 2     that underwriting formula makes a lot of sense
 3     since most of our loans are six months to a year.
 4     We don't make loans over a year.              We don't even
 5     make two-year loans.
 6          Q.     How much money did you understand
 7     EquityBuild had in the Indiana and Yates loan
 8     after you made the loan?
 9          A.     I can't tell you exactly.            I could look
10     at documents and tell you correct or not, but
11     enough, enough to make me feel comfortable.
12          Q.     And what generally is enough to make you
13     feel comfortable?
14          A.     Sometimes I make 80 percent loans.
15     Sometimes I don't even make 50 or 55 percent.                   In
16     this case I relied on Kourosh's sentence a lot,
17     Kourosh Cohan.        And when I told him the amount of
18     the loan, which I don't remember right now, he
19     said you cannot go wrong.           Don't worry about it.
20          Q.     And that was based on his looking at the
21     property and having a sense as to what it was
22     worth and knowing that that meant that the
23     property had enough value in it that if
24     EquityBuild stopped paying on the loan, the


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 1     underlying property would be sufficient to make
 2     sure that your lenders were made whole; is that
 3     right?
 4          A.     Correct, but please know, I'm answering
 5     more than you asked.          I sent him the number of
 6     units and the rents and all of that too.
 7          Q.     So he looked at the sort of demographic
 8     information about the loan, and then he went and
 9     looked at the property; and based on his
10     assessment of the numbers and his looking at the
11     properties -- physically looking at the
12     properties, he was confident that there was
13     sufficient value in the properties to allow you to
14     be safe if you made the loan?
15          A.     Yes, and he actually -- I mean this guy
16     was like me in the past.           He's a very big shot.          I
17     wouldn't think that he would get in his car and
18     drive there himself.          He wanted to introduce me to
19     others.     I said, no.       Please do this yourself.           He
20     called me when he was there from his car, I
21     remember that specifically, and he told me you
22     cannot go wrong.
23          Q.     And about how long a conversation did you
24     have with him in total about his efforts regarding


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 1     this loan?
 2          A.     My God, that's a hard question, but the
 3     car conversation was less than ten minutes.
 4     Probably two or three calls before that.
 5          Q.     And was any of them more than ten minutes
 6     would you guess?
 7          A.     I don't think so because I don't --
 8     everybody who knows me, I don't stay on the phone
 9     for that long.
10          Q.     I was going to guess that, but I didn't
11     want to be presumptuous.
12          A.     No, you can ask me anything you want.
13          Q.     In the middle of March you sent an email
14     to Tyler DeRoo in which you said in all caps I
15     must speak with you.          Do you remember looking at
16     that earlier today?
17          A.     Was it Tyler DeRoo or Shaun Cohen?
18          Q.     I believe it was Tyler DeRoo.             I was
19     trying to do it without sharing it just because I
20     was lazy.      I'll pull it up.        Hang on a second.
21          A.     If I remember today, Ms. Wine asked me a
22     question about that cap.           The caps I remember, but
23     I thought that was a reply or something to Shaun.
24     If it's Tyler, I'll stand corrected.


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 1                  Yeah, it's Tyler and others and Shaun is
 2     also.
 3          Q.      And you said:      "Tyler, I must speak with
 4     you.     Call me ASAP," right?
 5          A.      Correct.
 6          Q.      Did Tyler call you?
 7          A.      I don't remember.
 8          Q.      Do you remember talking with anybody from
 9     EquityBuild after you sent this email?
10          A.      I don't remember.
11          Q.      Do you know if anyone from Shatar Capital
12     spoke with anyone from EquityBuild about the topic
13     of this email?
14          A.      The proper answer would be not I don't
15     know, but the strong guessing answer would be
16     nobody else would have talked to them except me.
17          Q.      So your expectation as the corporate
18     representative for Shatar Capital is that the only
19     person who would have spoken with somebody from
20     EquityBuild about this email would be you and that
21     you don't remember talking with somebody about it;
22     is that right?
23          A.      I don't remember at this point, but I'm
24     not saying I didn't.          I don't remember.


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                                                                         Page 112
 1          Q.     Understood.       Sorry.    So your testimony
 2     now is that if somebody spoke with somebody
 3     from -- pardon me.
 4                 If somebody from Shatar Capital spoke
 5     with somebody from EquityBuild about this email,
 6     it would have been you, and you don't remember
 7     having that conversation; is that right?
 8          A.     Correct.
 9          Q.     Thank you.      Do you remember what it was
10     in the email exchange that prompted you to send
11     that email to Tyler?
12          A.     I don't know.       I'm not trying to play
13     games.     I prefer not to guess.
14          Q.     I was going to say I'm scrolling down to
15     show you the email that preceded the email that
16     you sent.
17          A.     I really don't know why I would have sent
18     that email, but I'm sure since I capitalized it,
19     it was an important matter.
20          Q.     When you say you capitalized it, the
21     email at the very top of the exhibit is in all
22     caps, and you're saying that you used all caps
23     there to communicate the importance of your
24     request; is that right?


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                                                                         Page 113
 1          A.      Emphasize.
 2          Q.      To emphasize your request, thank you.
 3                  You also testified earlier that you
 4     believed that EquityBuild was a syndicator and had
 5     raised funds for purchases of properties that way.
 6     Do you remember that testimony?
 7          A.      Yes.
 8          Q.      What was the basis for your understanding
 9     that EquityBuild was a syndicator?
10          A.      Probably just what I saw, especially what
11     I'm seeing now.        When I saw, for example, I mean I
12     want to say this and my attorneys probably would
13     object but I'm going to go ahead anyway.                 Sorry
14     about that.
15                  If, if I had seen, I know that that
16     exhibit is there, that these guys raised $20,000
17     increments or $10,000 increments from people, I
18     thought they would be much heavier hitters than
19     this.     I would have never done business with this
20     guy.
21          Q.      I'm sorry.     What -- go ahead.
22          A.      One of the things, if I had seen that
23     EquityBuild raises small amounts of money, like
24     20,000 here, 15,000 there, they would have -- it


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                                                                         Page 114
 1     would have spooked me as very small, nitty-gritty
 2     players; and I would not -- that would have been
 3     one of the things that would have made me say we
 4     don't want to do the loan no matter how much --
 5     not because of Ponzi or anything, no matter how
 6     good the loan's value is.           This is stupid.        Our
 7     category is so different than theirs.
 8          Q.      So what you're saying is that learning
 9     later that EquityBuild was getting purchase money
10     from investors making smaller investments, 10, 20,
11     30 thousand dollars, would have been enough to
12     cause you, Mr. Namvar, as the underwriter for
13     Shatar Capital, to decide not to proceed with the
14     loan?
15                  MR. DEVOOGHT:      Object to the form.
16                  THE WITNESS:      In that time, yes, you are
17          correct; but I found out these small amounts
18          today for the first time when you showed me
19          that exhibit.        I'm not saying it's -- I
20          really don't remember ever seeing this, and
21          knowing that these guys solicit, you know,
22          peanuts.
23     BY MR. STEIN:
24          Q.      And when you say the exhibit you saw


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                                                                         Page 115
 1     earlier today, are you referring to the mortgage
 2     that you were shown as an exhibit by Ms. Rosen
 3     Wine that was the mortgage to the equity -- that
 4     EquityBuild gave to its investors?
 5           A.    Yes, for the same loan, are you kidding
 6     me?
 7           Q.    When you made the loan, what did you
 8     understand EquityBuild was -- strike that.                 Let me
 9     start again.
10                 When you made the loan, what kind of
11     money did you understand that EquityBuild was
12     syndicating such that you were comfortable going
13     ahead and making the loan?
14                 MR. DEVOOGHT:       Object to the form.
15                 THE WITNESS:       I don't remember.         I heard
16           150 one time.       I don't know whether they said
17           they have closed 150 million dollars worth of
18           deals or they had equity 150 million, but
19           that stuck in my head.          That's what Shaun
20           Cohen told me.
21     BY MR. STEIN:
22           Q.    So what you remember Shaun Cohen telling
23     you was that they had aggregated funds of around
24     150 million dollars, and that signaled to you that


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                                                                          Page 116
 1     they were the kinds of significant players you
 2     would have expected them to be; is that right?
 3          A.      Not exactly.      What I said is funds,
 4     not --
 5                  MR. DEVOOGHT:      Mr. Namvar, you have to
 6          give me a chance -- I need you to slow down a
 7          little bit just so I can lodge my objection.
 8          Max asks a question.          You've got to give me
 9          just a split second to lodge an objection.
10          Sorry to interrupt.          Object to the form.         Go
11          ahead.
12                  THE WITNESS:      I can answer now?
13                  MR. DEVOOGHT:      Yes.    Thank you.
14                  THE WITNESS:      I said I wasn't sure
15          whether the 150 million was transactional
16          value including, including first mortgages or
17          the 150 million I had was all equity plus the
18          existing mortgages which would have raised
19          that number.       I don't remember.         But the 150
20          million I specific -- that number is in my
21          head.
22     BY MR. STEIN:
23          Q.      And you testified earlier that you don't
24     remember previously having seen the mortgage that


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                                                                         Page 117
 1     EquityBuild gave to its individual investor
 2     lenders; is that right?
 3           A.    What did I say?        I said I wasn't aware of
 4     it.
 5           Q.    Yes.
 6           A.    I thought the format was raising equity,
 7     not to give --
 8           Q.    Right.     And I'm sorry.        Just so it's
 9     clear.     You were not aware that there was a
10     mortgage that had been given to individual
11     investors for the same property that you were
12     making the loan on; is that right?
13           A.    Absolutely correct, I was not.             If I was,
14     why would I have done business with this guy?
15           Q.    And I just want to make sure that your
16     testimony as the corporate representative on
17     behalf of Shatar Capital is that nobody at Shatar
18     Capital was aware of that mortgage; is that right?
19           A.    Correct, 100 percent.
20           Q.    You were asked questions about Danny
21     Pakravan, and I'm probably mispronouncing that,
22     purchasing the interest of some of the lenders on
23     the Shatar Capital loan.           Do you recall that?
24           A.    Yes.


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                                                                         Page 118
 1          Q.     And that purchase happened after the
 2     EquityBuild -- sorry.          That was a complete brain
 3     cramp.     Let me start all over.
 4                 That purchase occurred after the
 5     EquityBuild receivership had begun; is that right?
 6                 MR. DEVOOGHT:       Object to the form.
 7                 THE WITNESS:       Ms. Jodi Wine represented
 8          that, and I have no reason to believe she is
 9          wrong, but you've got to look at the dates;
10          and it's very, very obvious because we would
11          have given the assignment from those people
12          to Danny, which is recorded document, and the
13          date is on it two or three days after he
14          brought the money or concurrently when he
15          brought the money.         So those dates can tell
16          you, and if you can show me, I can testify,
17          but you don't need to, that when Danny
18          Pakravan gets involved, other people shifts.
19     BY MR. STEIN:
20          Q.     How much did Danny pay for those
21     interests?      Did he pay 100 percent of the value of
22     them, did he pay 75 percent of the value, 50
23     percent of the value?
24          A.     No.    I'll tell you what, and this is a


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                                                                         Page 119
 1     total guess which is 95 percent correct, they got
 2     their money plus normal interest.              Daniel would
 3     keep the default interest, which is the extra
 4     money Daniel would have made.
 5          Q.     So Daniel would have -- Danny would have
 6     paid them 100 percent of the amount of the money
 7     that they made as part of the loan plus the
 8     interest that they should have received but didn't
 9     from EquityBuild; is that right?
10          A.     The regular interest, yes.
11          Q.     And then Danny was looking to make his
12     money on getting the elevated interest -- an
13     elevated default interest rate on his, when he got
14     paid; is that right?
15          A.     Right.
16          Q.     Has Shatar Capital made any other claims
17     besides the claim it made in the receivership
18     related to the funds that it's seeking in the
19     receivership?
20          A.     Any other claims to who?
21          Q.     To any insurance companies, title
22     insurance companies, anybody else?
23                 MR. DEVOOGHT:       Object to the form.
24                 THE WITNESS:       It's hard for me -- where


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 1          did Bill go?       Is Bill here?        I think we made
 2          a claim against the title company at some
 3          point.     I think so.        I'm not sure.
 4     BY MR. STEIN:
 5          Q.     Okay.     Sorry.    Go ahead.
 6          A.     No other person.
 7          Q.     So you think that a claim was made
 8     against the title insurance company; is that
 9     right?
10          A.     Yeah, that's a normal thing to do in our
11     business, and so we did.
12                 MR. DEVOOGHT:       Court Reporter, can we get
13          a time check?
14                 THE REPORTER:       We're at 2 hours 50
15          minutes.
16                 MR. STEIN:      5-0?
17                 THE REPORTER:       Yes.
18                 MR. STEIN:      Why don't we go off the
19          record for ten minutes.            I'm just about done.
20          I just need to double-check what else I might
21          need to cover and what I can do in ten
22          minutes.
23                 MR. DEVOOGHT:       Okay.
24                           (Whereupon a recess was taken from


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 1                            4:24 p.m. to 4:31 p.m., after
 2                            which the preceding deposition
 3                            continued as follows:)
 4     BY MR. STEIN:
 5          Q.     Mr. Namvar, I'm now showing you what has
 6     been marked as Exhibit 14.            It is an email dated
 7     March 15, 2017, from you to Tyler DeRoo.                 Do you
 8     see that?
 9          A.     I see it.
10          Q.     In this email you ask Mr. DeRoo:              "Can
11     you please send us a detailed resume or brochure
12     on the company?        How you raise money, the length
13     in business, how many units you control, et
14     cetera, et cetera.         Thanks."     Do you see that?
15          A.     Yes.
16                 MR. DEVOOGHT:       Max, is there -- again,
17          the Zoom format.         Is there a thing below it?
18          You can show us the email.            Is that the only
19          email?
20                 MR. STEIN:      It was sent in response to
21          this email.
22                 MR. DEVOOGHT:       Okay.
23                 MR. STEIN:      Thank you.
24                 MR. DEVOOGHT:       Thanks.


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                                                                         Page 122
 1     BY MR. STEIN:
 2          Q.     Mr. Namvar, feel free to read this email
 3     because the question I was about to ask -- oh,
 4     wait, hang on.        Let me see.      That's the beginning
 5     of the email thread.          And now I will stop making
 6     everybody dizzy by moving it around.
 7                 The email that you sent, Mr. Namvar, that
 8     we just read was sent in response to this email
 9     from Mr. DeRoo in which he said he wanted to
10     correct a previous typing mistake on this
11     building.      The assets purchase price was 1.55
12     million, and he had previously written 1.35
13     million.     Do you recall this exchange?
14          A.     I don't recall it, but I can testify that
15     it's probably a correct email chain.
16          Q.     Do you remember receiving any information
17     from Mr. DeRoo in response to your request to him
18     for a detailed resume or brochure on the company
19     and information on how it raises money, the length
20     it's been in business and how many units it
21     controls?
22          A.     I don't remember.
23          Q.     Do you believe as you sit here today that
24     you received information in response to that


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                                                                         Page 123
 1     request?
 2          A.      Tyler was very good about responding and
 3     sending things.        I'm assuming he did.          I don't
 4     know whether he did, but I know this is not a yes
 5     or no answer, but I can think about why I sent
 6     that and I need to put it out there for my
 7     attorneys.
 8                  They were also at the same time asking me
 9     to raise 100 million dollar credit line for them.
10     We also broker loans to institutions, banks,
11     funds, what have you.          If I ask for this kind of
12     information, it was most probably for one of the
13     institutional lenders to see if I can get them a
14     credit line.       That's my guess.
15          Q.      Okay.    And do you have any recollection
16     as to whether you -- what you received that you
17     shared with those institutional lenders that would
18     have provided information on EquityBuild and how
19     it raises money?
20          A.      If it's not in my document production, I
21     either did not receive it or may have lost it or
22     deleted it.       I don't know.       I don't know.       I don't
23     know.
24          Q.      As you sit here today as the corporate


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                                                                         Page 124
 1     representative for Shatar Capital, do you have an
 2     understanding as to what Shatar Capital knew in
 3     March of 2017 about how EquityBuild raised money?
 4           A.    Not on top of what I've already testified
 5     to.
 6           Q.    Okay.     One last topic I need to cover,
 7     Mr. Namvar.      We touched on it a little bit.
 8     You've been convicted of some crimes; is that
 9     right?
10                 MR. DEVOOGHT:       Object to the form.          What
11           is the relevance of this?           This is a 30(b)(6)
12           deposition as the Shatar corporate
13           representative from the topics in the
14           deposition notice.
15     BY MR. STEIN:
16           Q.    You can answer the question, Mr. Namvar.
17           A.    Crime, I hate that word.           I was indicted
18     on four counts of misrepresentation.
19           Q.    Were you convicted of any of those
20     counts?
21                 MR. DEVOOGHT:       Object to form.        This is
22           all public record.        You know the answer to
23           these questions, Max.         This is just
24           harassment.


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                                                                         Page 125
 1     BY MR. STEIN:
 2          Q.     You can answer.
 3          A.     I agree with my lawyer, but I can talk
 4     about it as long as you want; but I was convicted
 5     of four counts because my exhibits never got to
 6     the jury room by clerk's mistake.
 7          Q.     Okay.     What was the nature of the
 8     misrepresentations?
 9                 MR. DEVOOGHT:       Object to the form.          This
10          is all public record.          This has nothing to do
11          with the topics in the deposition notice.
12          This is harassment, but you can answer.
13                 THE WITNESS:       We owned -- had nothing to
14          do with loans.        We owned a 1031 exchange
15          accommodation business.           Our exchange
16          documents all mention in paragraph 5 that we
17          used the money.        We don't put it in a bank.
18                 MR. DEVOOGHT:       Court Reporter, can we
19          have a time check, please?
20                 THE REPORTER:       Four more minutes.
21                 THE WITNESS:       Okay.    It was regarding
22          four investors out of 93 who lost money and
23          lied, four counts.
24     BY MR. STEIN:


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                                                                         Page 126
 1          Q.     Did the investors claim that they had
 2     lost money as a result of your misrepresentations?
 3                 MR. DEVOOGHT:       Object to the form.          This
 4          is all public record.          This has nothing to do
 5          with Shatar.       This is witness harassment and
 6          a waste of time.         But you may answer.
 7                 THE WITNESS:       They claimed that they
 8          didn't know what they were signing; and if
 9          they did know what they were signing, the
10          jury was buying it by nodding heads and
11          stuff, unless at the last minute three days
12          later we found out that our exhibits never
13          got to the jury room.          It was by mistake of
14          the clerk left in the codefendant's lawyer's
15          carts.
16                 So they never looked at any 18 exhibits
17          we had out of 500 exhibits.             They only looked
18          at the prosecutor's 500 exhibits which was
19          all our quarterly accounting documents.                 When
20          I write my book, I'll send you a copy.
21     BY MR. STEIN:
22          Q.     Please.     But I want to get a clear answer
23     to the question.        Did the four investors who
24     claimed that you made misrepresentations lose


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                                                                         Page 127
 1     money in their investments as a result?
 2                 MR. DEVOOGHT:        Object to the form.         This
 3          has doing to do with the Shatar corporate
 4          representative, which Mr. Stein has gone out
 5          of his way to highlight.           This is a corporate
 6          deposition.       This is not in the topics.            This
 7          is an embarrassment.          You're harassing the
 8          witness.      You may answer the question.
 9                 THE WITNESS:         They lost money not because
10          of me.     The money was in the account.             They
11          lost money because the trustee took every
12          money we had in every account and paid
13          themselves over 500 million dollars worth of
14          legal fees.       And Ms. Jodi Wine and you have
15          to listen to this.          500 million dollars.
16                 MR. DEVOOGHT:        Can we get a time check,
17          please?
18                 THE REPORTER:        Two 58.
19                 MR. STEIN:      I have no further questions.
20                 MR. DEVOOGHT:        I have a couple follow-up,
21          Ms. Wine, are you --
22                 MS. WINE:      No.     I was going to ask if
23          anyone else had any questions.
24                 MR. DEVOOGHT:        Mr. Hanauer, do you have


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                                                                         Page 128
 1          any questions on behalf of the SEC?
 2                 MR. HANAUER:       No.    Thank you, Counselor.
 3                 MR. DEVOOGHT:       I do.
 4                            CROSS EXAMINATION
 5     BY MR. DEVOOGHT:
 6          Q.     I have a couple quick questions for you.
 7     First so the record is clear on the substance of
 8     your level of preparation (inaudible) --
 9                 THE REPORTER:       I'm sorry.       We can't hear
10     you.
11     BY MR. DEVOOGHT:
12          Q.     Okay.     I want to ask you just a couple
13     quick questions, sir.          You were asked some
14     questions about your preparation today, do you
15     remember that, by Mr. Stein?
16          A.     Yes.
17          Q.     Okay.     And, in fact, you met with --
18     without disclosing the substance, isn't it true
19     you met with your attorneys to discuss the
20     deposition topics on a number of occasions?
21          A.     Yes.
22                 MR. STEIN:      Object to the form of the
23          question.
24     BY MR. STEIN:


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                                                                         Page 129
 1          Q.     Including didn't you meet with your
 2     attorneys for like an hour and a half by Zoom to
 3     discuss the topics?
 4                 MR. STEIN:      Object to the form of the
 5          question.      Leading.
 6     BY MR. DEVOOGHT:
 7          Q.     You can answer.
 8          A.     Yes.
 9          Q.     And isn't it true that you spoke with
10     your son to ask him any questions you had about
11     Shatar, the structure of Shatar, as he was the
12     president of that entity?
13          A.     Yes.
14                 MR. STEIN:      Object to the form of the
15          question.
16                 MR. DEVOOGHT:       Thank you for your time
17          today, sir.       I have no further questions.
18                 MS. WINE:      I have no further questions of
19          this witness either.          I think that means
20          we're done.
21                 THE REPORTER:       What about signature?           Do
22          we do signature?
23                 MR. DEVOOGHT:       Yeah, read and sign.
24          Thank you so much for your time today, most


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 1          important.
 2                 THE REPORTER:       Thank you.       Transcripts,
 3          Ms. Wine?
 4                 MS. WINE:      Yeah.    I'll have my office
 5          call you about what type of order.               Thank
 6          you.
 7                 THE REPORTER:       Okay.     I'll let everybody
 8          else know then.
 9                 MS. WINE:      Thank you, Mr. Namvar.
10                           (Whereupon the deposition
11                            concluded at 4:41 p.m.)
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 1              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
 2                        EASTERN DIVISION
 3
       UNITED STATES SECURITIES AND
 4     EXCHANGE COMMISSION,
                                                 Civil Action No.
 5                         Plaintiff,            18-cv-5587
 6                  vs.                          Hon. Manish S. Shah
 7     EQUITYBUILD, INC., EQUITYBUILD                Magistrate Judge
       FINANCE, LLC, JEROME H. COHEN                 Young B. Kim
 8     and SHAUN D. COHEN,
 9                    Defendants.
       __________________________________________________
10
11                  I, EZRI NAMVAR, being first administered
12     an oath, say that I am the deponent in the
13     aforesaid deposition taken on November 1, 2023;
14     that I have read the foregoing transcript of my
15     deposition, and affix my signature to same.
16
17                                   ________________________
                                     Ezri Namvar
18
19
20
       Subscribed and sworn to
21     before me this ______ day
       of ___________________, 2023.
22
23
       _____________________________
24     Notary Public


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 1     STATE OF ILLINOIS         )
                                 ) SS.
 2     COUNTY OF C O O K         )
 3
 4                     I, JOANNE M. GAGLIARDI, CSR, RPR, do
 5     hereby certify that EZRI NAMVAR, was by me
 6     remotely first duly sworn to testify to the truth,
 7     the whole truth, and nothing but the truth, and
 8     that the above deposition was recorded
 9     stenographically by me and reduced to
10     computer-aided transcription by me.
11                     I FURTHER CERTIFY that the foregoing
12     transcript of the said deposition is a true,
13     correct, and complete transcript of the testimony
14     given by the said witness at the time and place
15     specified hereinbefore.
16                     I FURTHER CERTIFY that I am not a
17     relative or employee or attorney or counsel of any
18     of the parties, nor a relative or employee of such
19     attorney or counsel, or financially interested
20     directly or indirectly in this action.
21
22
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 1                     I FURTHER CERTIFY that my certificate
 2     annexed hereto applies to the original and typed
 3     transcripts only, signed and certified transcripts
 4     only.     I assume no responsibility for the accuracy
 5     of any reproduced copies not made under my control
 6     or direction.
 7                     IN WITNESS WHEREOF, I have hereunto
 8     set my hand this 6th day of November, 2023.
 9
10                     __________________________________
                       Certified Shorthand Reporter
11                     Registered Professional Reporter
                       C.S.R. No. 084-002466
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                                                                                           EXHIBIT NO. 4


 From:                    Christopher Mora
 Sent:                    Tuesday, November 22, 2016 9:34 PM CST
 To:                      ezrinamvar@gmail.com
 Subject:                 Follow Up - EquityBuild Finance


 Hi Ezri,

 I hope you are well. Doron Kermanian told me that he thought you would be very interested to know about our
 investor/developer company, EquityBuild Inc. and our private mortgage note investment company EquityBuild FInance
 LLC. He said that what EBF is doing to help our clients was something that you would want to discuss. Thank you for
 expressing interest in EquityBuild Finance (EBF), LLC, and making the decision to take closer look at CEO Shaun
 Cohen's offer.

 Please reply back to let me know that you received this email.

 I am based out of McLean, Virginia (Washington, DC metro), though our clients are nation-wide. If you are on
 LinkedIn.com, I welcome you to view my profile and read the summary about EquityBuild Inc. & EquityBuild Finance
 LLC, and further, read the recommendations/testimonials that some of my clients have posted. The link is here:

 https://www.linkedin.com/in/christopher-mora-7528b43

 As a point of reference, I am not only a consultant with EBF, but I am also a full time real estate investor and I have a buy-
 and-hold portfolio of single family and multi-family properties on the Mississippi Gulf Coast (which I acquired prior to
 working with EquityBuild, when I was still in the civilian practice of law and, as an attorney, I worked on several major
 real estate investment or re-development projects to include the $750 million BRAC and re-development of a New Orleans
 Navy base as Federal City New Orleans, a public-private mixed-use development (www.nolafederalcity.com)) and I am
 also a client / lender on several EBF private mortgage notes in my self directed Roth IRA.

 Right now, we are paying 16% return, plus 1% bonus (from points paid at closing) on our current private
 mortgage notes. I am happy to discuss this with you in greater detail.

 The current EquityBuild opportunity/private mortgage note is for 7024 S Paxton. As with all other EBF notes, this private
 mortgage note is fully secured by the Paxton property as collateral, and lenders are further protected with a first lien
 position. on the property. As always, clients are able to invest with either personal funds AND/OR using funds within
 their self directed IRA (SDIRA) (if you have a 401k with a former employer or an IRA that is not a SDIRA, we can help
 you get one set up with a SDIRA custodian to transfer from the old account into the SDIRA to take advantage of this
 opportunity if the IRA is your source of funds).

 Here's a link to the Offering Memorandum -

 7024 S Paxton

 You should be able to click and download it or view it.

 7024 S Paxton is an 18-month note that has an advertised closing date of November 28th, and the return it will earn and
 pay out is 16% per year and also 1% bonus point from the points at the closing. So, you'd effectively earn 17% in the first
 year, actually. Also, from the time funds are received until the closing date, these funds will also earn a 6% per diem rate
 of interest. So, with EBF there is never a time when your funds are not earning a rate of return. Then, from the closing
 date onward, they will earn the full 16%.

 Our model consists of three key components to ensure the security of your investment:

 1. Experience: As a real estate investment and asset management firm, EquityBuild Inc. handles all aspects of the
 rehabilitation, leasing, and property management of the properties we serve.

 a. EquityBuild Inc. has been in the real estate industry since 1984 and has successfully closed over 1,500 deals

                                                                                                                          Exhibit
                                                                                                                                    exhibitsticker.com




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 b. EB is the largest buyer of small to mid-sized commercial multi-family properties in emerging markets in Chicago, the
 third largest city in the country.
 c. EquityBuild Finance has over $100,000,000 of lender/clients' funds under asset management
 d. Our team has over 120 years of combined real estate experience.
 e. Our construction managers have over 50 years of combined experience including work on apartment buildings, hotels,
 malls, and schools.
 f. Our property management companies are some of the top in all Chicagoland and boast a less than 5% vacancy rate

 2. Qualified Investors: Financing is only available for qualified clients who purchase real estate from our inventory.
 Borrowers are evaluated in a way similar to the process for applying for a traditional mortgage. This ensures that they are
 qualified and creates a more secure investment for our lenders.

 3. No Pooling: Each lender has a first lien position on the money they lend and their funds are further secured by the
 property itself as collateral. This is not a pooling model that investors commonly see with other companies.

 FYI: We have a few spots left on this Paxton note, with about $100,000 left to raise of the overall $2.75 million. It will
 probably fully fund by Wednesday, tomorrow, especially with 16% return + 1% bonus point.

 Again, please reply to this email and let me know you got this, and let me know if you'd like to speak this week?

 Further, if you'd like, you can reply to this email and let me know what amount you wanted to reserve for a position on the
 funding report for this note (to hold a spot for you) just in case it moves quickly before we speak by phone. Don't worry if
 this one fully funds - our deal flow is consistent, and we'll have another property in our pipeline after Paxton.

 Best regards,

 Chris

 --
 Christopher D. Mora, BA, MA, MPA, JD | Relationship Manager
 US Navy (Active, 99-03, 07-13, 16-Pres; USNR, 03-07, 13-16; Afghanistan 2013)
 University of Pennsylvania Law School, 1999; Harvard University, 2005
 University of New Orleans, 1996; US Naval War College, 2008

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                                                                                         EXHIBIT NO. 5



 From:                      Ezri Namvar
 Sent:                      Friday, December 23, 2016 12:35 PM CST
 To:                        'Shaun Cohen'; 'Tyler DeRoo'
 CC:                        'Daniel Namvar'
 Subject:                   chicago


 SO THERE IS NO MISUNDERSTANING ANY MORE I am including shaun and Tyler
 both on this message :

 ---I need a detailed request letter what properties we r looking at , and the amount of the loans
 ---if purchase money –I need all offers, counter offers, rent rolls, purchase contracts, amendments, title
 reports, appraisals etc. etc.,
 ---on the refinance properties please provide all of the above , plus the title policy and the new rent roll,
 plus any rehab cost breakdown

 -----SINCE WE HAVE BECOME AWARE OF YOUR BUSINESS STRUCTURE, ASSUMING YOUR PREVIOUS
 DEALS HAVE BEEN CLOSED WITH CROUDFUNDING INVESTORS, WE NEED TO MAKE SURE YOUR
 REINANCING OF ALREADY CLOSED DEALS ARE ALLOWED AND KOSHER, IN CASE THE PROCEEDS IS NOT
 DISTRIBUTED AND/OR GOING TOWARD NEW DEALS—IN THAT REGARD PLEASE PROVIDE ANY
 DOCUMENT U CAN—DEPENDING ON OUR UNDERWRITING WE MAY NEED A STRONG OPINION LETTER
 FROM YOUR ATTORNEY----PLEASE NOTE THAT THIS REQUIREMENT IS ONLY ON THE REFINANCE DEALS
 AND NOT THE PURCHASE MONEY LOANS.

 Please get back 2 me, thnx

 B"H
 Ezri Namvar
 T: 310.873.9575
 ezrinamvar@gmail.com

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 advice; and is not a solicitation, nor an offer to buy or sell securities, nor a loan approval or commitment to engage in any business
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 transaction, you should consult your own real estate, legal, tax or accounting experts. The information contained in this message
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 From:               Tyler DeRoo
 Sent:               Friday, December 23, 2016 2:40 PM CST
 To:                 Ezri Namvar
 CC:                 Shaun Cohen; Daniel Namvar
 Subject:            Re: chicago
 Attachments:        7024paxtonbuyerdocs.pdf, Untitled attachment 248810.htm, Rollover Form.pdf, Untitled attachment 248813.htm


 Hi Ezri,

 Please find attached our standard rollover forms we use. In regards to the 4 buildings we wish to
 finance, i think it will be easiest and best to start with 7024 S Paxton. You already have all the
 relevant financial info on this one as this was one of the original buildings we had you look at. I
 also attached the title policy, closing statement, and relevant closing docs in my email yesterday
 with all the closing info but i have re-attached it here for convenience. I think it would probably
 be easiest and best if we could focus on 7024 Paxton since we dry closed this yesterday and are
 schedule to fund on Tuesday, so we need to get going on this one ASAP. The purchase price is
 $1.85MM so we would like to get have financing on this one for 75% of the purchase price,
 which would be $1,387,500. Please advise what further info you need from us to move this
 forward. Thanks again.
 Tyler DeRoo
 C. 847.420.2095




                                                                                                                      Exhibit
                                                                                                                                  exhibitsticker.com




                                                                                                                          5
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 181 of 370 PageID #:105564




      On Dec 23, 2016, at 12:52 PM, Ezri Namvar <ezrinamvar@gmail.com> wrote:

      Please do
      This is good 2 know

      B"H
      Ezri Namvar
      T: 310.873.9575
      ezrinamvar@gmail.com

      NOTICE: This communication is not intended to provide, and should not be relied upon for real estate, legal, tax,
      or accounting advice; and is not a solicitation, nor an offer to buy or sell securities, nor a loan approval or
      commitment to engage in any business transaction. NOTHING IN THIS COMMUNICATION SHALL BE BINDING
      OR CONTRACTUAL. Before engaging in any transaction, you should consult your own real estate, legal, tax or
      accounting experts. The information contained in this message and any attachments are intended only for the use
      of the individual or entity to which such message is addressed and may contain information that is privileged,
      confidential, and exempt from disclosure under applicable law. If you have received this message in error, you are
      prohibited from copying, distributing, or using the information. Please contact the sender immediately by return e-
      mail and delete the original message from your system.


      From: Shaun Cohen [mailto:shaun@equitybuildfinance.com]
      Sent: Friday, December 23, 2016 10:48 AM
      To: Ezri Namvar <ezrinamvar@gmail.com>
      Cc: Tyler DeRoo <tyler@equitybuild.com>; Daniel Namvar <daniel@shatar.com>
      Subject: Re: chicago

      Ezri,

      On all refinances we send out rollover documents to our lenders asking them if they would
      like their funds back or if they would like to rollover their funds into a new deal. Would you
      like me to have samples that we have sent out on previous deals?

      Thanks,



      Shaun Cohen
      President
      EquityBuild Finance, LLC
      shaun@equitybuildfinance.com
      Tel: (877) 978-1916 x 1807
      Cell: (215) 407-5777
      Fax: (239) 244-8666
      www.equitybuildfinance.com

      Sent from my iPhone
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      On Dec 23, 2016, at 1:35 PM, Ezri Namvar <ezrinamvar@gmail.com> wrote:

            SO THERE IS NO MISUNDERSTANING ANY MORE I am including shaun and
            Tyler
            both on this message :

            ---I need a detailed request letter what properties we r looking at , and the
            amount of the loans
            ---if purchase money –I need all offers, counter offers, rent rolls, purchase
            contracts, amendments, title reports, appraisals etc. etc.,
            ---on the refinance properties please provide all of the above , plus the title
            policy and the new rent roll, plus any rehab cost breakdown

            -----SINCE WE HAVE BECOME AWARE OF YOUR BUSINESS STRUCTURE,
            ASSUMING YOUR PREVIOUS DEALS HAVE BEEN CLOSED WITH
            CROUDFUNDING INVESTORS, WE NEED TO MAKE SURE YOUR REINANCING
            OF ALREADY CLOSED DEALS ARE ALLOWED AND KOSHER, IN CASE THE
            PROCEEDS IS NOT DISTRIBUTED AND/OR GOING TOWARD NEW DEALS—IN
            THAT REGARD PLEASE PROVIDE ANY DOCUMENT U CAN—DEPENDING ON
            OUR UNDERWRITING WE MAY NEED A STRONG OPINION LETTER FROM
            YOUR ATTORNEY----PLEASE NOTE THAT THIS REQUIREMENT IS ONLY ON THE
            REFINANCE DEALS AND NOT THE PURCHASE MONEY LOANS.

            Please get back 2 me, thnx

            B"H
            Ezri Namvar
            T: 310.873.9575
            ezrinamvar@gmail.com

            NOTICE: This communication is not intended to provide, and should not be relied upon for real
            estate, legal, tax, or accounting advice; and is not a solicitation, nor an offer to buy or sell
            securities, nor a loan approval or commitment to engage in any business transaction. NOTHING
            IN THIS COMMUNICATION SHALL BE BINDING OR CONTRACTUAL. Before engaging in any
            transaction, you should consult your own real estate, legal, tax or accounting experts. The
            information contained in this message and any attachments are intended only for the use of the
            individual or entity to which such message is addressed and may contain information that
            is privileged, confidential, and exempt from disclosure under applicable law. If you have received
            this message in error, you are prohibited from copying, distributing, or using the information.
            Please contact the sender immediately by return e-mail and delete the original message from your
            system.
          Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 183 of 370 PageID #:105566
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 Ƞ OPTION 1. Direct Deposit (EŽŶ/Z/ŶǀĞƐƚŵĞŶƚƐĂŶĚForm Must already be on file)
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侊 OPTION 2. tŝƌĞ;ΨϱϬ͘ϬϬǁŝƌĞĨĞĞǁŝůůďĞĚĞĚƵĐƚĞĚĨƌŽŵdŽƚĂůͿ
WůĞĂƐĞĞŵĂŝůďĂŶŬǁŝƌĞŝŶƐƚƌƵĐƚŝŽŶƐƚŽĐĐŽƵŶƚŝŶŐΛƋƵŝƚǇƵŝůĚ&ŝŶĂŶĐĞ͘ĐŽŵ͕Z͗ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺWĂǇŽƵƚͲzŽƵƌEĂŵĞ
侊 OPTION 3. ROLL OVER FUNDS FROM PAYOUT ON EXISTING DEAL(s)
Funds will be rolled over ƚŽ _______________________________________________________________
Funds will be rolled over ƚŽ _______________________________________________________________

Funds will be rolled over ƚŽ _______________________________________________________________

 侊 OPTION 4. PARTIAL WzDEd/ PARTIAL ZK>>KsZ

 Funds (__________) will be rolled over ƚŽ͗ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ

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 AUTHORIZATION AND SIGNATURE

I am authorizing EquityBuild, Inc., Hard Money Company and it’s subsidiaries and agents to hold and release funds
necessary to roll my investment from one deal to the next.

Account Owner Authorization and Signature

   X                                        Print Name                       Date

Responsible Individual Authorization and Signature

   X                                        Print Name                       Date

INTERNAL USE ONLY
Date Received:               Received by:                Date Approved:         Approved by:
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Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 185 of 370 PageID #:105568




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Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 187 of 370 PageID #:105570
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 188 of 370 PageID #:105571
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 189 of 370 PageID #:105572
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 190 of 370 PageID #:105573
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 191 of 370 PageID #:105574




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Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 202 of 370 PageID #:105585
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                                                                              EXHIBIT NO. 7



 From:              Tyler DeRoo
 Sent:              Tuesday, December 27, 2016 12:30 PM CST
 To:                Ezri Namvar
 CC:                Shaun Cohen
 Subject:           Lender Doc Set
 Attachments:       EquityBuild, Inc Wire Instructions.pdf, Untitled attachment 248887.htm, EB Mortgage.docx,
                    Untitled attachment 248890.htm, Latest EquityBuild, Inc. as Borrower -
                     Collateral Agency and Servicing Agreement.pdf, Untitled attachment 248893.htm, Exhibit A Note.docx,
                    Untitled attachment 248896.htm, EB Note.docx, Untitled attachment 248899.htm, Exhibit A Mortgage.docx,
                    Untitled attachment 248902.htm


 Ezri,

 Please find attached our standard lender docs. Let me know if you have any question. Thank you.
 Tyler DeRoo
 C. 847.420.2095




                                                                                                                      Exhibit
                                                                                                                                 exhibitsticker.com




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                                     Exhibit A

    Lender Name:



    Lender Amount:



    Percentage of Ownership of Total Loan:



    Monthly Interest Payment Amount to Be Received:



    Lender Signature
     Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 206 of 370 PageID #:105589




Mail To:



                              [The Above Space For Recorder's Use Only]

                                               MORTGAGE

      THIS MORTGAGE ("Security Instrument") is given on _________, 20__. The mortgagor is
EquityBuild, Inc. ("Borrower").

This Security Instrument is given to the persons listed on Exhibit A to this Mortgage c/o EquityBuild
Finance, LLC whose address is 5068 West Plano Parkway, #300, Plano, TX 75093 ("Lender").

Borrower owes Lender the principal sum of ________________________________ and xx/100
Dollars (U.S. $xxx,xxx.xx). This debt is evidenced by Borrower's note dated the same date as this
Security Instrument, which provides for a final payment of the full debt, if not paid earlier, due and
payable _______________, 20__. This Security Instrument secures to Lender:
(a) the repayment of the debt evidenced by the Note, with interest, and all renewals, extension and
modifications; (b) the payment of all other sums, with interest advanced under paragraph 7 to protect
the security of this Security Instrument; and (c) the performance of Borrower's covenants and
agreements under this Security Instrument and the Note. For this purpose, Borrower does hereby
mortgage, grant and convey to Lender the following described property located in COOK County,
Illinois:


PIN: xx-xx-xxx-xxx-0000


which has the address of 123 S Oak St. Chicago, IL 60600 ("Property Address");

       TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, rights, appurtenances, rents, royalties, mineral, oil and gas rights and profits, water rights
and stock and all fixtures now or hereafter a part of the property. All replacements and additions shall
also be covered by this Security Instrument. All of the foregoing is referred to in this Security
Instrument as the "Property."
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         BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed
and has the right to mortgage, grant and convey the Property and that the Property is
unencumbered, except for encumbrances of record. Borrower warrants and will defend generally the
title to the Property against all claims and demands, subject to any encumbrances of record.

       THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-
uniform covenants with limited variations by jurisdiction to constitute a uniform security instrument
covering real property.

UNIFORM COVENANT. Borrower and Lender covenant and agree as follows:

       1. Payment of Principal and Interest; Prepayment and Late Charges. Borrower shall promptly
pay when due the principal of and interest on the debt evidenced by the Note and any prepayment
and late charges due under the Note.

      2. Hazard Insurance. Borrower shall keep the improvements now existing or hereafter erected
on the Property insured against loss by fire, hazards included within the term "extended coverage"
and any other hazards for which Lender requires insurance. This insurance shall be maintained in the
amounts and for the periods that Lender requires. The insurance carrier providing the insurance shall
be chosen by Borrower subject to Lender's approval which shall not be unreasonably withheld.

      All insurance policies and renewals shall be acceptable to Lender and shall include a standard
mortgage clause. Lender shall have the right to hold the policies and renewals. If Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. In the
event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borrower.

        Unless Lender and Borrower otherwise agree in writing, insurance proceeds shall be applied
to restoration and repair of the Property damaged, if the restoration or repair is economically feasible
and Lender's security is not lessened. If the restoration or repair is not economically feasible or
Lender's security would be lessened, the insurance proceeds shall be applied to the sums secured
by this Security Instrument, whether or not then due, with any excess paid to Borrower. If Borrower
abandons the Property, or does not answer within 30 days a notice from Lender that the insurance
carrier has offered to settle a claim, then Lender may collect the insurance proceeds. Lender may
use the proceeds to repair or restore the Property or to pay sums secured by this Security
Instrument, whether or not then due. The 30-day period will begin when the notice is given.

       Unless Lender and Borrower otherwise agree in writing, any application of proceeds to
principal shall not extend or postpone the due date of the monthly payments referred to in
paragraphs 1 and 2 or change the amount of the payments. If under paragraph 19 the property is
acquired by Lender, Borrower's rights to any insurance policies and proceeds resulting from damage
to the Property prior to the acquisition shall pass to Lender to the extent of sums secured by this
Security Instrument immediately prior to the acquisition.

       3. Preservation and Maintenance of Property; Leaseholds. Borrower shall not destroy, damage
or substantially change the Property, allow the Property to deteriorate or commit waste. If this
Security Instrument is on a leasehold, Borrower shall comply with the provisions of the lease, and if
Borrower acquires fee title to the Property, the leasehold and fee title shall not merge unless Lender
agrees to the merger in writing.
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        4. Protection of Lender's Rights in the Property; Mortgage Insurance. If Borrower fails to
perform the covenants and agreements contained in this Security Instrument, or there is a legal
proceeding that may significantly affect Lender's rights in the Property (such as a proceeding in
bankruptcy, probate, for condemnation or to enforce laws or regulations), then Lender may do and
pay for whatever is necessary to protect the value of the Property and Lender's rights in the Property.
Lender's actions may include paying any sums secured by a lien which has priority over this Security
Instrument, appearing in court, paying reasonable attorneys' fees, and entering on the Property to
make repairs. Although Lender may take action under this paragraph 4, Lender does not have to do
so.

        5. Successor and Assigns Bound; Joint and Several Liability; Co-signers. The covenants and
agreements of this Security Interest shall bind and benefit the successors and assigns of Lender and
Borrower, subject to the provisions of paragraph 9. Borrower's covenants and agreements shall be
joint and several. Any Borrower who co-signs this Security Instrument but does not execute the Note:
(a) is co-signing this Security Instrument only to mortgage, grant and convey the Borrower's interest
in the Property under the terms of this Security Instrument; (b) is not personally obligated to pay the
sums secured by this Security Instrument; and (c) agrees that Lender and any other Borrower may
agree to extend, modify, forebear or make any accommodations with regard to the terms of this
Security Instrument or the Note without the Borrower's consent.

       6. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by
delivering it or by mailing it by first class mail unless applicable law requires use of another method.
The notice shall be directed to the Property Address or any other address Borrower designates by
notice to Lender. Any notice to Lender shall be given by first class mail to Lender's address stated
herein or any other address Lender designates by notice to Borrower. Any notice provided for in this
Security Instrument shall be deemed to have been given to Borrower or Lender when given as
provided in this paragraph.

        7. Governing Law; Severability. This Security Instrument shall be governed by federal law and
the law of jurisdiction in which the Property is located. In the event that any provision or clause of this
Security Instrument or Note conflicts with applicable law, such conflict shall not affect other provisions
of this Security Instrument or the Note which can be given effect without the conflicting provision. To
this end the provisions of this Security Instrument and the Note are declared to be severable.

       8. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this
Security Instrument.

       9. Transfer of the Property or a beneficial Interest in Borrower. If all or any part of the Property
or any interest in it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred
and Borrower is not a natural person) without Lender's prior written consent, Lender may, at its
option, require immediate payment in full of all sums secured by this Security Instrument. However,
this option shall not be exercised by Lender if exercise is prohibited by federal law as of the date of
this Security Instrument.

       If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shall provide a period of not less than 30 days from the date the notice is delivered or mailed within
which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.
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       NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

       10. Release. Upon payment of all sums secured by this Security Instrument, Lender shall
release this Security Instrument without charge to Borrower. Borrower shall pay any recordation
costs.

       BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
this Security Instrument and in any rider(s) executed by Borrower and recorded with it.

Signed, sealed and delivered in the presence of:


                                                                                      (SEAL)
                                                 EquityBuild, Inc., BORROWER




                            [Space Below This Line For Acknowledgement]

STATE OF FLORIDA, LEE County ss:

       I hereby certify that on this day, before me, an officer duly authorized in the state aforesaid
and in the county aforesaid to take acknowledgements, personally appeared EquityBuild, Inc., to me
known to be the person described in and who executed the foregoing instrument and acknowledged
that he/she executed the same for the purpose therein expressed.

      WITNESS my hand and official seal in the county and state aforesaid this ____ day of
____________, 20___.

My Commission expires:

     {Seal}

  Notary Public
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                                       Exhibit A


   Lender Name               Principal Amount         Percentage of Loan
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                      LENDER                             BORROWER
           The persons listed on                        EQUITYBUILD, INC.
     D      Exhibit A to the Note                   1083 N COLLIER BLVD. #132                  COMMERCIAL FLAT
     C/O EQUITYBUILD FINANCE, LLC                    MARCO ISLAND, FL 34145
       5068 WEST PLANO PKWY #300
             PLANO, TX 75093
                                                                                               RATE PROMISSORY
                                                                                                                   NOTE
                                                                                                                    Illinois




        Interest Rate                  Principal      Funding Date           Maturity Date           Loan Number
             xx%                      $xxx,xxx.xx      xx/xx/20xx             xx/xx/20xx                 N/A
         For xx Months




    THIS LOAN IS PAYABLE IN FULL ON OR BEFORE THE “MATURITY DATE” LISTED HEREIN. YOU MUST REPAY
    THE ENTIRE PRINCIPAL BALANCE OF THE LOAN AND ANY UNPAID INTEREST, AND FEES AND COSTS, THEN
    DUE TO THE LENDER. LENDER IS UNDER NO OBLIGATION TO REFINANCE, EXTEND OR MODIFY THE LOAN
    AT THAT TIME. YOU WILL, THEREFORE, BE REQUIRED TO MAKE PAYMENT OUT OF OTHER ASSETS THAT
    YOU MAY OWN, OR YOU WILL HAVE TO FIND A LENDER (WHICH MAY OR MAY NOT BE THE LENDER YOU
    HAVE THIS LOAN WITH), WILLING TO LEND YOU THE MONEY. IF YOU REFINANCE THIS LOAN AT MATURITY,
    YOU MAY HAVE TO PAY SOME OR ALL OF THE CLOSING COSTS NORMALLY ASSOCIATED WITH A NEW
    LOAN EVEN IF YOU OBTAIN REFINANCING FROM THE SAME LENDER. FOR VALUE RECEIVED, the
    undersigned Borrower(s), Maker(s) and/or Guarantor(s) (hereinafter the “Borrower”) promises to pay The PERSONS
    LISTED ON Exhibit A to this Note C/O EquityBuild Finance, LLC (hereinafter collectively referred to as the “Holder”
    or “Lender”), at 5068 West Plano Pkwy. #300 Plano, TX 75093, the principal sum of
    _______________________________________ and 00/100 DOLLARS ($xxx,xxx.xx), together with interest from the
    above date at the interest rate of _____________ PERCENT (xx.x%) per annum on the unpaid principal balance until
    paid. The principal of this Note, plus accrued interest at the rate aforesaid, shall be due and payable in _______ (xx)
    installments as follows:


                a) _______ (xx) equal and consecutive interest only payments in the amount of
    _______________________________ and xx/100 DOLLARS ($x,xxx.xx), beginning on or before ____________,
    20__; and

                  b) __________________ (xx) equal and consecutive interest only payments in the amount of
    _______________________________________________ and xx/100 DOLLARS ($xx,xxx.xx), beginning on or
    before _____________________, 20__ and continuing each and every month thereafter; and

                    c) One (1) final balloon payment on or before _________________, 20__, at which time the entire
    principal balance, together with accrued but unpaid interest thereon, and any costs and expenses, shall be due and
                                                              1

    IL: Commercial Flat Rate Promissory Note                                                    Borrower’s Initials: _______
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    payable.

            Anything in this Note contrary notwithstanding, the entire unpaid balance of the principal sum and all unpaid
    interest accrued thereon shall, unless sooner paid, be and become due and payable on __________________, 20__
    (“Maturity Date”).

    1.       Application of Payments. All payments on this Note shall be made in lawful money of the United States of
    America and shall be applied first to any late charges due hereunder, second to the payment of accrued but unpaid
    interest and the remainder to the reduction of principal. The Borrower shall make all payments when due, without set-
    offs of any nature.

             2.      Late Charge/Dishonored Check. There shall be a grace period of five (5) days for any payment due
    under this Note. The Borrower shall pay a late charge of 5% of the monthly payment amount, or $50.00, whichever is
    greater, if such payment is received by Lender after the grace period. If the Maturity Date of the Note has expired the
    late fee will be at the rate of 1.5% per month plus the face amount of the Note.
    In the event any check given by Borrower to Lender as a payment on this Note is dishonored, or in the event there are
    insufficient funds in Borrower’s designated account to cover any preauthorized monthly debit from Borrower’s checking
    account, then, without limiting any other charges or remedies, Borrower shall pay to Lender a processing fee of $50.00
    (but not more than the maximum amount allowed by law) for each such event.

            3.      Security. To secure the payment and performance of obligations incurred under this Note, this Note
    shall be secured by and subject to the terms of a Mortgage of even date herewith from the Borrower which encumbers
    real property and improvements located at

    PROPERTY ADDRESS, and the maturity hereof is subject to acceleration as therein set forth. Both this Note and the
    Mortgage are given in consideration of a loan of even date herewith in the amount of the principal sum by the Lender to
    the Borrower.

    In addition to the property described above, Borrower grants Lender a security interest in all of Borrower’s right, title
    and interest in all monies and instruments of Borrower that are now or in the future in Lender’s custody or control.

           4.      Events of Default. An Event of Default will occur under this Note in the event that Borrower any
    guarantor or any other third party pledging collateral to secure this Note:

                       a. Fails to make any payment of principal and/or interest or any other sum due hereunder when the
                            same is due pursuant to the terms of this Note;
                       b. If Borrower, guarantor or such third party:
                               i.      Applies for or consents to the appointment of a receiver, trustee or liquidator of
                                       Borrower, guarantor or such third party or of all or a substantial part of its assets;
                               ii.     Files a voluntary petition in bankruptcy, whether by the Federal Bankruptcy Act or any
                                       similar State stature, or admits in writing its inability to pay its debts as they come due;
                               iii.    Makes an assignment for the benefit of creditors;
                               iv.     Files a petition or an answer seeking a reorganization or an arrangement with creditors
                                       or seeking to take advantage of any insolvency law;
                               v.      Performs any other act of bankruptcy; or
                               vi.     Files an answer admitting the material allegations of a petition filed against Borrower,
                                       guarantor or such third party in any bankruptcy, reorganization or insolvency proceeding;
                                       or
                       c. Permits the entry of any order, judgment or decree by any court of competent jurisdiction
                       adjudicating Borrower, guarantor or such third party a bankrupt or an insolvent, or approving a receiver,
                       trustee or liquidator of Borrower, guarantor or such third party or of all or a substantial part of its assets;
                       or
                       d. There otherwise commences with respect to Borrower, guarantor or such third party or any of its
                       assets any proceeding under any bankruptcy, reorganization, arrangement, insolvency, readjustment,
                       receivership or like law or statute, and if the order, judgment, decree or proceeding continues unstayed
                       for any period of 60 consecutive days, or continues in effect for more than 10 days after any stay
                                                                     2

    IL: Commercial Flat Rate Promissory Note                                                              Borrower’s Initials: _______
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                       thereof.
                       e.       Fails to perform or violates any obligations or covenants under the terms of this Note or any
                       Mortgages or any additional loan documents or any other present or future written agreements
                       regarding this Note or any other indebtedness or obligations between Borrower, guarantor or such third
                       party and Lender;
                       f.       Defaults under the terms of any note, mortgage, security instrument, or any other loan
                       documents or written agreements for any other loans secured by the property representing the
                       collateral for this Note;
                       g.       Permits the entry of any judgment or lien, or the issuance of any execution, levy, attachment or
                       garnishment proceedings against Borrower, guarantor or such third party;
                       h.       Sells or otherwise conveys any property which constitutes security or collateral for the payment
                       of this Note without the prior written consent of the Lender and/or the destruction, loss or damage to
                       such collateral in any material respect and/or the seizure, condemnation or confiscation of the
                       collateral;
                       i.       Provides or causes to be provided any false or misleading signature or representation to be
                       provided to Lender;
                       j.       Has a garnishment, judgment, tax levy, attachment or lien entered or served against Borrower,
                       any guarantor, or any third party pledging collateral to secure this Note or any of their property;
                       k.       Dies, becomes legally incompetent, is dissolved or terminated, or ceases to operate its
                       business;
                       l.       Has a majority of its outstanding voting securities sold, transferred or conveyed to any person or
                       entity other than any person or entity that has the majority ownership as of the date of the execution of
                       this Note;
                       m.       Causes Lender to deem itself insecure due to a significant decline in the value of any real or
                       personal property securing payment of this Note, or Lender, in good faith believes the prospect of
                       payment or performance is impaired;
                       n.       Fails to keep an insurance policy in place on the subject property being used as collateral for
                       this loan with Lender as the mortgagee and/or as the loss payee including its successor and/or assigns;
                       o.       Fails to keep property taxes current on property used as security for this Note.

            5.     Rights of Lender On Event of Default. In the Event of Default as set forth herein, or in the event of
    the breach of any covenant or obligation contained in the herein referred to Mortgage or Loan Documents on the part
    of the undersigned to be kept, observed or performed, the Lender, at its sole and absolute discretion, may exercise
    one or more of the following remedies without notice or demand (except as required by law):

                       a.      Declare the entire unpaid balance of principal of this Note, along with accrued and unpaid
                       interest thereon and all other charges, costs and expenses, provided for herein and in the Mortgage
                       immediately due and payable. Such acceleration shall be automatic and immediate in the Event of
                       Default is a filing under the Bankruptcy Code;
                       b.      Collect the outstanding obligations of Borrower with or without judicial process;
                       c.      Cease making advances under this Note or any other agreement between Borrower and
                       Lender;
                       d.      Take possession of any collateral in any manner permitted by law;
                       e.      require Borrower to deliver and make available to Lender any collateral at a place reasonably
                       convenient to Borrower and Lender;
                       f.      Sell, lease or otherwise dispose of any collateral and collect any deficiency balance with or
                       without resorting to legal process;
                       g.      Assume any and all mortgages/deeds of trust in existence at the time of default on all collateral
                       securing loans made to Borrower;
                       h.      Set-off Borrower’s obligations against any amounts due to Borrower including, but not limited to,
                       monies and instruments, maintained with Lender; and
                       i.      Exercise all other rights available to Lender under any other written agreement or applicable
                       law.

    At any time an Event of Default shall have occurred and be continuing and/or after maturity of the Loan, including
    maturity upon acceleration, the unpaid principal balance, all accrued and unpaid interest and all other amounts payable
                                                                   3

    IL: Commercial Flat Rate Promissory Note                                                          Borrower’s Initials: _______
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    under the Note shall bear interest at the “Default Rate” set forth in this Note. The unpaid principal balance shall
    continue to bear interest after the Maturity Date at the Default Rate set forth in this Note until and including the date on
    which it is paid in full. Any regularly scheduled monthly installment of interest that is received by Lender before the date
    it is due shall be deemed to have been received on the due date solely for the purpose of calculating interest due. Any
    accrued interest remaining past due for 30 days or more shall be added to and become part of the unpaid principal
    balance and shall bear interest at the rate or rates specified in this Note, and any reference herein to "accrued interest"
    shall refer to accrued interest which has not become part of the unpaid principal balance. Interest under this Note shall
    be computed on the basis of a 360-day year consisting of twelve 30-day months. Borrower shall make all payments of
    principal and interest under this Note without relief from valuation and appraisement laws.

    Lender’s remedies in this Section are in addition to any available at common law and nothing in this Section shall
    impair any right which the Holder has under this Note, or at law or in equity, to accelerate the debt on the occurrence of
    any other Event of Default, whether or not relating to this Note. Lender’s rights or remedies as provided in this Note
    shall be cumulative and concurrent and may be pursued singly, successively, or together against Borrower or any
    guarantor or third party (without first having to proceed against Borrower), at Lender’s sole and absolute discretion.
    Borrower shall pay to Lender on Lender’s demand the amount of all expenses incurred by Lender (a) in enforcing it’s
    rights under this Note, or (b) as the result of a default by Borrower under this Note, including but not limited to the cost
    of collecting any amount owed hereunder, and any reasonable attorney’s fees. The failure by Lender to exercise any of
    its options contained herein shall not constitute a waiver of the right to exercise such option in the event of any
    subsequent default.

             6.     Costs and Expenses. To the extent permitted by law, Borrower agrees to pay any and all reasonable
    fees and costs, including, but not limited to, fees and costs of attorneys and other agents (including without limitation
    paralegals, clerks and consultants), whether or not such attorney or agent is an employee of Lender, which are
    incurred by Lender in collecting any amount due or enforcing any right or remedy under this Note, whether or not suit is
    brought, including, but not limited to, all fees and costs incurred on appeal, in bankruptcy, and for post-judgment
    collection actions. Said collection fees shall be in the minimum amount of Fifteen Percent (15%) of the amount of the
    judgment as collected (or, if collected without judgment, a minimum fee of Fifteen Percent (15%) of the amount
    collected), which attorney’s fee shall not be diminished by any other fees, costs or damages, but in no event shall the
    attorney’s fees be less than $3,000.00.

           7.      Extensions. The Borrower shall remain liable for the payment of this Note, including interest,
    notwithstanding any extension or extensions of time of payment or any indulgence of any kind or nature that the
    Lender may grant or permit any subsequent owner of the encumbered property, whether with or without notice to the
    Borrower and the Borrower hereby expressly waives such notice.

          8.    Confessed Judgment. UPON ANY DEFAULT BY THE BORROWER AS SET FORTH IN THIS NOTE,
    AND TO THE EXTENT PERMITTED BY LAW, THE BORROWER HEREBY AUTHORIZES ANY ATTORNEY AT LAW
    TO APPEAR FOR THE BORROWER IN ANY COURT OF COMPETENT JURISDICTION AND WAIVE THE
    ISSUANCE AND SERVICE OF PROCESS AND CONFESS A JUDGMENT AGAINST THE BORROWER IN FAVOR
    OF THE LENDER FOR SUCH AMOUNTS AS MAY THEN APPEAR TO BE UNPAID HEREON TOGETHER WITH
    COSTS, EXPENSES AND ATTORNEY’S FEES IN THE MINIMUM AMOUNT OF FIFTEEN PERCENT (15%) OF THE
    AMOUNT DUE FOR COLLECTION (BUT IN NO EVENT SHALL SUCH FEES BE LESS THAN $3000.00), AND TO
    RELEASE ALL PROCEDURAL ERRORS AND WAIVE ALL RIGHTS OF APPEAL. IF THE CONFESSION OF
    JUDGMENT ABOVE PROVIDED FOR IS AUTHORIZED OR RECOGNIZED BY THE LAW OF THE JURISDICTION
    CONTROLLING BUT SUCH LAW REQUIRES SPECIAL FORMALITIES AND PROCEDURE, THEN THE SAID
    ATTORNEY IS EMPOWERED TO EXECUTE THE NECESSARY FORM AND COMPLY WITH SUCH SPECIAL
    PROCEDURES. THIS POWER OF CONFESSION OF JUDGMENT SHALL NOT BE EXHAUSTED BY ANY ONE OR
    MORE EXERCISES, AND THE POWER SHALL CONTINUE UNDIMINISHED AND MAY BE EXERCIED FROM TIME
    TO TIME AS OFTEN AS LENDER SHALL ELECT UNTIL ALL AMOUNTS PAYABLE TO LENDER UNDER THIS
    NOTE SHALL HAVE BEEN PAID IN FULL.

            9.       Forbearance. The Lender shall not by any act or omission to act be deemed to waive any of its rights
    or remedies hereunder unless such waiver is in writing and signed by the Lender and then only to the extent
    specifically set forth therein. A waiver on one occasion shall not be construed as continuing or as a bar to or waiver of
    such right or remedy on any other occasion. All remedies conferred upon the Lender by this Note or any other
                                                                 4

    IL: Commercial Flat Rate Promissory Note                                                        Borrower’s Initials: _______
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    instrument or agreement connected herewith or related hereto shall be cumulative and none is exclusive, and such
    remedies may be exercised concurrently or consecutively at the Lender’s option.

            10.     Modification and Waiver. Borrower and/or every person at any time liable for the payment of the debt
    evidenced hereby, waives the exercise of all exemption rights which it holds at law or in equity concerning to the debt
    evidenced by this Note whether under state constitution, homestead laws or otherwise. Borrower and any endorsers or
    guarantors hereof severally waive valuation and appraisement, presentment and demand for payment, notice of intent
    to accelerate maturity, notice of acceleration of maturity, protest or notice of protest and nonpayment, bringing of suit
    and diligence in taking any action to collect any sums owing hereunder or in proceeding against any of the rights and
    properties securing payment hereof, and trial by jury in any litigation arising out of, relating to, or connected with this
    Note or any instrument given as security hereof.

    From time to time, without affecting Borrower’s obligation to pay any sums due under this Note and perform Borrower’s
    covenants herein, without affecting the obligations of any endorser hereto or guarantor hereof, without giving notice to
    or obtaining the consent of Borrower or any endorser hereto or guarantor hereof, and without liability on the part of the
    Holder, Holder may, acting it its sole and absolute discretion, extend the Maturity Date or any other time for payment of
    interest hereon and/or principal hereof, reduce the payments hereunder, release anyone liable under this Note accept
    a renewal of this Note, modify the terms and time of payment of this Note, join in any extension or subordination or
    exercise any option or election hereunder, modify the rate of interest or period of amortization or principal due date of
    this Note, or exercise any option or election hereunder. No one or more such actions shall constitute a novation.

             11.       Voluntary and Involuntary Prepayments.

             (a)     A prepayment premium shall be payable in connection with any prepayment made under this Note as
    provided below:
                     (i)      Borrower may voluntarily prepay all of the unpaid principal balance of this Note on a Business
    Day designated as the date for such prepayment in a Notice from Borrower to Lender given at least 30 days prior to
    the date of such prepayment. Such prepayment shall be made by paying (A) the amount of principal being prepaid, (B)
    all accrued interest, (C) all other sums due Lender at the time of such prepayment, and (D) the prepayment premium
    calculated pursuant to Section 11(f) of this Note. For purposes of this Note, a "Business Day" means any day other
    than a Saturday, Sunday or any other day on which Lender is not open for business. For all purposes including the
    accrual of interest, but excluding the determination of the prepayment date under Section 11(f) of this Note, any
    prepayment received by Lender on any day other than the last calendar day of the month shall be deemed to have
    been received on the last calendar day of such month.
                     (ii)     Borrower may voluntarily prepay less than all of the unpaid principal balance of this Note
    (a "Partial Prepayment") at any time. Upon delivery of the Partial Prepayment, a prepayment premium calculated
    pursuant to Section 11(f) of this Note, based on the amount being prepaid, shall be due and payable to Lender upon
    demand.
                     (iii)    Upon Lender's exercise of any right of acceleration under this Note, Borrower shall pay to
    Lender, in addition to the entire unpaid principal balance of this Note outstanding at the time of the acceleration, (A) all
    accrued interest, (B) and all other sums due Lender, and (C) the prepayment premium calculated pursuant to Section
    11(f) of this Note, to the extent such prepayment premium does not exceed the maximum rate permitted by applicable
    law.
                     (iv)     Any application by Lender of any proceeds of collateral or other security to the repayment of
    any portion of the unpaid principal balance of this Note prior to the Maturity Date and in the absence of acceleration
    shall be deemed to be a partial prepayment by Borrower, requiring the payment to Lender by Borrower of a
    prepayment premium. The amount of any such partial prepayment shall be computed so as to provide to Lender a
    prepayment premium computed pursuant to Section 11(f) of this Note without Borrower having to pay out-of-pocket
    any additional amounts.
             (b)     Notwithstanding the provisions of Section 11(a), no prepayment premium shall be payable with respect
    to (A) any prepayment made after the expiration of the Prepayment Premium Period (as defined in Section 11(f) of this
    Note), or (B) any prepayment occurring as a result of the application of any insurance proceeds or condemnation
    award under the Security Instrument.
             (c)     Any permitted or required prepayment of less than the unpaid principal balance of this Note shall not
    extend or postpone the due date of any subsequent monthly installments or change the amount of such installments,
    unless Lender agrees otherwise in writing.
                                                                 5

    IL: Commercial Flat Rate Promissory Note                                                         Borrower’s Initials: _______
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            (d)      Borrower recognizes that any prepayment of the unpaid principal balance of this Note, whether
    voluntary or involuntary or resulting from a default by Borrower, will result in Lender's incurring loss, including
    reinvestment loss, additional expense and frustration or impairment of Lender's ability to meet its commitments to third
    parties. Borrower agrees to pay to Lender upon demand damages for the detriment caused by any prepayment, and
    agrees that it is extremely difficult and impractical to ascertain the extent of such damages. Borrower therefore
    acknowledges and agrees that the formula for calculating prepayment premiums set forth in Section 11(f) represents a
    reasonable estimate of the damages Lender will incur because of a prepayment.
            (e)      Borrower further acknowledges that the prepayment premium provisions of this Note are a material part
    of the consideration for the Loan, and acknowledges that the terms of this Note are in other respects more favorable to
    Borrower as a result of the Borrower's voluntary agreement to the prepayment premium provisions.
            (f)      Any prepayment premium payable under this Section 11 shall be computed as follows:
                     (i)    If the prepayment is made between the date of the initial funding of the loan evidenced by this
    Note and the last day of the month after the month of close (the "Prepayment Premium Period"), the prepayment
    premium shall be the interest at the Note rate herein that would be earned on full loan amount for the balance of the
    Prepayment Premium Period.
                     (ii)   If the prepayment is made after the expiration of the Prepayment Premium Period, there shall
    be no prepayment premium due.

              12.     Default Rate. So long as (a) any monthly installment under this Note remains past due for thirty (30)
    days or more or (b) any other Event of Default has occurred and is continuing, interest under this Note shall accrue on
    the unpaid principal balance from the earlier of the due date of the first unpaid monthly installment or the occurrence of
    such other Event of Default, as applicable, at a rate (the "Default Rate") equal to the lesser of seven (7) percentage
    points above the rate stated in the first paragraph of this Note or the maximum interest rate which may be collected
    from Borrower under applicable law. If the unpaid principal balance and all accrued interest are not paid in full on the
    Maturity Date, the unpaid principal balance and all accrued interest shall bear interest from the Maturity Date at the
    Default Rate. Borrower acknowledges that (a) its failure to make timely payments will cause Lender to incur additional
    expenses in servicing and processing the Loan, (b) during the time that any monthly installment under this Note is
    delinquent for thirty (30) days or more, Lender will incur additional costs and expenses arising from its loss of the use
    of the money due and from the adverse impact on Lender’s ability to meet its other obligations and to take advantage
    of other investment opportunities; and (c) it is extremely difficult and impractical to determine those additional costs and
    expenses. Borrower also acknowledges that, during the time that any monthly installment under this Note is delinquent
    for thirty (30) days or more or any other Event of Default has occurred and is continuing, Lender’s risk of nonpayment
    of this Note will be materially increased and Lender is entitled to be compensated for such increased risk. Borrower
    agrees that the increase in the rate of interest payable under this Note to the Default Rate represents a fair and
    reasonable estimate, taking into account all circumstances existing on the date of this Note, of the additional costs and
    expenses Lender will incur by reason of the Borrower’s delinquent payment and the additional compensation Lender is
    entitled to receive for the increased risks of nonpayment associated with a delinquent loan. During any period that the
    Default Rate is in effect the additional interest accruing over and above the rate stated in the first paragraph of this
    Note shall be immediately due and payable in addition to the regularly scheduled principal and interest payments.
    Lender shall impose the Default Rate without any notice requirement to Borrower, guarantor or any third party pledging
    collateral as security for this Note.

            13.      Loan Charges/Maximum Rate Permitted By Law. Neither this Note nor any of the other Loan
    Documents shall be construed to create a contract for the use, forbearance or detention of money requiring payment of
    interest at a rate greater than the maximum interest rate permitted to be charged under applicable law. If any
    applicable law limiting the amount of interest or other charges permitted to be collected from Borrower in connection
    with the Loan is interpreted so that any interest or other charge provided for in any Loan Document, whether
    considered separately or together with other charges provided for in any other Loan Document, violates that law, and
    Borrower is entitled to the benefit of that law, that interest or charge is hereby reduced to the extent necessary to
    eliminate that violation. The amounts, if any, previously paid to Lender in excess of the permitted amounts shall be
    applied by Lender to reduce the unpaid principal balance of this Note. For the purpose of determining whether any
    applicable law limiting the amount of interest or other charges permitted to be collected from Borrower has been
    violated, all Indebtedness that constitutes interest, as well as all other charges made in connection with the
    Indebtedness that constitute interest, shall be deemed to be allocated and spread ratably over the stated term of the
    Note. Unless otherwise required by applicable law, such allocation and spreading shall be effected in such a manner
    that the rate of interest so computed is uniform throughout the stated term of the Note. If Lender reasonably
                                                                 6

    IL: Commercial Flat Rate Promissory Note                                                        Borrower’s Initials: _______
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    determines that the interest rate (together with all other charges or payments that may be deemed interest) stipulated
    under this Note is or may be usurious or otherwise limited by law, the unpaid balance of this Note, with accrued interest
    at the highest rate permitted to be charged by stipulation in writing between Lender and Borrower, at the option of
    Lender, shall immediately become due and payable.

          14.   Waiver of Jury Trial. THE BORROWER WAIVES TRIAL BY JURY IN ANY ACTION OR
    PROCEEDING ARISING OUT OF, OR IN ANY WAY PERTAINING TO, THIS NOTE OR ANY DEED OF
    TRUST/MORTGAGE ARISING FROM THIS NOTE. THIS WAIVER CONSTITUTES A WAIVER OF TRIAL BY JURY
    OF ALL CLAIMS AGAINST ALL PARTIES TO SUCH ACTIONS OR PROCEEDINGS. THIS WAIVER IS KNOWINGLY,
    WILLINGLY AND VOLUNTARILY MADE BY THE BORROWER, AND THE BORROWER HEREBY REPRESENTS
    THAT NO REPRESENTATIONS OF FACT OR OPINION HAVE BEEN MADE BY ANY INDIVIDUAL TO INDUCE THIS
    WAIVER OF TRIAL BY JURY OR TO IN ANY WAY MODIFY OR NULLIFY ITS EFFECT.

           15.     Notices. Any Notice or other communication required, permitted or desirable under the terms of this
    Note shall be sufficiently given if sent to each party as follows:

                       Lender:            The persons listed on Exhibit A to this Note
                                          C/O EquityBuild Finance, LLC
                                          5068 West Plano Pkwy, #300
                                          Plano, Texas 75093
                                          Fax: 239-244-8666
                                          Email: shaun.d.cohen@gmail.com

                       Borrower:          EquityBuild, Inc.
                                          1083 N Collier Blvd. #132
                                           Marco Island, FL 34145
                                          Fax: 202-204-8423
                                          Email: jerry@equitybuild.com


               Any notice, demand, consent, approval, request or other communication or document to be given hereunder to
    a party hereto shall be (a) in writing, and (d) deemed to have been given (i) on the 3rd business day after being sent as
    certified or registered mail in the United States mails, postage prepaid, return receipt requested, or (ii) on the next
    business day after being deposited (with instructions to deliver it on that business day) with a reputable overnight
    courier service, or (iii) (if the party’s receipt thereof is acknowledged in writing) on being sent by telefax or another
    means of immediate electronic communication, in each case to the party’s address set forth above or any other
    address in the United States of America which it designates from time-to-time by notice to each other party hereto, or
    (iv) (if the party’s receipt thereof is acknowledged in writing) on being given by hand or other actual delivery to the
    party.

            16.     Entire Agreement/Severability. The terms and conditions of this Note together with the terms and
    conditions of the Mortgages which are incorporated herein by reference as if set forth fully herein contain the entire
    understanding between the Borrower and Lender with respect the indebtedness evidenced hereby. Such
    understanding may not be modified, amended or terminated except in a written document duly executed by Borrower
    and Lender. In the event that any one or more of the provisions set forth in this Note or any accompanying Arbitration
    Agreement is determined by law to be invalid, illegal or unenforceable, the validity, legality, and enforceability of the
    remaining provisions shall not in any way be affected or impaired hereby, and each provision in this Note shall be
    construed liberally in favor of Lender to the fullest extent of the law.

            17.    Joint and Several Liability/Credit Reporting. The liability of the undersigned, as well as any
    endorsers and/or guarantor(s), shall be both joint and several. This Note shall be binding upon the heirs, successors
    and assigns of Borrower and Lender. Information concerning this Note may be reported to credit reporting agencies
    and will be made available when requested by proper legal process.

            18.       Governing Law. This Note is delivered and made in, and shall be construed pursuant to the laws of the
    State of Illinois Unless applicable law provides otherwise, Borrower consents to the jurisdiction and venue of any court
                                                                      7

    IL: Commercial Flat Rate Promissory Note                                                       Borrower’s Initials: _______
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    of competent jurisdiction located in Cook County, Illinois.

             19.       Construction. As used herein, Person means a natural person, trustee, corporation, partnership,
    limited liability company or other legal entity, and all references made (a) in the neuter, masculine or feminine gender
    shall be deemed made in all genders, (b) in the singular or plural number shall also be deemed made in the plural or
    singular number, and (c) to any Section, subsection, paragraph or subparagraph shall, unless therein expressly
    indicated to the contrary, be deemed made to that part of the Note. The headings of those parts are provided only for
    convenience of reference, and shall not be considered in construing their contents. Each document referred to herein
    as being attached hereto as an exhibit or otherwise designated herein as an exhibit hereto shall be a part hereof.

            20.     Time of Essence. Time shall be of the essence of this Note, but (other than as to payment of principal
    and/or interest) if the last day for a Person to exercise a right or perform a duty hereunder is a Saturday, Sunday or
    statutory holiday, it shall have until the next day other than such a day to do so.
            21.     Assignment. Borrower agrees not to assign any of Borrower’s rights, remedies or obligations
    described in this Note without the prior written consent of Lender, which consent may be withheld by Lender in its sole
    discretion. Borrower agrees that Lender is entitled to assign some or all of its rights and remedies described in this
    Note without notice to or the prior consent of Borrower.

           22.     Commercial Purpose. It is expressly stipulated, warranted and agreed that the loan evidenced by this
    Note and any Loan Documents is a “commercial loan” under applicable State or Federal law, and all proceeds shall be
    used for business, commercial or investment purposes and expressly not for personal, family or household purposes.

             23.       Extension. Intentionally omitted.

             24.    Arbitration. If arbitration has been agreed to, Borrower(s) and Lender have entered into a separate
    Arbitration Agreement on this date, the terms of which are incorporated herein and made a part hereof by reference.

             25.       Contingency Funds. Intentionally omitted.

             26.       Demand Feature. Intentionally omitted.

             27.      Consent To Relief From Automatic Stay. Borrower hereby agrees that if any of them shall (i) file with
    any bankruptcy court of competent jurisdiction or be the subject of any petition under Title 11 of the U.S. Code, as
    amended; (ii) be the subject of any order for relief issued under such Title 11 of the U.S. Code, as amended; (iii) file or
    be the subject of any petition seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution,
    or similar relief under any present or future federal or state act or law relating to bankruptcy, insolvency, or other relief
    for debtors; (iv) seek, consent to or acquiesce in the appointment of any trustee, receiver, conservator or liquidator; (v)
    be the subject of any order, judgment or decree entered by any court of competent jurisdiction approving a petition filed
    against Borrower for any reorganization, arrangement, composition, readjustment, liquidation, dissolution, or similar
    relief under any present or future federal or state act or law relating to bankruptcy, insolvency, or relief for debtors,
    Lender shall thereupon be entitled to relief from any automatic stay imposed by Section 362 of Title 11 of the U.S.
    Code, as amended, or from any other stay or suspension of remedies imposed in any other manner with respect to the
    exercise of the rights and remedies otherwise available to Lender under the Loan Documents.




    _______________________________________________
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    IL: Commercial Flat Rate Promissory Note                                                         Borrower’s Initials: _______
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    THE PERSONS SIGNING BELOW ACKNOWLEDGE THAT THEY HAVE BEEN GIVEN AMPLE OPPORTUNITY TO
    READ THIS AGREEMENT AND SEEK INDEPENDENT LEGAL COUNSEL AND ACKNOWLEDGE THEY HAVE
    COMPLETELY READ AND UNDERSTAND AND AGREE TO THE TERMS AND CONDITIONS OF THIS NOTE AND
    THE ACCOMPANYING ARBITRATION AGREEMENT (IF APPLICABLE), AND FURTHER ACKNOWLEDGE
    RECEIPT OF AN EXACT COPY OF THIS NOTE AND THE ARBITRATION AGREEMENT.

    DATED: ____________________________



                                                       BORROWER(S): EQUITYBUILD, INC.

                                                       ________________________________________(SEAL)
                                                       JERRY COHEN, President


    STATE OF ______________________, COUNTY OF ________________________:                   ss:

           On this _____ day of _______________________, 20____, before me, a notary public, personally appeared
    _______________ ___________________________________________________________________________, to
    me known (or proved to me on the basis of satisfactory evidence) to be the person(s) who executed the foregoing
    instrument and acknowledged the same for the purpose therein contained and in my presence signed and sealed the
    same.
                                                                 ______________________________________
                                                                  NOTARY PUBLIC

    My Comm. Expires:_____________




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    IL: Commercial Flat Rate Promissory Note                                               Borrower’s Initials: _______
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                                                    Exhibit A




Lender Name                                                     Principal Amount    Percentage of Loan




                                                      10

         IL: Commercial Flat Rate Promissory Note                                  Borrower’s Initials: _______
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              COLLATERAL AGENCY AND SERVICING AGREEMENT

                                       among

                          EQUITYBUILD FINANCE, LLC,

                        as Collateral Agent and Loan Servicer,

                                         and

                     EACH OF THE LENDERS PARTY HERETO

                            DATED AS OF _____________
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               COLLATERAL AGENCY AND SERVICING AGREEMENT

         This COLLATERAL AGENCY AND SERVICING AGREEMENT (as amended,
    supplemented or otherwise modified from time to time, this “Agreement ”) is made as of
    _____________, by and among (i) EquityBuild Finance, LLC, a Florida limited liability
    Borrower (in its individual capacity, “EBF”, and in its capacity as collateral agent for the
    Lenders (as defined below), and in its capacity as loan servicer for the Lenders, the
    “Collateral Agent” or the “Servicer”), and (ii) each of the Lenders party hereto (together
    with their respective successors and assigns as beneficiaries of the Note (as defined
    below), the “Lenders”), and is acknowledged, consented and agreed to by EquityBuild,
    Inc. (the “Borrower”).

                                           RECITALS

         A. Reference is made to that certain Note, dated _____________ (as the same from
    time to time hereafter may be amended, restated, supplemented or otherwise modified,
    the “Note”) by the Borrower in favor of the Lenders, pursuant to which, subject to the
    terms and conditions set forth therein, the Lenders shall make individual investment loans
    (each an “Investment”) to the Borrower as a collective secured loan (the “Loan”).

         B. The Lenders have agreed to make the Loan to the Borrower, but only upon the
    condition, among others, that the Borrower grant to the Collateral Agent, for the benefit
    of the Lenders, as security for the Borrower’s obligations to the Lenders and the
    Collateral Agent under or in respect of the Note and the Mortgage (as defined below), a
    perfected lien on, and security interest in, the Collateral (as defined below).

          C. The Lenders desire that EBF act as the collateral agent for and on behalf of all of
    the Lenders regarding the Collateral, all as more fully provided herein; and the Collateral
    Agent and the Lenders have entered into this Agreement to, among other things, further
    define the rights, duties, authority and responsibilities of the Collateral Agent and the
    relationship among the Lenders regarding their pari passu interests in the Collateral.

         D. The Lenders also desire to retain EBF as the loan servicer to act as their agent to
    employ commercially reasonable and prudent practices to collect all scheduled payments
    on the Loan, and to protect to the best of the Servicer’s ability, the security for the Loan.

                                          AGREEMENT

        NOW, THEREFORE, in consideration of the foregoing premises and for other
    good and valuable consideration, the receipt and sufficiency of which are hereby
    acknowledged, EBF and the Lenders agree as follows:




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    1.   DEFINED TERMS.

         As used in this Agreement, and unless the context requires a different meaning, the
    following terms have the respective meanings indicated below, all such definitions to be
    equally applicable to the singular and plural forms of the terms defined.

         Actionable Default – means the existence and continuance of any Event of Default
    (as defined in the Note) beyond any grace period in respect thereof provided in the Note
    or the acceleration of the maturity of the Note.

         Affiliate – means, with respect to any specified Person, any other Person that
    directly or indirectly, through one or more intermediaries, has control of, is controlled by,
    or is under common control with, such specified Person. For these purposes, “control”
    means the possession, directly or indirectly, of the power to direct or cause the direction
    of the management of any Person, whether through the ownership of voting securities, by
    contract or otherwise.

         Agent Professionals – means attorneys, legal counsel, accountants, appraisers,
    business valuation experts, environmental engineers, turnaround consultants, or other
    professionals or experts at any time retained by EBF in the discharge of its duties
    hereunder or under any of the Collateral Documents.

         Agent-Related Persons – means EBF, in its capacity as Collateral Agent or Servicer,
    and any successor collateral agent or loan servicer, and any co-agents or separate agents
    appointed pursuant to Section 5, together with their respective Affiliates, and the officers,
    directors, employees, representatives, agents and Agent Professionals of such Persons
    and Affiliates.

         Agreement – has the meaning specified for such term in the Preamble hereto.

       Business Day – means a day (i) other than Saturday or Sunday and (ii) on which
    commercial banks are open for business in New York, New York.

         Collateral – has the meaning specified for such term in Mortgage.

         Collateral Agent – has the meaning specified for such term in the Preamble hereto.

         Collateral Documents – means the Mortgage and any other document now or
    hereafter evidencing a security interest, lien or other encumbrance granted to secure the
    obligations payable under the Note or any guarantee thereof.

        Enforcement Notice – means a written notice given by the Required Lenders to the
    Collateral Agent stating that an Actionable Default exists.

         EBF– has the meaning specified for such term in the Preamble hereto.

         Lenders – has the meaning specified for such term in the Preamble hereto.

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         Liens – means any pledges, liens, claims, encumbrances or security interests.

         Mortgage – has the meaning specified for such term in Note.

         Obligations – means and includes all present and future indebtedness, obligations
    and liabilities of every kind and nature of the Borrower from time to time owed to any
    Lender under the Note arising from, evidenced by or relating to the Note or the Mortgage.

         Note – has the meaning specified for such term in Recital A hereto.

        Person – means any individual, partnership, corporation, limited liability Borrower,
    unincorporated organization or association, trust or other entity.

         Required Lenders – means the Lenders acting by a majority of principal advanced
    by the Lenders under the Note.

         Servicer – has the meaning specified in the Preamble hereto.

        Total Investments – means, with respect to Investments that remain outstanding in
    whole or in part, the total original amount of Investments a Lender has loaned to the
    Borrower; provided that for purposes of Section 10(e) hereof, such amounts shall be
    rounded down to the nearest whole $25,000 increment. By way of example only, if actual
    Total Investments equaled $176,000, for purposes of Section 10(e), such Total
    Investments would equal $175,000.

    2.   APPOINTMENTS; IRREVOCABLE DELEGATION OF AUTHORITY.

         (a) Appointment as Collateral Agent and Loan Servicer.

         The Lenders hereby appoint and designate EBF as collateral agent on their behalf
    hereunder and under the Mortgage. The Lenders hereby also appoint and designate EBF
    as the loan servicer with respect to the Loan. EBF hereby accepts such appointments on
    the terms and conditions set forth herein and acknowledges that it holds the Collateral
    and acts under the Mortgage as agent for and on behalf of the Lenders. The Lenders
    hereby authorize and direct the Collateral Agent to (a) enter into the Mortgage and the
    Note for and on behalf of and for the benefit of the Lenders in accordance with the terms
    hereof and thereof, (b) exercise such rights and powers under this Agreement, the Note or
    the Mortgage as the case may be, as are specifically granted or delegated to the Collateral
    Agent by the terms hereof and thereof, together with such other rights and powers as are
    reasonably incidental thereto or as are customarily and typically exercised by agents
    performing duties similar to the duties of the Collateral Agent hereunder and under the
    Collateral Documents, subject, however, to any express limitations set forth herein or in
    the Mortgage, and (c) perform the obligations of the Collateral Agent thereunder. The
    Lenders hereby agree to be bound by the provisions of the Mortgage and the Note. The
    duties of the Collateral Agent and the Servicer shall be deemed ministerial and
    administrative in nature, and neither the Collateral Agent nor the Servicer shall have, by
    reason of this Agreement or either of the Mortgage or the Note, a fiduciary relationship
    with any Lender and/or any Affiliate thereof.
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         (b) Irrevocable Delegation of Authority.

        Each Lender does hereby irrevocably delegate to the Collateral Agent all of each
    such Lender’s rights and powers under the Note and the Mortgage and agrees for the
    benefit of the Collateral Agent and the other Lenders not to exercise any right or power of
    such Lender under the Note or the Mortgage.

    3.   LIMITATIONS ON DUTIES AND ACTIONS OF COLLATERAL AGENT AND
         THE SERVICER.

        Neither the Collateral Agent nor the Servicer shall have any duties or responsibilities
    except those expressly set forth in this Agreement and the Mortgage. Neither the
    Collateral Agent nor the Servicer shall be liable for any action taken or omitted by it, or
    any action suffered by it to be taken or omitted, excepting only its own gross negligence
    or willful misconduct, as finally determined by a court of competent jurisdiction. IN
    THE ABSENCE OF WRITTEN INSTRUCTIONS FROM THE REQUIRED LENDERS,
    NEITHER THE COLLATERAL AGENT NOR THE SERVICER SHALL FORECLOSE
    UPON ANY LIEN WITH RESPECT TO ANY OF THE COLLATERAL OR TAKE
    ANY OTHER ACTION WITH RESPECT TO THE COLLATERAL OR ANY PART
    THEREOF.

    4.   RECOURSE THROUGH                  COLLATERAL           AGENT;        SHARING        OF
         COLLATERAL.

         (a) Recourse Through Collateral Agent.

         Each of the Lenders acknowledges and agrees that (i) it shall only have recourse to
    the Collateral through the Collateral Agent and that it shall have no independent recourse
    to the Collateral and (ii) the Collateral Agent shall have no obligation to, and shall not,
    take any action hereunder or under the Mortgage except upon written instructions from
    the Required Lenders in accordance with Section 6(a).

         (b) Sharing of Collateral.

         No Lender shall contest the validity, perfection, priority or enforceability of, or seek
    to avoid, any Lien securing any Obligation, and each party hereby agrees to cooperate, at
    no cost to the Collateral Agent, in the defense of any action contesting the validity,
    perfection, priority or enforceability of any such Lien. No Lender shall have the right to
    obtain any of the Collateral or the benefit of any Lien on any property of the Borrower
    solely in respect of Obligations owing to such Lender or any group of Lenders comprised
    of less than all the Lenders.

    5.   CO-AGENTS; COLLATERAL AGENT’S AND SERVICER’S USE OF
         PROFESSIONALS.

         (a) Co-Agents.

         Each of the Collateral Agent and the Servicer shall have power to appoint one or

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    more Persons to act as a co-agent or co-agents, jointly with the Collateral Agent and/or
    the Servicer, or to act as a separate agent or separate agents, with respect to all or any part
    of the Collateral or to enforce the Lender’s rights under the Note, and to vest in such
    Person or Persons, in such capacity, such rights, powers, duties and obligations of the
    Collateral Agent and/or the Servicer, with the consent of the Required Lenders (such
    consent not to be unreasonably withheld or delayed), in any case only as may be
    necessary or desirable for the purpose of meeting any legal requirements of any
    jurisdiction in which any part of the Collateral may at the time be located. Absent any
    specific agreement to the contrary, any co-agent or co-agents or separate agent or
    separate agents so appointed shall, to the extent applicable, have the rights, powers,
    obligations and duties of the Collateral Agent and/or the Servicer hereunder. Neither the
    Collateral Agent nor the Servicer shall be responsible for the negligence, default or
    misconduct of any such co-agent or separate agent selected by it with reasonable care nor
    for any fees or expenses of such co-agent or separate agent.

         (b) Agent Professionals.

         The Collateral Agent and the Servicer may employ one or more Agent Professionals
    to advise or assist it from time to time, but shall not be responsible for the negligence,
    default or misconduct of any such Agent Professionals selected by it with reasonable care.
    The Collateral Agent and the Servicer shall be entitled to rely on the advice and
    statements of Agent Professionals so selected. The Borrower shall pay reasonable
    remuneration for all services performed by Agent Professionals for the Collateral Agent
    and the Servicer in the discharge of its duties hereunder and under the Collateral
    Documents in accordance with Section 11(b) hereof.

    6.   INSTRUCTIONS FROM LENDERS; ENFORCEMENT NOTICE.

         (a) Instructions from Lenders.

         Unless otherwise excused as provided herein, both the Collateral Agent and the
    Servicer shall act on all written instructions received from the Required Lenders, with
    respect to any action to be taken or not to be taken in connection with this Agreement, the
    Mortgage or the Note, including, without limitation, actions to be taken in connection
    with an insolvency proceeding in respect of the Borrower; provided, however, that the
    Collateral Agent shall act only on written instructions from all Lenders with respect to the
    amendment or termination of the Mortgage, or, except as provided in the Mortgage, any
    Lien on property of the Borrower granted under the Mortgage. If either the Collateral
    Agent or the Servicer shall request instructions from the Lenders with respect to taking
    any particular action in connection with this Agreement, the Mortgage, the Note or any
    such Lien, the Collateral Agent and the Servicer shall be entitled to refrain from taking
    such particular action unless and until it shall have received written instructions from the
    Required Lenders (in which event it shall be required to act in accordance with such
    written instructions unless otherwise excused as provided herein), and neither the
    Collateral Agent nor the Servicer shall incur any liability to any Person for so refraining.
    Without limiting the foregoing, no Lender shall have any right of action whatsoever
    against the Collateral Agent or the Servicer as a result of the Collateral Agent or the

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    Servicer taking or not taking any action hereunder or pursuant to or in accordance with
    the written instructions of such Required Lenders, except for the Collateral Agent’s or the
    Servicer’s own gross negligence or willful misconduct in connection with any action
    taken or not taken by it, as finally determined by a court of competent jurisdiction.
    Notwithstanding anything to the contrary contained in this Agreement or any of the
    Collateral Documents, (i) the failure of the Collateral Agent or the Servicer to take any
    action shall not constitute gross negligence or willful misconduct by the Collateral Agent
    or the Servicer hereunder (A) following a request by the Collateral Agent or the Servicer
    for the Required Lenders’ consent to such action and the failure of the Required Lenders
    to respond to such request or (B) in the absence of written instructions from the Required
    Lenders and (ii) neither the Collateral Agent nor the Servicer shall be required to take any
    action that is, in its opinion (which may be, but is not required to be, based on the advice
    of legal counsel), contrary to applicable law or the Note or the Mortgage or that would, in
    its reasonable opinion, subject it or any Agent-Related Persons to liability or that would
    require it to expend or risk its own funds.

         (b) Enforcement Notices.

         The Collateral Agent shall, as soon as practicable but in any event, if applicable,
    within ten (10) Business Days following receipt thereof, furnish to each of the Lenders:

             (i) a copy of each Enforcement Notice received by the Collateral Agent;

             (ii) a copy of each certificate or other written notice received by the Collateral
     Agent rescinding or withdrawing an Enforcement Notice;

             (iii) a copy of any written notice or other written communication given or
     received by the Collateral Agent under the Note or the Mortgage; and

             (iv) such other written notices required by the terms of this Agreement to be
     furnished by or to the Collateral Agent.

         Any Enforcement Notice shall be deemed to have been given when actually received
    by the Collateral Agent and to have been rescinded or withdrawn when the Collateral
    Agent has actually received from the notifying party a written notice rescinding or
    withdrawing such Enforcement Notice. Any Enforcement Notice shall be deemed to be
    outstanding and in effect at all times after such notice has been given until such time, if
    any, as such notice has been rescinded or withdrawn.

    7.   NO RESPONSIBILITY OF COLLATERAL AGENT OR SERVICER FOR
         CERTAIN MATTERS.

        Neither the Collateral Agent nor the Servicer shall be responsible in any manner
    whatsoever for the correctness of any recitals, statements, information, representations or
    warranties contained herein or in the Mortgage except for those made by it herein.
    Neither the Collateral Agent nor the Servicer makes any representation or warranty as to,
    and is not responsible in any way for: (i) the description, value, location, existence, or
    condition of any Collateral; (ii) the financial condition of the Borrower or the title of the
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    Borrower to any of the Collateral; (iii) the sufficiency of the security afforded by this
    Agreement, the Note or the Mortgage or whether registration in respect thereof has been
    properly effected or maintained; (iv) the validity, genuineness, correctness, perfection, or
    priority of any Lien with respect to the Collateral; (v) other than in respect of itself as to
    the Collateral Agent’s and the Servicer’s representations in Section 15(p) hereof, the
    validity, proper execution, enforceability, legality, or sufficiency of this Agreement, the
    Note, the Mortgage or any instrument deposited with the Collateral Agent or the Servicer;
    (vi) the identity, authority or right of any Lender executing any document; or (vii) the
    filing or renewal of any registration of the Mortgage or any public filing required under
    applicable law to perfect any of the Collateral Agent’s Liens, for the benefit of the
    Lenders, in any of the Collateral. Neither the Collateral Agent nor the Servicer shall be
    required to ascertain or inquire as to the performance by the Borrower of any of its
    covenants or obligations hereunder or under the Mortgage or the Note. In no event shall
    either the Collateral Agent or the Servicer be responsible or liable for special, indirect, or
    consequential loss or damage of any kind whatsoever (including, but not limited to, loss
    of profit) irrespective of whether the Collateral Agent or the Servicer has been advised of
    the likelihood of such loss or damage and regardless of the form of action.

    8.   LIMITED  DUTIES  OF   COLLATERAL    AGENT    REGARDING
         COLLATERAL; FURTHER ACTS WITH RESPECT TO COLLATERAL.

         (a) The Collateral Agent shall not be responsible for insuring any of the Collateral
    or for the payment of taxes, charges, fines, levies, assessments or for ensuring or
    protecting the validity, genuineness, correctness, perfection, or priority of any Lien upon
    any of the Collateral, and shall be indemnified therefor as provided in Section 12.
    Furthermore, the Collateral Agent shall not be responsible for the maintenance or
    safeguarding of any Collateral, except as provided in the immediately following sentence
    when the Collateral Agent has actual possession of any Collateral. The Collateral Agent
    shall not have any duty to any of the Lenders with respect to any Collateral, including,
    without limitation, any Collateral in its possession or control or in the possession or
    control of any agent or nominee of the Collateral Agent selected by it with reasonable
    care, or any income therefrom or for the preservation of rights against prior parties or any
    other rights pertaining to the Collateral, except as stated in the next succeeding paragraph.

         (b) Beyond the exercise of reasonable care in the custody thereof and the duty to
    account for monies actually received by it, the Collateral Agent shall have no duty as to
    any Collateral in its possession or control or in the possession or control of any agent or
    bailee or any income thereon or as to preservation of rights against prior parties or any
    other rights pertaining thereto and the Collateral Agent shall not be responsible for filing
    any financing or continuation statements or recording any documents or instruments in
    any public office at any time or times or otherwise perfecting or maintaining the
    perfection of any security interest in the Collateral. The Collateral Agent shall be
    deemed to have exercised reasonable care in the custody of the Collateral in its
    possession if the Collateral is accorded treatment substantially equal to that which it
    accords its own property and shall not be liable or responsible for any loss or diminution
    in the value of any of the Collateral, by reason of the act or omission of any carrier,
    forwarding agency or other agent or bailee selected by the Collateral Agent with
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    reasonable care. The Collateral Agent shall not be responsible for the existence,
    genuineness or value of any of the Collateral or for the validity, perfection, priority or
    enforceability of the Liens in any of the Collateral, whether impaired by operation of law
    or by reason of any action or omission to act on its part hereunder, except to the extent
    such action or omission constitutes gross negligence, bad faith or willful misconduct on
    the part of the Collateral Agent, or for the validity or sufficiency of the Collateral or any
    agreement or assignment contained therein, for the validity of the title of the Borrower to
    the Collateral, for insuring the Collateral or for the payment of taxes, charges,
    assessments or Liens upon the Collateral or otherwise as to the maintenance of the
    Collateral.

    9.   DUTIES AS LOAN SERVICER.

         (a) Specific Loan Services/Functions.

          In its capacity as the Servicer, EBF shall: (a) issue payment coupons or monthly
    statements to the Borrower directing Loan repayment to the Lenders or the Servicer;
    (b) issue payoff demands, beneficiary statements and mortgage ratings; (c) demand,
    receive and collect all Loan payments, deposit them by the next business day into the
    Servicer’s trust account and/or facilitate having them paid directly to Lender, in each case
    within 25 days of the date due; (d) issue annual Form 1099 income tax statements to the
    Borrower and Lenders; (e) answer Borrower inquiries, demands and requests; (f) grant
    appropriate payment deferrals, but not of the maturity of the Loan unless approved by the
    Required Lenders; (g) monitor the continued effectiveness and claims on any property
    insurance listed in the Loan escrow instructions; (h) request and receive notices of default
    on senior liens; (i) receive notices of property tax delinquencies, should a tax service be
    ordered through escrow or subsequently; and (j) execute and deliver on Lenders’ behalf
    and in Lenders’ name any documents necessary or convenient for the purpose of
    maintaining or enforcing the Loan.

         (b) Protective Advances.

         Upon request of the Servicer, Lenders shall make such advances as approved by the
    Required Lenders to be necessary and prudent to protect and to collect Lenders’ interest
    in the Loan. If any Lender fails to make advances approved by the Required Lenders, the
    other Lenders are authorized to advance the amount the non-paying Lender failed to
    advance and to receive payment in full with interest at 10% per annum before any further
    payments are made to the non-paying Lender and, the non-defaulting Lenders shall also
    have the option, exercisable within 30 days after Lender’s failure to pay, to purchase such
    Lender’s interest in the Loan for the outstanding principal balance and any accrued
    interest, fees and costs owed to the defaulting Lender, payable within 15 days after the
    election to purchase is made. The Servicer, in its absolute discretion, may advance its
    own funds to protect the security of the Loan, including advances to cure senior liens,
    property insurance, foreclosure expenses, repair, advertising, litigation expenses and
    similar items, but not Loan payments. The Servicer shall be reimbursed such advances,
    with interest at the interest rate then payable with respect to the Loan, from the next Loan
    payment, or within 10 days after a written request to Lenders. To secure the Servicer’s

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    advances, Lenders hereby irrevocably assign to the Servicer, to the extent of advances
    owed to the Servicer, the first Loan payments received after an advance is made. A
    defaulting or non-paying Lender will be liable to the remaining Lenders for all damages
    incurred as result of his/her/their failure to act or failure to advance funds including, but
    not limited to, actual attorneys’ fees, court costs and fees, or any damages related to loss
    of the security for the Loan.

        (c) Loan Documents.

         To the extent not maintained by the Collateral Agent, the Servicer shall retain
    custody as agent for Lenders of the original Note and Mortgage.

        (d) Real Estate Owned.

         The Servicer is also Lenders’ agent (in conjunction with the Collateral Agent) to
    liquidate any real estate acquired by Lenders in foreclosure of the property securing the
    Loan (the “Property”). During the foreclosure process, the Servicer’s servicing fee shall
    continue as set forth in Section 12 herein. Additionally, at the option of Lenders and by
    separate fee agreement to be signed by the parties, the Servicer shall: (i) arrange
    appropriate property insurance; (ii) manage the Property, including arranging
    maintenance and construction, tenant relations, repair and security; (iii) arrange for the
    valuation and resale of the Property, including hiring a Realtor® or broker to list, show
    and sell the Property; and (iv) accept reasonable offers on the Property, at the price and
    terms approved by the Required Lenders and execute all necessary and appropriate
    documentation to carry out the sale.

        (e) Servicing Fees.

         The Servicer's fee to each Lender to service any Loan shall be up to 8% interest per
    annum on the Investment made by such Lender in the Loan, as such amount may adjust
    from time to time upon making an Investment in the Loan (or upon making
    Investments in any other Loan) in accordance with this Section 9(e). The Servicer’s fee
    to a Lender in respect of its Investment shall be the specified interest per annum listed on
    the signed Exhibit A to the Note and the signed Exhibit A to the Mortgage provided in
    the investment paperwork and signed by the Lender.




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         The fee is deducted from the interest payment payable by the Borrower under the
    Note. The Servicer shall be further compensated for work in respect of delinquent
    payments or other default by Borrower by assessing and receiving late charges, and by
    collecting an additional 2% of the principal amount of the Loan of any payments
    (whether interest or late fees) made to Lenders (or for their benefit) after the assessment
    of default interest on the Borrower under the Note that equal or exceed 2% interest per
    annum of the principal amount of the Loan. Said additional amounts shall only be
    collected if default interest is, in fact, charged to the Borrower. Lenders shall receive any
    benefit of the default interest rate and late fee payments in excess of the 2% interest per
    annum on the principal amount of the Loan collected by the Servicer.




         (f) Origination Fee.

           On the Closing Statement of the Loan the Collateral Agent may charge the
    Borrower an origination fee (“Origination Fee”) of up to 5% of the principal amount of
    the Loan.




    10. RELIANCE ON WRITINGS.


         Both the Collateral Agent and the Servicer shall be entitled and fully authorized to
    rely and act, and shall be fully protected in relying and acting, upon any writing,
    instruction, resolution, notice, consent, certificate, affidavit, letter, telegram, facsimile,
    telex or other document believed by it to be genuine and correct and to have been signed
    or sent by or on behalf of the proper Person or Persons, and statements of the Borrower
    (including, without limitation, counsel to the Borrower) or the Lenders. Neither the
    Collateral Agent nor the Servicer shall have any duty to verify or confirm the content of
    any writing, instruction, resolution, notice, consent, certificate, affidavit, letter, telegram,
    facsimile, telex or other document.




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    11. RESIGNATION AND REMOVAL OF COLLATERAL AGENT AND/OR
        SERVICER.

        (a) Resignation or Removal.

          Both the Collateral Agent and the Servicer may at any time resign, effective upon 30
    days prior written notice (or such shorter period as may be agreed to by the Required
    Lenders and such party) to the Lenders and the Borrower, and either may be removed for
    or without cause at any time by the Required Lenders, effective upon 30 days’ notice. In
    the event of any resignation or removal, the Required Lenders shall have the right to
    appoint a successor Collateral Agent and/or Servicer (which successor Collateral Agent
    and/or Servicer may be one of the Lenders or a financial institution that is engaged in the
    provision of agency services in syndicated commercial loan transactions or a trust
    Borrower that is engaged in the provision of trust services in secured private placement
    transactions), but, if the Required Lenders have not appointed a successor Collateral
    Agent and/or Servicer, as the case may be, within 30 days after the resigning Collateral
    Agent’s and/or Servicer’s giving of notice of resignation or its removal, the retiring
    Collateral Agent and/or Servicer, as the case may be, shall, at the expense of the
    Borrower, on behalf of the Lenders, subject to the above provision regarding the identity
    and nature of a permissible successor Collateral Agent and/or Servicer, either appoint a
    successor Collateral Agent and/or Servicer or apply to the appropriate court to make such
    appointment. Upon the acceptance of any appointment as a Collateral Agent and/or
    Servicer, as the case may be, hereunder by a successor, to be evidenced by the successor
    Collateral Agent’s or Servicer’s, as the case may be, execution and delivery to the
    Borrower, the Lenders and the retiring Collateral Agent and/or Servicer, as the case may
    be, of a counterpart of this Agreement, such successor Collateral Agent and/or Servicer,
    as the case may be, shall thereupon succeed to and become vested with all the rights,
    powers, privileges, duties and obligations of the retiring Collateral Agent and/or Servicer,
    as the case may be, and the retiring Collateral Agent and/or Servicer, as the case may be,
    shall be discharged from any further duties and obligations as Collateral Agent and/or
    Servicer, as the case may be, as appropriate, under this Agreement, the Note and the
    Mortgage. The payment and indemnity obligations of the Borrower provided for in
    Section 12 shall survive any such removal or resignation in favor of the retiring Collateral
    Agent and/or Servicer, as the case may be, in respect of any matter arising during or after
    its tenure as Collateral Agent and/or Servicer, as the case may be. For the avoidance of
    doubt, removal hereunder of EBF as the Collateral Agent in no way constitutes a removal
    of EBF as the Servicer and vice versa.

        (b) Vesting.

         Upon the request of any successor Collateral Agent and/or Servicer, at the expense
    of the Borrower, the Lenders, the Borrower and the predecessor Collateral Agent and/or
    Servicer, as the case may be, shall promptly execute and deliver such instruments,
    conveyances, and assurances reflecting terms consistent with the terms hereof, the
    Mortgage and the Note for the purpose of more fully and certainly vesting and
    confirming in such successor Collateral Agent and/or Servicer, as the case may be, its

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    interest in, and Liens upon, the Collateral and all rights, powers, duties, and obligations
    of the predecessor Collateral Agent and/or Servicer, as the case may be, hereunder and
    under the Mortgage and the Note, and the predecessor Collateral Agent and/or Servicer,
    as the case may be, shall also promptly assign and deliver to the successor Collateral
    Agent and/or Servicer, as the case may be, any Collateral subject to the Liens of the
    Mortgage that may then be in its possession, as applicable.

        (c) Successors.

        Any entity into which a Collateral Agent or Servicer may be amalgamated or merged,
    or with which it may be consolidated, or any entity resulting from any amalgamation,
    merger or consolidation to which a Collateral Agent or Servicer shall be a party, as a
    whole or substantially as a whole, shall be the successor of such Collateral Agent or
    Servicer hereunder if legally bound hereby as such successor, without the necessity for
    execution or filing of any paper or any further act on the part of any of the parties hereto,
    anything to the contrary contained herein notwithstanding.

    12. FEES TO COLLATERAL AGENT; PAYMENTS; INDEMNITY.

        (a) Fees.

         In addition to any other fees owed to Servicer or Collateral Agent from either (i)
    Borrower, and paid by Borrower to Servicer or Collateral Agent, or (ii) Lender, and paid
    by Borrower out of amounts otherwise due to Lender, the Lender shall pay to the
    Collateral Agent all fees required to be paid under the Fee Schedule attached hereto
    as Schedule I with respect to this Agreement at the times and in the amounts set forth
    therein. Any amounts owed by Lender may, at Collateral Agent’s discretion, be paid by
    Borrower out of amounts otherwise payable from Borrower to Lender.

        (b) Payment by the Borrower.

         The Borrower agrees that it will pay all of the Collateral Agent’s and the Servicer’s
    fees, as applicable, including those owed by the Lender listed on Schedule I, which shall
    be paid by the Borrower on behalf of the Lender out of amounts otherwise due to the
    Borrower, for its respective services hereunder and will pay or reimburse the Collateral
    Agent and the Servicer upon its request for all of their respective expenses, disbursements
    and advances incurred or made in the administration of their respective duties hereunder
    and under the Note and the Mortgage, as applicable (including, without limitation,
    reasonable legal fees and expenses and the reasonable compensation of all Agent
    Professionals, Agent-Related Persons and other advisers, agents or experts employed or
    retained by the Collateral Agent or the Servicer pursuant to this Agreement). In addition
    to and without limiting any other protection of the Collateral Agent and/or the Servicer
    hereunder or otherwise by law, the Borrower shall indemnify the Agent-Related Persons
    for any and all liabilities, obligations, losses, damages, penalties, actions, claims,
    demands, judgments, suits, costs, expenses or disbursements of any kind or nature
    whatsoever that may be suffered by, imposed on, incurred by or asserted against any
    Agent-Related Person, whether groundless or otherwise, howsoever arising from or out

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    of, or in any way related to the subject matter of, this Agreement, the Note, the Mortgage
    or any of the Collateral or the performance or enforcement of any of the terms of any
    thereof, including fees and expenses of special counsel; provided that the Borrower shall
    not be liable for any such payment to any Agent-Related Person to the extent the
    obligation to make such payment has been caused by such Agent-Related Person’s own
    gross negligence or willful misconduct, as finally determined by a court of competent
    jurisdiction. All statements from the Collateral Agent, the Servicer or any other Person
    for obligations owing by the Borrower pursuant to the preceding sentence shall be sent to
    the Borrower. Any amount due under this Section 12(b) and unpaid 10 Business Days
    after request for such payment will bear interest from the expiration of such 10 Business
    Days at a rate per annum equal to two percent (2%) above the rate of interest publicly
    announced by JPMorgan Chase Bank, N.A. from time to time in New York City as its
    prime rate, payable on demand. If not timely paid by the Borrower, at the Collateral
    Agent’s or the Servicer’s election, all amounts so payable and the interest thereon will be
    payable out of any assets in the possession of the Collateral Agent and/or the Servicer
    and any other Collateral in priority to amounts owing to any and all other parties to this
    Agreement.

        (c) Survival.

         The obligations of the Borrower and the Lenders under this Section 12 shall survive
    the payment in full of all of the other Obligations, the resignation or removal of the
    Collateral Agent and/or the Servicer and the termination of this Agreement.

    13. COLLATERAL AGENT’S AND SERVICER’S FUNDS NOT AT RISK.

         For purposes of clarity, no provision of this Agreement or the Mortgage, and no
    request of any Lender or other Person shall require either the Collateral Agent or the
    Servicer to expend or risk any of its own funds, or to take any legal or other action under
    this Agreement, the Note or the Mortgage which might, in its reasonable judgment,
    involve any expense or any financial or other liability unless the Collateral Agent or the
    Servicer shall be furnished with indemnification acceptable to it, acting reasonably,
    including the advance of funds sufficient in the judgment of the Collateral Agent or the
    Servicer, as applicable, to satisfy such liability, costs and expenses.

    14. INDEPENDENT CREDIT DECISIONS.

         Each Lender acknowledges that it has, independently and without reliance upon the
    Collateral Agent, the Servicer or any other Lender and based upon such documents and
    information as it has deemed appropriate, made its own credit analysis and decision to
    enter into this Agreement. Each Lender also acknowledges that it will, independently
    and without reliance upon any of the Collateral Agent, the Servicer or any other Lender
    and based upon such documents and information as it shall deem appropriate at the time,
    continue to make its own credit decisions in taking or not taking action under this
    Agreement.

    15. DETERMINATION OF LENDERS; SUBSEQUENT LENDERS BOUND.

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         The Collateral Agent and the Servicer may deem and treat the payee of any
    promissory note or other evidence of indebtedness or obligation relating to any
    Obligation as the owner thereof for all purposes hereof unless and until (i) a written
    notice of the assignment or transfer thereof signed by such payee and (ii) a written
    acknowledgment agreeing to be bound by the terms hereof and such other documents
    required by Section 16(d), each signed by the assignee or transferee, and in form
    reasonably satisfactory to the Collateral Agent and/or the Servicer, shall have been filed
    with the Collateral Agent and/or the Servicer, as applicable. Any request, authority or
    consent of any Person who at the time of making such request or giving such authority or
    consent is the holder of any such note or other evidence of indebtedness or obligation,
    shall be conclusive and binding on any subsequent holder, transferee or assignee of such
    note or other evidence of indebtedness or obligation and of any note or notes or other
    evidences of indebtedness or obligation issued in exchange therefor.

    16. MISCELLANEOUS.

        (a) Notices.

         All notices, requests and other communications shall have been duly given and shall
    be effective (a) when delivered by hand, (b) when transmitted via telecopy or email (or
    other facsimile device) with receipt confirmed with respect to telecopy, (c) the Business
    Day next following the day on which the same has been delivered prepaid to a reputable
    national overnight air courier service, or (d) the third Business Day next following the
    day on which the same is sent by certified or registered mail, postage prepaid, in each
    case to the respective parties at the address, telecopy number or email address as
    provided in the immediately succeeding sentence; provided, however, that if any notice is
    delivered on a day other than a Business Day, or after 5:00 P.M. (Eastern time) on any
    Business Day, then such notice shall not be effective until the next Business Day. For
    purposes hereof, the address of each party hereto and its facsimile number or email
    address (until written notice of a change thereof is delivered to the Collateral Agent, the
    Servicer, the Borrower and each Lender) shall be as set forth in Schedule II hereto, or at
    such other address as such party may specify by written notice to the other parties hereto.
    Notices to any Person that becomes a holder of Obligations after the date hereof shall be
    given to such address or facsimile number or email address of which such Person shall
    have given written notice to the Collateral Agent, the Servicer and the Borrower.

        (b) Amendments.

         No provision of this Agreement may be amended or waived except by a writing
    signed    by    the     Required    Lenders,    the     Collateral    Agent    and   the
    Servicer; provided, however, that any amendment expanding the obligations or liabilities
    of the Borrower either hereunder or thereunder shall require the Borrower’s consent.

        (c) Conflicts with Collateral Documents and other Transaction Documents.

         The Collateral Agent, the Servicer and the Lenders agree that, if any provision of
    this Agreement is inconsistent with or contrary to any provisions in the Note or the

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    Mortgage, the provisions of this Agreement shall prevail as between and among the
    Collateral Agent, the Servicer and the Lenders.

        (d) Successors and Assigns.

         This Agreement shall be binding upon, and inure to the benefit of, the Collateral
    Agent, the Servicer and the Lenders and their respective successors and assigns. If any
    Lender shall assign or transfer the Obligations owing to it, it shall promptly so notify the
    Collateral Agent and the Servicer in writing. No Lender which assigns or transfers any
    Obligations owing to it shall assign or transfer its benefits under the Collateral
    Documents without obtaining from the assignee or transferee and delivering to the
    Collateral Agent, the Servicer and the Lenders a joinder agreement and an executed
    acknowledgment of the assignee or transferee agreeing to be bound by the terms hereof to
    the same extent as if it had been a Lender on the date hereof. Each assignee or transferee
    of any Obligations shall take such Obligations subject to the provisions of this Agreement
    and to any request made, waiver or consent given or other action taken or authorized
    hereunder by each previous holder of such Obligations prior to the receipt by the
    Collateral Agent and the Servicer of written notice of such assignment or transfer; and,
    except as expressly otherwise provided in such notice, the Collateral Agent and/or the
    Servicer shall be entitled to assume conclusively that the assignee or transferee named in
    such notice shall thereafter be vested with all rights and powers as a Lender under this
    Agreement (and the Collateral Agent and the Servicer may conclusively assume that no
    Obligations have been subject to any assignment or transfer other than transfers of which
    the Collateral Agent and the Servicer have received such a notice). Upon the written
    request of any Lender or the Borrower, the Collateral Agent and the Servicer will provide
    such Lender and the Borrower with copies of any written notices of transfer received
    pursuant hereto.

        (e) Continuing Effectiveness.

         This Agreement shall continue to be effective among the Collateral Agent, the
    Servicer and the Lenders even though a case or proceeding under any bankruptcy or
    insolvency law or any proceeding in the nature of a receivership, whether or not under
    any insolvency law, shall be instituted with respect to the Borrower or any portion of the
    property or assets of the Borrower, and all actions taken by the Collateral Agent with
    respect to the Collateral or by the Collateral Agent, the Servicer and the Lenders with
    regard to such proceeding shall be determined by the Required
    Lenders; provided, however, that nothing herein shall be interpreted to preclude any
    Lender from filing a proof of claim with respect to its Obligations or from casting its vote,
    or abstaining from voting, for or against confirmation of a plan of reorganization in a case
    of bankruptcy, insolvency or similar law in its sole discretion.

        (f) Further Assurances.

        Each party and the Borrower agrees to do such further acts and things and to execute
    and deliver such additional agreements, powers and instruments as necessary or as any
    Lender or the Collateral Agent or the Servicer may reasonably request to carry into effect

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    the terms, provisions and purposes of this Agreement or to better assure and confirm unto
    the Collateral Agent or the Servicer or any of the other Lenders their respective rights,
    powers and remedies hereunder.

        (g) Counterparts.

         This Agreement may be executed in any number of counterparts, all of which taken
    together shall constitute one and the same agreement, and any of the parties hereto may
    execute this Agreement by signing any such counterpart. Delivery of an executed
    counterpart of a signature page to this Agreement by fax or pdf shall be effective as
    delivery of a manually executed counterpart of this Agreement.

        (h) Effectiveness.

         This Agreement shall become effective immediately upon execution hereof by the
    Collateral Agent, the Servicer, the Required Lenders and the Borrower, and shall
    continue in full force and effect until 91 days following the date upon which all
    Obligations are irrevocably paid and satisfied in full; provided that, if the Obligations due
    and owing to a Lender have been paid and satisfied in full, then such Lender shall be
    deemed released from this Agreement without any further action being necessary. Any
    such released Lender shall give the Collateral Agent notice of such release but the failure
    to give such notice shall not affect such release.

        (i) Governing Law.

       THIS AGREEMENT SHALL BE CONSTRUED AND ENFORCED IN
    ACCORDANCE WITH, AND THE RIGHTS OF THE PARTIES SHALL BE
    GOVERNED BY, THE INTERNAL LAW OF THE STATE OF ILLINOIS,
    EXCLUDING CHOICE-OF-LAW PRINCIPLES OF THE LAW OF SUCH
    STATE THAT WOULD PERMIT THE APPLICATION OF THE LAWS OF A
    JURISDICTION OTHER THAN SUCH STATE.

        (j) Jurisdiction.

              (i) Each party hereto irrevocably submits to the non-exclusive jurisdiction of
     any Illinois state or federal court sitting in Cook County, Illinois, over any suit, action or
     proceeding arising out of or relating to this Agreement or any of the agreements,
     documents or instruments delivered in connection herewith or therewith. To the fullest
     extent permitted by applicable law, the parties hereto irrevocably waive and agree not to
     assert, by way of motion, as a defense or otherwise, any claim that it is not subject to the
     jurisdiction of any such court, any objection that it may now or hereafter have to the
     laying of the venue of any such suit, action or proceeding brought in any such court and
     any claim that any such suit, action or proceeding brought in any such court has been
     brought in an inconvenient forum.

              (ii) Nothing in this Section 16(j) shall affect the right that the Collateral Agent,
     the Servicer or any of the Lenders to serve process in any manner permitted by law, or
     limit any right that any party hereto may have to bring proceedings against the Borrower
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     in the courts of any appropriate jurisdiction or to enforce in any lawful manner a
     judgment obtained in one jurisdiction in any other jurisdiction.

           (iii) THE PARTIES HERETO IRREVOCABLY WAIVE ALL RIGHT TO
     TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
     (WHETHER BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF
     OR RELATING TO THIS AGREEMENT OR ANY OTHER AGREEMENT,
     DOCUMENT OR INSTRUMENT DELIVERED IN CONNECTION HEREWITH OR
     THEREWITH OR THE ACTIONS OF THE LENDERS, THE COLLATERAL AGENT
     OR THE SERVICER IN THE NEGOTIATION, ADMINISTRATION,
     PERFORMANCE OR ENFORCEMENT HEREOF OR THEREOF.

        (k) Headings; Sections.

         Headings of Sections of this Agreement have been included herein for convenience
    only and should not be considered in interpreting this Agreement. Unless stated
    otherwise in this Agreement, references in this Agreement to Sections are references to
    Sections of this Agreement.

        (l) No Implied Beneficiaries.

         Nothing in this Agreement (except Section 16(b)), expressed or implied, is intended
    or shall be construed to confer upon or give to any Person, other than the Lenders, the
    Collateral Agent and the Servicer, any right, remedy or claim under or by reason of this
    Agreement or any covenant, condition or stipulation herein contained.

        (m) Severability.

         If any provision of this Agreement shall be held or deemed to be, or shall in fact be,
    inoperative or unenforceable as applied in any particular case in any jurisdiction, or
    because it conflicts with any other provision or provisions hereof or with any constitution
    or statute or rule of public policy, or for any other reason, such circumstance shall not
    have the effect of rendering the provision in question inoperative or unenforceable in any
    other case or circumstance, or rendering any other provision herein contained invalid,
    inoperative or unenforceable to any extent whatsoever. Upon the determination that any
    term or other provision of this Agreement is invalid, illegal or incapable of being
    enforced, the parties hereto shall negotiate in good faith to modify this Agreement so as
    to give effect to their original intention as closely as possible in an acceptable manner to
    the end that the transactions contemplated hereby are fulfilled to the maximum extent
    possible.

        (n) Obligations Individual.

         The obligations and representations and warranties of the Collateral Agent, the
    Servicer and each of the Lenders herein are made by each of them individually. Nothing
    herein contained shall be construed as creating among the Lenders, or among the
    Collateral Agent, the Servicer and the Lenders, a partnership, joint venture or other joint
    association.
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        (o) No Obligation to Extend Credit.

        No provision of this Agreement shall be construed as obligating the Collateral Agent,
    the Servicer or any Lender to advance any monies or otherwise extend credit to the
    Borrower at any time.




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        (p) Representations of Parties.

          Each of the Lenders, the Collateral Agent and the Servicer, severally and not jointly,
    represents and warrants to the other parties hereto that such party has all requisite power
    and capacity to execute, deliver and perform this Agreement and that the execution,
    delivery and performance of this Agreement has been duly authorized by all necessary
    action on the part of such party and that this Agreement constitutes the legal, valid and
    binding obligation of such party, enforceable against such party in accordance with its
    terms except as such enforceability may be limited by (i) bankruptcy, insolvency,
    reorganization or similar laws affecting the enforcement of creditors’ rights generally and
    (ii) general principles of equity (regardless of whether such enforceability is considered
    in a proceeding in equity or law).

        (q) Limitation of Liability Due to Forces Beyond Collateral Agent’s or Servicer’s
            Control.

         In no event shall the Collateral Agent or the Servicer be responsible or liable for any
    failure or delay in the performance of its obligations hereunder arising out of or caused
    by, directly or indirectly, forces beyond its control, including, without limitation, strikes,
    work stoppages, accidents, acts of war or terrorism, civil or military disturbances, nuclear
    or natural catastrophes or acts of God, and interruptions, loss or malfunctions of utilities,
    communications or computer (software and hardware) services; it being understood that
    the Collateral Agent and the Servicer shall use reasonable efforts which are consistent
    with accepted practices in the banking industry to resume performance as soon as
    practicable under the circumstances.

           [Remainder of page intentionally left blank; next page is signature page.]




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            IN WITNESS WHEREOF, the Collateral Agent, the Servicer and the Lenders
    have executed or caused this Agreement to be duly executed and delivered by their
    respective officers thereunto duly authorized, all as of the date first above written.

    COLLATERAL AGENT:

    EQUITYBUILD FINANCE, LLC, as Collateral Agent on behalf
    of the Lenders listed below

    By:

    Name:
                 Elizabeth Kammerer
    Title: Asset Manager




    SERVICER:

    EQUITYBUILD FINANCE, LLC, as Servicer

    By:

    Name:
                Elizabeth Kammerer
    Title: Asset Manager




                [Signature Page to Collateral Agency and Servicing Agreement]




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    LENDERS:



    By:

    Name:

    Title:



    By:

    Name:

    Title:



    By:

    Name:

    Title:




                     [Signature Page to Collateral Agency Agreement]




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    ACKNOWLEDGED, CONSENTED AND AGREED TO:

    BORROWER:

    EquityBuild, Inc.

    By: ____________________________________

    Name: Elizabeth Kammerer

    Title: Closing Coordinator




                        [Signature Page to Collateral Agency Agreement]




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                                           SCHEDULE I

                           COLLATERAL AGENT FEE SCHEDULE



    Section 1: Payouts

    All payouts paid by check.

    If Lender requests different method, fees are as follows:

       •   Wire funds:            $50
       •   Overnight check:       $50
       •   Direct deposit:        No fee



    Section 2: Buyouts

    If Lender requests principal back prior to Loan’s maturity date (and request granted),
    Lender must pay an early liquidation fee equal to: (i) 12% of the amount being returned
    if the request is made within one year of the date the Loan is funded (the “Origination
    Date”); and (ii) 10% of the amount being returned if the request is made between one and
    two years of the Origination Date. This fee is not intended to be a penalty but is an
    estimate, and indicative, of the actual cost and expenses EBF will incur in conjunction
    with such request.


    EBF reserves the right to extend the maturity date on any Loan at the request of the
    Borrower. At that time, anyone who wishes to not participate in the extension may
    receive a return of their Investment and no fee will be charged in respect thereof .




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                                         SCHEDULE II

                                 ADDRESSES FOR NOTICES



    If to EquityBuild Finance, LLC, as either Collateral Agent or Servicer:
              EquityBuild Finance, LLC
    [Address] 5068 West Plano Pkwy. #300
              Plano, TX 75093
    Attention: [Elizabeth Kammerer]
    Facsimile: [___________]
    E-mail: [elizabeth@equitybuildfinance.com]


    If to the Lenders:
    [Name]
    [Address]
    Attention: [___________]
    Facsimile: [___________]
    E-mail: [___________]

    [Name]
    [Address]
    Attention: [___________]
    Facsimile: [___________]
    E-mail: [___________]

    [Name]
    [Address]
    Attention: [___________]
    Facsimile: [___________]
    E-mail: [___________]


    If to the Borrower:
              EquityBuild, Inc.
    [Address] 1083 N Collier Blvd. #132
              Marco Island, FL 34145
    Attention: [Elizabeth Kammerer]
    Facsimile: [___________]
    E-mail: [elizabeth@equitybuild.com]




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    Lender Name:



    Lender Amount:



    Percentage of Ownership of Total Loan:



    Monthly Interest Payment Amount to Be Received:



    Lender Signature




    EquityBuild Finance, LLC, as agent and trustee has been authorized by the above

    listed lenders to receive the payoff in its name and issue and execute a release of

    said mortgage, upon payment in full of any outstanding balance.
                                                                     EXHIBIT
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From:             Ezri Namvar [ezrinamvar@gmail.com]
Sent:             3/15/2017 11:09:29 AM
To:               'Tyler DeRoo' [tyler@equitybuild.com]
CC:               'Andrew Calleja' [andrew@shatar.com); 'Daniel Namvar' [daniel@shatar.com)
Subject:          RE: 7749 S Yates


Can u please send us a detailed resume or brochure on the company?
How u raise money , the length in business, how many units your control, etc. etc.
thnx

B"H
Ezri Namvar
T: 310.873.9575
ezrinamvar@gmail.com

NOTICE: This communication is not intended to provide, and should not be relied upon for real estate, legal, tax, or accounting advice; and is not a
solicitation, nor an offer to buy or sell securities, nor a loan approval or commitment to engage in any business transaction. NOTHING IN THIS
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received this message in error, you are prohibited from copying, distributing, or using the information. Please contact the sender immediately by return e­
mail and delete the original message from your system.


From: Tyler DeRoo [mailto:tyler@equitybuild.com]
Sent: Wednesday, March 15, 2017 11:08 AM
To: Ezri Namvar <ezrinamvar@gmail.com>
Cc: Andrew Calleja <andrew@shatar.com>
Subject: 7749 S Yates

Hi Guys,

Wanted to correct a previous typing mistake on this building. The assets purchase price was$1.55MM. It came
to my attention that i indicated$l .35MM in previous email, that was not correct, the correct amount it
$1.55MM per the attached PSA. Let me know if you have any further questions or concerns. Thanks.



Tyler DeRoo
C. 847.420.2095




                                                                                                                                           Exhibit
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 From:                     Doron Kermanian
 Sent:                     Friday, March 17, 2017 11:01 AM CDT
 To:                       EquityBuild Documents Team
 Subject:                  Re: Completed: 7749 S Yates - Doron and Nahid Kermanin -Investment Packet


 i completed the sighning of documents please let me know when i recieve copies and
 confirmation of my sighnatures thank you.


 doron kermanian
 las vegas nv
 702 255 8954

 On Fri, Mar 17, 2017 at 8:58 AM, EquityBuild Documents Team via DocuSign
 <dse@docusign.net> wrote:




                                                Your document has been completed




                                                       REVIEW DOCUMENTS




      EquityBuild Documents Team
      docs@equitybuild.com




      All parties have completed 7749 S Yates - Doron and Nahid Kermanin -Investment Packet.


      Welcome to EquityBuild, Inc. - we are here to make your life easy. DocuSign will guide you to the areas that require your
      attention. Once complete (identified when you see the "confirm signatures" button), DocuSign will automatically route the
      packet to the next signatory. All closing dates and subsequent payment dates are subject to change due to unforeseen



                                                                                                                  Exhibit
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    changes to the closing date. The final notarized and executed note and mortgage with the binding close date and interest
    payment dates will be sent via email to all investors after the successful closing and funding of this investment.
    Documents can be downloaded at any time for your records. Your investment packet will include:
    Memorandum
    Note
    Mortgage
    Wire Instructions
    Collateral Agent Servicing Agreement
    New Client Form
    Direct Deposit Form
    Payment Schedule
    Thank you for choosing EquityBuild, Have a wonderful day


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 Bankof America                                                                    Funds Transfer Request Authorization (FTRA)

| ‘Customer Information
 Name:
 Phone:
                MR DORON    KERMANIAN
                (702)255-8954
                                                                     Address:     8213 DESERT
                                                                                  LAS VEGAS
                                                                                                       BEACH DR
                                                                                  NV 891287418 US
| Account Information
 Account:                       PER_   1649
 Account Titie:                 NAHIDEH KERMANIAN DORON
                                KERMANIAN
 Requestor Name:
  Wire Information
 Wire Type:                   DOMESTIC                                            Wire Date:                 03/17/2017
 Country:                     US                                                  Wire Amount (USD):         25,000.00
 Currency of Recipient
 Account:                     USD                                                 Wire Fea:                  30.00

 Source:                      IN PERSON
 ID Verification
 ID Type:                     ORIVER'S LICENSE (WITH PHOTO) FROM
 1D   Type:                   BANK OF AMERICA DEBIT CARD, ATM CAR
| ‘Recipient Information                        Se




 Recipient Name:                EQUITY BUILD INC                                          Bank Name: WELLS FARGO BANK NATIONAL ASSOCIATION
 Account Number Type:         ACCOUNT NUMBER                                              Bank ID:       1214000248
 Account Number:                8345876992                                             Address:          1000 LOUISIANA ST, TUNNEL LVL
 Address:                       US                                                                       HOUSTON
                                                                                                         TX 77002 US
 Information about
 payment:
 Purpose of Payment)       OTHER                                              Additional Phone Advice:


 Additional Reference                                                         Additional Bank
 information:                                                                 instructions:                PROP. INVT ADD 7749 S. YATES
  Customer      Approval
 | authorize Bank of America to      transfer funds
                                           my       as set forthin the instructions herein(including
                                                                                                   debiting my account if applicable),and agree that
 such transfer of funds is subject to the Bank of America standard transfer agreement (see disclosure pages of this form) and applicable fees. If thisis a
 foreign currency wire transfer, | accept the conversion rate provided by Bank of America at the time the wire is sent.
 For a Consumer International wire: We rely on you, the customer, to inform us of the currency of the receiving account (denoted under ‘Currency of
 Recipient Account’) so that we may disclose the exchange rate for conversion in the wire process. If you chose ta send USD rather than the foreign
 currency of the account, we will honor yaur choice, however, we will not be able ta provide exchange rate information. Additionally, so that we may
 provide required disclosures. you must remain in the financial center until we provide yau the Remittance Transfer Receipt (RTR). If you leave prior to
 receiving the RTR, we will cancel theinternational remittance transfer.
 Customer Signature
  For Bank Use     Only: ir                                                                                       Dateof Request 3 fd   /
                                                                                                                                               A
                                                                                                                      March17, 2017
                                                          t




 Financial Center Name                        SUMMERLIN                        Date:
 Company #/ Cost Center #:                    00336 0007866                    Phone #:                               702-654-6860
 Initiating Associate Name:                 VERTIDO, JOSEFINA
                                                                             Remitiance     IDF
       Indicate Method of Signature Verification (if applicable):                                        os Bus. Resolution               Posted Check #
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Funds Transfer Agreement

This is an Agreement between you ("Customer" ar "you") and Bank of America, N.A. and its subsidiary banks ("Bank" or "we", "us", etc.)



By requesting the Bank to execute payment orders ta transfer funds far you, you hereby agree to the following terms and conditions:
1. The Bank will exercise reasonable efforts ta execute all payment orders on the Business Day received, when received prior to our daily
deadline which we may establish and change from time to time. “Business Day" means that part of a day during which the Bank is open for
ihe receipt and processing of payment orders. Saturdays. Sundays, and bank holidays are not considered Business Days. You agree that
the Bank may handle payment orders received fram you and other customer in any order selected by us, and that we may use any means
or routes which we, in our sole discretion, consider suitable for the transmission of funds. The Bank shalt be under no obligation to make any
transfer unless you have on deposit with the Bank in one or more accounts availabie funds sufficient to cover such transfer, ar you present
sufficient funds in person at the time ofmaking  the transfer request. However, the Bank may, in its sole discretion execute a payment order
which causes an overdraft in your account in which case you shall be liable for the overdraft any overdraft fees and interest thereon, as set
farth in the Deposit Agreement which governs our account.

The Bank may execute certain payment orders for you known as "Remittance Transfers". A Remittance Transfer is an electronic funds transfer
initiated by a consumer primarily for personal, family or household purposes to a designated recipient in a foreign country. Effective on the
date set forth in the final rule implementing EFTA (defined below), federal law provides certain rights and obligations related to Remittance
Transfers that may differ from rights and obligations that apply to other types of payment orders, including disclosure, cancellation and error
resolution rights. To the extent the provisions of this Agreement are inconsistent with the oral or written disclosures provided ta you for a
Remittance Transfer governed by Section 919 of the Electronic Funds Transfer Act (EFTA), 15 U.S.C. Section 16930-1, the terms of the
disclosures provided at the time of the Remittance Transfer shall govern. Notwithstanding anything to the contrary contained herein, the rights
and obligations that apply to Remittance Transfers are set forth in the EFTA and, as applicable, as set forth in New York law.


2. For certain transfers of funds made out of the Bank accounts, we will provide a confirmation to you by mail at the address indicated in
our records or through Online Banking if you selected paperless delivery through Online      Banking  for your depositaccount documents. The
confirmation will note the date and the amount of the transfer and the bank or institution to which the transfer was made. You agree to examine
the confirmation  promptly   upon receipt and to notify us immediately of any discrepancy between the confirmation and your records. The Bank
shall not be liable for interest compensation, as set forth below, unless the Bank is notified of the discrepancy within 30 days from the date of
your receipt of the confirmation or your bank statement including the debit for the payment order in question, whichever is earlier.

3. You agree to pay all fees as determined by ihe Bank's fee schedules for money transfers, which we may change from time to time. You
further agree to reimburse the Bank for any actual expenses we may incur to effect or revoke any transfer or perform any related act at your
request. In addition, if you specify that your wire transfer should be routed through an intermediary or “send thru" bank, that bank may impose
additional charges that will be charged to you.

4. You  expressly agree that the Bank shall be liable to you only for our negligent performance or non-perfermance of the services provided
pursuant to the Agreement, and that our responsibility thereunder shail be limited to the exercise of reasonable and ordinary care, The Bank
shail not be liable for any error or delay on the pant of any third party, including without limitation third parties used by the Bank, in executing
any payment order or performing a related act, or for any error or delay in executing a payment order or performing a related act due to any
cause other than our own failure to exercise reasonable and ordinary care, and no such third party shall be deemed to be aur agent. Further,
we shall not be liable to you or any third party for failure to execute any transfer or perform a related act if such failure is due to causes or
conditions beyond our reasonable control, including without limitations, strikes, riots, insurrection, war, military, or national emergencies, acts
of God, natural disasters, fire, outage of computers or associated equipment, or failure of transportation or communication methods or power
supplies. In no event shail the Bank be liable for special, indirect or consequential damages, including, without limitations, loss or damages
from subsequent wrongful dishonor resulting frorn Bank's acts or omissions, except as may be otherwise provided by law. Bank shall not be
liable for your attorney's fees, except as required by law. The Bank's liability shall, in the event of delay or faiture to transfer, be limited to the
interest on the amount transferred in errar, plus interest thereon from the date of the transfer until the date of the refund, but not to exceed
sixty days. Except as may be limited by applicable law, yau agree to indemnify the Bank and hold the Bank harmless (including payment of
reasonable attorney's fees) against ail liability to third parties arising out of, or in connection with, the terms and conditions of this Agreement or
the services provided thereunder or otherwise pursuant to your instructions.


5. (a) This agreement shall be governed by and interpreted according to (i) U.S. federal law and (ii) the law of the state of New York, without
reference to the principles of conflicts of law of the U.S. or of such state. (b} Wire transfers to your account or funded from your account or
otherwise funded by you may involve one or more funds transfer systems, including, without limitation, Fedwire, Clearing House Interbank
Paymenis System (CHIPS) or through Society for Worldwide Interbank Financial Telecommunication (SWIFT). Accordingly, notwithstanding
any choice of Jaw that may be provide elsewhere in this agreement, such wire transfers will be governed by the rules of any funds transfer
system through which the transfers are made, as amended from time to time, including, without limitation, Fedwire, the National Automated
Clearing House Association, any regional association (each an “ACH"), CHIPS and SWIFT. Funds transfer through Fedwire will be governed
by, and subject te, Regulation J, Subpart B, and Uniform Commercial Code Article 4A incorporated by reference thereunder. Wire transfers
through  CHIPS are  governed by,   and subject to, CHIPS Rules and Administrative Procedures and by the laws of the State of New York,
including Article 4-A of the New York Uniform Commercial Code, regardless of whether the payment message is part of a wire transfer that
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is a Remittance Transfer, except that in the case of an inconsistency between New York law and EFTA, EFTA shalt govern. With respect to
payment orders issued executed through SWIFT, the SWIFT operating rules shall govern the payment orders.

§. You are hereby notified that in the event that you provide an incorrect account number or institutional identifying number, and we are not able
to recover the funds, you may lose the amount of the payment order,


7. Except with respect to Remittance Transfers, the Bank may at its option accept your cancellations or amendments to a payment order.
You acknowledge that if the Bank attempts to cancel or amend then the reversal request or amendment must be agreed to by each financial
institution which has accepted a payment order related to the funds transfer at issue before ii will be acted upon and further agree that the
Bank shall have no    liability
                            if a cancellation or amendment is not effected. You agree that you shall indemnify and hold the Bank and offices,
directors, employees, and representatives harmless from and against any and alt claims, demands, losses, liabilities and expenses, including
attorneys’ fees and costs, resulting directly or indirectly from compliance with your cancellation or amendment request.
               RECALLING AN INTERNATIONAL WIRE TRANSFER

               Once an international wire transfer has been sent it cannot be cancelled. You may request an international wire transfer be
               recalled, and we will communicate your request to the beneficiary's bank. If the beneficiary's bank agrees to return the funds to
               us, then upon confirmation of receipt of funds in our accounts, we will credit your account at the current Bank of America buy rate
               for the currency that day. Please note that the exchange rate will be different from the original rate applied to the outgoing wire,
               which may result in a loss to you. Furthermore, the fareign bank may assess charges for their services, which will be deducted
               from the amount returned ta you. We will have no liability to    you
                                                                                 if the foreign bank or foreign beneficiary refuses your request to
               recall the international wire transfer.

               RETURNED WIRES


               If an international wire transfer is returned by the receiving
                                                                            bank for no fault of ours, we wilt credit your account at the current
               Bank of America retail buy rate far that currency that day. Please note that the exchange rate will be different from the      original
               rate applied to the outgoing wire, which may result in a loss to yau. Furthermore, the foreian bank may assess          charges
                                                                                                                                            for their
               services, which will be deducted from the amount returned ta you.



8. In the event that the Bank shall be liable to you for interest compensation hereunder or under applicable law, interest shal! be calculated on
the basis of the average Federal Funds rate at the Federal Reserve Bank of Richmond for each            day
                                                                                                      of the        period
                                                                                                                    involved camputed on the
basis of a 360-day   year and shall be remitted by (1} direct payment to you, or (2)    providing
                                                                                             a balance         earings
                                                                                                                 credit to your account with us.

9. The Bank will use best efforts to provide oral, written ar electronic notice to you of rejection of a payment order on the execution date      of the
order, provided, however, inal the Bank shall not be liable to you for interest compensation for its failure to      give
                                                                                                                    such natice.

14. if you are Sending a wire transfer to a bank account that is not denominated in U.S. Dollars ("Non-USD Account’), we recommend and we
may require that you convert your payment into the currency of the Non-USD Account (“Local Currency") and send your wire transfer in Local
Currency. If you send U.S. Dollars to a Non-USD Account, your payment may be converted into Local Currency by an intermediary bank or
the receiving bank (and we may receive compensation in connection with any such conversion}. We are not responsible for the exchange rate
applied by any intermediary bank or the receiving bank.
11, Rates. The exchange rale that Bank of America will offer you is determined by Bank of America based upon market conditions, Please note
that exchange rates for retail transactions are not the same as exchange rates for inter-bank transactions reported in The Wall Street Journal
or elsewhere. Exchange rates offered by other dealers, or shown at other sources (including online sources) may be different from Bank of
America's rates. We do not accept any liability if our rates are different from rates offered or reported by third parties, or offered by us ata
different time, at a different location, for a different transaction amount, or involving a different payment media (banknotes, check, wire transfer,
etc,),


Non Real-time Rates. !f we        assign
                                     a currency   exchange   rate to your transaction, such  exchange    rate will be determined by us based upon
market conditions. We consider many factors in setting out exchange rates, including without limitations           exchanges   rates charged by other
parties, desired rates of return, market risk and credit risk. You acknowledge that exchange rates for retail and commercial transactions, and
for transactions effected after regular business hours and on weekends, are different from the exchange rates for            large inter-bank transactions
effected during the business day, as reported in the Wall Street Journal or elsewhere. Exchange rates offered           by  other dealers, or snown at
other sources (including online sources} may be different from our rates. We do not accept any         liabilityif our rates are different from rates
offered or reported by third parties, or offered byus at a different time, at a different location, for a different transaction amount, or   invalving  a
different payment media (banknotes, check, wire transfer, etc).
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 From:              Doron Kermanian
 Sent:              Friday, March 17, 2017 12:04 PM CDT
 To:                Christopher Mora
 Subject:           doron to chris


 chris i forgot if you can contact my partner ezri namvar regarding both the property and also
 the company equity finance tell about the company and properties he also has investors that
 have interest in this invesmtn as well his number is 310 873 9575 let me know how it goes as
 well thank you.


 doron
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 From:              Doron Kermanian
 Sent:              Monday, March 20, 2017 1:22 PM CDT
 To:                Christopher Mora
 Subject:           Re: doron kermanian


 thank you chris i got call from acounting they reicieved the wire and i am relieved and now
  we can proceed with other items i shall let you know when i have more funds to wire to
 deposit on the investment and also again contact ezri namvar regarding this investmetn he is
 looking for these kinds of investments as well i send you his number 310 875 9575 and
 maybe we can do a multiple deals and profit all the bes and wish for the best to come.


 thank you again
 doron .

 On Mon, Mar 20, 2017 at 10:50 AM, Christopher Mora <cmora@equitybuildfinance.com>
 wrote:
  Hi Doron,

  Yes, I did write back to let you know that I received your scanned copy of your wire transfer.

  Then, I forwarded your scanned confirmation to EquityBuild's documents team. When the
  funds are confirmed received on EquityBuild's end, the documents team sends you a
  confirmation email.

  I am copying our documents team, to let them know you are saying you are worried that you
  have not received their email confirmation yet.

  Docs -- can you validate that you received a $25,000 wire from Doron Kermanian and provide
  the standard email confirmation back to him?

  Thank you,

  Chris



  On Mon, Mar 20, 2017 at 12:14 PM, Doron Kermanian <dkermanian425@gmail.com> wrote:
   to chris again i didnot hear from you please let me know if you recieved my wire i am
   worried i need to make sure you recieved my wire awaiting your reply back .

    thank you
    doron



                                                                                              Exhibit
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  --
  Christopher D. Mora, BA, MA, MPA, JD | Relationship Manager
  US Navy (Active, 99-03, 07-13, 16-Pres; USNR, 03-07, 13-16; Afghanistan 2013)
  University of Pennsylvania Law School, 1999; Harvard University, 2005
  University of New Orleans, 1996; US Naval War College, 2008

  EquityBuild Finance, LLC
  direct +469.371.0002
  fax +1.800.578.7161
  EquityBuildFinance.com

  Dallas, TX | Marco Island, FL | Denver, CO | Chicago, IL




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 o : 1701 18125                                                                                             CT00105
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 o : 1701 18125                                                                                           CT00106
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 o : 1701 18125                                                                                           CT00107
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 o : 1701 18125                                                                                           CT00108
           Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 318 of 370 PageID #:105701




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 o : 1701 18125                                                                                           CT00109
           Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 319 of 370 PageID #:105702




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 o : 1701 18125                                                                                           CT00110
           Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 320 of 370 PageID #:105703




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 o : 1701 18125                                                                                            CT00111
           Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 321 of 370 PageID #:105704




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 o : 1701 18125                                                                                           CT00112
           Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 322 of 370 PageID #:105705




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 o : 1701 18125                                                                                           CT00113
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 o : 17066 4060                                                                                               CT00093
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 o : 17066 4060                                                                                          CT00094
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 o : 17066 4060                                                                                          CT00095
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 o : 17066 4060                                                                                          CT00096
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 o : 17066 4060                                                                                          CT00097
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 o : 17066 4060                                                                                          CT00098
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 o : 17066 4060                                                                                          CT00099
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 o : 17066 4060                                                                                           CT00100
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 o : 17066 4060                                                                                           CT00101
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 o : 17066 4060                                                                                           CT00102
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 o : 17066 4060                                                                                           CT00103
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 o : 172861 0 8                                                                                                           CT00089
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 o : 172861 0 8                                                                                          CT00090
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 o : 172861 0 8                                                                                           CT00091
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AL TA COMMITMENT FOR TITLE INSURANCE
                                                                                                             Commitment Number:

             CHICAGO TITLE INSURANCE COMPANY
                                                                                                               18006574LFE
                                                                                                                Revision 1

                                                                       NOTICE

IMPORTANT - READ CAREFULLY: THIS COMMITMENT IS AN OFFER TO ISSUE ONE OR MORE TITLE
INSURANCE POLICIES. ALL CLAIMS OR REMEDIES SOUGHT AGAINST THE COMPANY INVOLVING THE
CONTENT OF THIS COMMITMENT OR THE POLICY MUST BE BASED SOLELY IN CONTRACT.
THIS COMMITMENT IS NOT AN ABSTRACT OF TITLE, REPORT OF THE CONDITION OF TITLE, LEGAL OPINION,
OPINION OF TITLE, OR OTHER REPRESENTATION OF THE STATUS OF TITLE. THE PROCEDURES USED BY
THE COMPANY TO DETERMINE INSURABILITY OF THE TITLE, INCLUDING ANY SEARCH AND EXAMINATION,
ARE PROPRIETARY TO THE COMPANY, WERE PERFORMED SOLELY FOR THE BENEFIT OF THE COMPANY,
AND CREATE NO EXTRACONTRACTUAL LIABILITY TO ANY PERSON, INCLUDING A PROPOSED INSURED.
THE COMPANY'S OBLIGATION UNDER THIS COMMITMENT IS TO ISSUE A POLICY TO A PROPOSED INSURED
IDENTIFIED IN SCHEDULE A IN ACCORDANCE WITH THE TERMS AND PROVISIONS OF THIS COMMITMENT.
THE COMPANY HAS NO LIABILITY OR OBLIGATION INVOLVING THE CONTENT OF THIS COMMITMENT TO ANY
OTHER PERSON.
                                                      COMMITMENT TO ISSUE POLICY
Subject to the Notice; Schedule B, Part I-Requirements; Schedule B, Part II-Exceptions; and the Commitment Conditions,
Chicago Title Insurance Company, a Florida corporation (the "Company"), commits to issue the Policy according to the
terms and provisions of this Commitment. This Commitment is effective as of the Commitment Date shown in Schedule A
for each Policy described in Schedule A, only when the Company has entered in Schedule A both the specified dollar
amount as the Proposed Policy Amount and the name of the Proposed Insured.
If all of the Schedule B, Part I-Requirements have not been met within one hundred eighty (180) days after the
Commitment Date, this Commitment terminates and the Company's liability and obligation end.

                                                                                            Chicago Title Insurance Company
                                                                                            By:




                                                                                                                     President
                                                                                            Attest:



                                                                                                                     Secretary


                                                                                                                                         Exhibit
                                                                                                                                                                   exhibitsticker.com




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                                                                                                                                                  -
Notice; the Commitment to Issue Policy; the Commitment Conditions; Schedule A; Schedule B, Parl I-Requirements; Schedule B, Parl II-Exceptions; and a
counter-signature by the Company or its issuing agent that may be in electronic form.
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                                                                                                                    DIRECT LENDING0005087
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                                                                                                         COMMITMENT NO. 18006574LFE
CHICAGO TITLE INSURANCE COMPANY                                                                                          REVISION 1
Transaction Identification Data for reference only:

                           ORIGINATING OFFICE:                                            FOR SETTLEMENT INQUIRIES, CONTACT:
                      Chicago Title Company, LLC                                                Chicago Title and Trust Company
                   10 South LaSalle Street, Suite 2930                                      10 South LaSalle Street, Suite 2930
                           Chicago, IL 60603                                                        Chicago, IL 60603
                       Main Phone: 312-223-2809                                    Main Phone: (312)223-2801 Main Fax: 312-223-2920
                    Email: loopcommercial@ctt.com

Issued By: Chicago Title Company, LLC
           10 South LaSalle Street, Suite 2930
           Chicago, IL 60603
Order Number: 18006574LFE
Property Ref.: 6160-6212 S King Dr, Chicago, IL 60637

                                                                   SCHEDULE A

1.   Commitment Date: March 28, 2018
2.   Policy to be issued:

     (a) ALTA Loan Policy 2006
         Proposed Insured:                          Arena DLP Lender, LLC ISAOA/ATIMA, its successors and/or assigns as their
                                                    respective interests may appear
           Proposed Policy Amount:                  $2,923,500.00

3.   The estate or interest in the Land described or referred to in this Commitment is:
           Fee Simple
4.   Title to the estate or interest in the Land is at the Commitment Date vested in:
           EquityBuild, Inc.
5.   The Land is described as follows:
           PARCEL 1:

           THE SOUTH 1 AND 3/4 INCHES OF LOT 9 IN BLOCK 1 IN ISAAC PFLAUM'S SUBDIVISION OF LOT 6
           AND THAT PART OF LOT 12 LYING NORTH OF THE SOUTH LINE OF LOT 6 IN WILSON, HEALD
           AND STEBBIN'S SUBDIVISION OF THE EAST 1/2 OF THE SOUTHWEST 1/4 OF SECTION 15;

           PARCEL 2:

           LOTS 1 TO 8 IN BLOCK 1 IN DAVIDSON SUBDIVISION OF BLOCKS 7 AND 8 AND PART OF BLOCK
           12 IN WILSON, HEALD AND STEBBIN'S SUBDIVISION OF THE EAST 1/2 OF SOUTHWEST 1/4 OF
           SECTION 15, TOWNSHIP 38 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN, IN
           COOK COUNTY, ILLINOIS.

                                                                END OF SCHEDULE A



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Notice; the Commitment to Issue Policy; the Commitment Conditions; Schedule A; Schedule B, Parl I-Requirements; Schedule B, Parl II-Exceptions; and a
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                                                                                                                    DIRECT LENDING0005088
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                                                                                                         COMMITMENT NO. 18006574LFE
CHICAGO TITLE INSURANCE COMPANY                                                                                          REVISION 1

                                                           SCHEDULE B, PART I
                                                             REQUIREMENTS

All of the following Requirements must be met:
1.         The Proposed Insured must notify the Company in writing of the name of any party not referred to in this
           Commitment who will obtain an interest in the Land or who will make a loan on the Land. The Company may then
           make additional Requirements or Exceptions.

2.         Pay the agreed amount for the estate or interest to be insured.

3.         Pay the premiums, fees, and charges for the Policy to the Company.

4.         Documents satisfactory to the Company that convey the Title or create the Mortgage to be insured, or both, must
           be properly authorized, executed, delivered, and recorded in the Public Records.

5.         Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
           distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
           Land that is associated with these activities.

6.         Be advised that the "good funds" of the title insurance act (215 ILCS 155/26) became effective 1-1-2010. This act
           places limitations upon the settlement agent's ability to accept certain types of deposits into escrow. Please
           contact your local Chicago Title office regarding the application of this new law to your transaction.

7.         Effective June 1, 2009, pursuant to Public Act 95-988, satisfactory evidence of identification must be presented for
           the notarization of any and all documents notarized by an Illinois notary public. Satisfactory identification
           documents are documents that are valid at the time of the notarial act; are issued by a state or federal government
           agency; bear the photographic image of the individual's face; and bear the individual's signature.

8.         The Proposed Policy Amount(s) must be increased to the full value of the estate or interest being insured,
           and any additional premium must be paid at that time. An Owner's Policy should reflect the purchase
           price or full value of the Land. A Loan Policy should reflect the loan amount or value of the property as
           collateral. Proposed Policy Amount(s) will be revised and premiums charged consistent therewith when
           the final amounts are approved.

                                                        END OF SCHEDULE B, PART I




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                                                                                                                    DIRECT LENDING0005089
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                                                                                                         COMMITMENT NO. 18006574LFE
CHICAGO TITLE INSURANCE COMPANY                                                                                          REVISION 1

                                                           SCHEDULE B, PART II
                                                              EXCEPTIONS

THIS COMMITMENT DOES NOT REPUBLISH ANY COVENANT, CONDITION, RESTRICTION, OR LIMITATION
CONTAINED IN ANY DOCUMENT REFERRED TO IN THIS COMMITMENT TO THE EXTENT THAT THE SPECIFIC
COVENANT, CONDITION, RESTRICTION, OR LIMITATION VIOLATES STATE OR FEDERAL LAW BASED ON RACE,
COLOR, RELIGION, SEX, SEXUAL ORIENTATION, GENDER IDENTITY, HANDICAP, FAMILIAL STATUS, OR
NATIONAL ORIGIN.
The Policy will not insure against loss or damage resulting from the terms and provisions of any lease or easement
identified in Schedule A, and will include the following Exceptions unless cleared to the satisfaction of the Company:

           1.         General Exceptions

           2.         Rights or claims of parties in possession not shown by Public Records.

           3.         Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the title
                      that would be disclosed by an accurate and complete land survey of the Land.

           4.         Easements, or claims of easements, not shown by the Public Records.

           5.         Any lien, or right to a lien, for services, labor or material heretofore or hereafter furnished,
                      imposed by law and not shown by the Public Records.

           6.         Taxes or special assessments which are not shown as existing liens by the Public Records.

           7.         We should be furnished a properly executed ALTA statement and, unless the land insured is a
                      condominium unit, a survey if available. Matters disclosed by the above documentation will be
                      shown specifically.

           8.         Any defect, lien, encumbrance, adverse claim, or other matter that appears for the first time in the Public
                      Records or is created, attaches, or is disclosed between the Commitment Date and the date on which all
                      of the Schedule B, Part I-Requirements are met.




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                                                                                                                    DIRECT LENDING0005090
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                                                                                                         COMMITMENT NO. 18006574LFE
CHICAGO TITLE INSURANCE COMPANY                                                                                          REVISION 1

                                                            SCHEDULE B, PART II
                                                               EXCEPTIONS
                                                                      (continued)

A          9.
                      1.         Taxes for the year(s) 2016, 2017 and 2018
                                 2018 taxes are not yet due or payable.

                        1A.      Note: 2017 first installment was due March 1, 2018
                                 Note: 2017 final installment not yet due or payable

                      Perm tax#                     Pel      Year       1st Inst            Stat
                      20-15-317-039-0000            1 of2    2017       Not Billed
                      20-15-31 7-040-0000           2 of2    2017       $18,609.13          Unpaid

                      Perm tax# 20-15-317-040-0000 Pel 2 of 2 Year 2016 Volume 257

                      2A      The general taxes as shown below

                           Year                 Amount
                           2016                 $33,834.79

                           The first estimated installment amounting to $16,954.21 is paid
                           The final installment amounting to $16,880.58 is unpaid

E          10.        Mortgage dated November 9, 2016 and recorded January 13, 2017 as Document No. 1701318125 made
                      by EquityBuild, Inc. to The Persons Listed on Exhibit A to the Mortgage c/o EquityBuild Finance, LLC to
                      secure an indebtedness in the amount of $4,370,000.00.

                      As corrected by Corrective Recording, recorded March 7, 2017 as Document No. 1706634060, to correct
                      the investors listed on Exhibit A to the Mortgage.

                      Assignment of Partial Interest in Mortgage, in which 2nd City Solo 401 K Trust, as represented by Leah
                      Matthews, assigns its beneficial interest in the mortgage to The Entrust Group FBO Daniel Matthews IRA
                      Acct #51-01005, recorded October 13, 2017 as Document No. 1728613038.

                      The original, canceled note or notes secured by the mortgage to be satisfied must be submitted to the
                      Company.


                      For each entity to join in the release of said Mortgage, the appropriate authority documentation (e.g, entity
                      standing, list of authorized signatories, resolutions, if necessary, etc .. ) should be furnished.




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                                                                                                                    DIRECT LENDING0005091
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                                                                                                         COMMITMENT NO. 18006574LFE
CHICAGO TITLE INSURANCE COMPANY                                                                                          REVISION 1

                                                           SCHEDULE B, PART II
                                                              EXCEPTIONS
                                                                      (continued)

F          11.        The Company will require the following documents for review prior to the issuance of any title insurance
                      predicated upon a conveyance or encumbrance by the corporation named below:

                      Name of Corporation:          EquityBuild, Inc.

                      a)    A Copy of the corporation By-laws and Articles of Incorporation

                      b)    An original or certified copy of a resolution authorizing the transaction contemplated herein

                      c) If the Articles and/or By-laws require approval by a 'parent' organization, a copy of the Articles and
                      By-laws
                          of the parent

                      d) A current dated certificate of good standing from the proper governmental authority of the state in
                      which the
                          entity was created

                      The Company reserves the right to add additional items or make further requirements after review of the
                      requested documentation.

L          12.        The Company will require the following documents for review prior to the issuance of any title insurance
                      predicated upon a conveyance or encumbrance from the entity named below.

                      Limited Liability Company: SSDF6 6160 S MLK LLC, an Illinois Limited liability company

                      a.    A copy of its operating agreement, if any, and any and all amendments, supplements and/or
                            modifications thereto, certified by the appropriate manager or member.

                      b.    If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendment
                            thereto with the appropriate filing stamps.

                      c.    If the Limited Liability Company is member-managed a full and complete current list of members
                            certified by the appropriate manager or member.

                      d. A current dated certificate of good standing from the proper governmental authority of the state in
                      which
                          the entity was created

                      e.    If less than all members, or managers, as appropriate, will be executing the closing documents,
                            furnish evidence of the authority of those signing.

                      The Company reserves the right to add additional items or make further requirements after review of the
                      requested documentation.



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                                                                          Page 6                           IL-CT-FSWM-01080.225141-SPS-1-18-18006574LFE




                                                                                                                    DIRECT LENDING0005092
       Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 343 of 370 PageID #:105726

                                                                                                         COMMITMENT NO. 18006574LFE
CHICAGO TITLE INSURANCE COMPANY                                                                                          REVISION 1

                                                           SCHEDULE B, PART II
                                                              EXCEPTIONS
                                                                      (continued)

G          13.        Municipal Real Estate Transfer Tax Stamps (or proof of exemption) must accompany any conveyance and
                      certain other transfers or property located in Chicago. Please contact said municipality prior to closing for
                      its specific requirements, which may include the payment of fees, an inspection or other approvals.

B          14.        Encroachment of the steps attached mainly to the building located on the Land over and onto the property
                      East and adjoining the Land by undisclosed distances as shown on the Plat of survey made by Stonelake
                      Survey Co., Ltd, dated August 14, 2009, order No. 9044ALTAUPDATE.

C          15.        Encroachment of the 2 story building located mainly on the Northeast corner of the Land over and onto the
                      property North and adjoining the Land by .14 Of a foot and over the property to the East by.10 Of a foot as
                      shown on the Plat of survey made by Stonelake Survey Co., Ltd, dated August 14, 2009, order No.
                      9044ALTAUPDATE.

D          16.        Easement in favor of Comcast of Illinois, Inc. , and its/their respective successors and assigns, to install,
                      operate and maintain all equipment necessary for the purpose of serving the Land and other property,
                      together with the right of access to said equipment, and the provisions relating thereto contained in the
                      grant recorded/filed as Document No. 1300744112.

                      Note: The document does not depict the location of the easement. For further particulars see record.

H          17.        The Company may pay current year Cook County taxes when furnished an original tax bill at or before the
                      time the Company is requested to make payments. If an original tax bill is not furnished, the Company will
                      pay current taxes via ach payment, which results in an additional $7 duplicate tax bill fee payable to Cook
                      County and collected from the taxpayer at closing.

           18.        Effective June 1, 2009, if any document of conveyance for Cook County Residential Real Property is to be
                      notarized by an Illinois notary public, Public Act 95-988 requires the completion of a Notarial Record for
                      each grantor whose signature is notarized. The Notarial Record will include the thumbprint or fingerprint
                      of the grantor. The grantor must present identification documents that are valid; are issued by a state or
                      federal government agency, or consulate; bear the photographic image of the individual's face; and bear
                      the individual's signature. The Company will charge a fee of $25.00 per Notarial Record.

J          19.        Note: The land lies within a county which is subject to the Predatory Lending Database Act (765 ILCS
                      77/70 et seq. as amended). A Certificate of Compliance with the act or a Certificate of Exemption
                      therefrom must be obtained at time of closing in order for the Company to record any insured mortgage. If
                      the closing is not conducted by the company, a certificate of compliance or a certificate of exemption must
                      be attached to any mortgage to be recorded.

                      Note: for Kane, Will and Peoria counties, the act applies to mortgages recorded on or after July 1, 2010.




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Notice; the Commitment to Issue Policy; the Commitment Conditions; Schedule A; Schedule B, Parl I-Requirements; Schedule B, Parl II-Exceptions; and a
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                                                                          Page 7                           IL-CT-FSWM-01080.225141-SPS-1-18-18006574LFE




                                                                                                                    DIRECT LENDING0005093
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                                                                                                         COMMITMENT NO. 18006574LFE
CHICAGO TITLE INSURANCE COMPANY                                                                                          REVISION 1

                                                           SCHEDULE B, PART II
                                                              EXCEPTIONS
                                                                      (continued)

K          20.        All endorsement requests should be made prior to closing to allow ample time for the company to examine
                      required documentation. (This note will be waived for policy).


                                                        END OF SCHEDULE B, PART II




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                                                                          Page 8                           IL-CT-FSWM-01080.225141-SPS-1-18-18006574LFE




                                                                                                                    DIRECT LENDING0005094
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                                                                                                             COMMITMENT NO. 18006574LFE
CHICAGO TITLE INSURANCE COMPANY                                                                                              REVISION 1

                                                            COMMITMENT CONDITIONS

1.   DEFINITIONS
     (a)   "Knowledge" or "Known": Actual or imputed knowledge, but not constructive notice imparted by the Public Records.
     (b)   "Land": The land described in Schedule A and affixed improvements that by law constitute real property. The term "Land" does not include
           any property beyond the lines of the area described in Schedule A, nor any right, title, interest, estate, or easement in abutting streets, roads,
           avenues, alleys, lanes, ways, or waterways, but this does not modify or limit the extent that a right of access to and from the Land is to be
           insured by the Policy.
     (c)   "Mortgage": A mortgage, deed of trust, or other security instrument, including one evidenced by electronic means authorized by law.
     (d)   "Policy": Each contract of title insurance, in a form adopted by the American Land Title Association, issued or to be issued by the Company
           pursuant to this Commitment.
     (e)   "Proposed Insured": Each person identified in Schedule A as the Proposed Insured of each Policy to be issued pursuant to this Commitment.
     (f)   "Proposed Policy Amount": Each dollar amount specified in Schedule A as the Proposed Policy Amount of each Policy to be issued pursuant
           to this Commitment.
     (g)   "Public Records": Records established under state statutes at the Commitment Date for the purpose of imparting constructive notice of
           matters relating to real property to purchasers for value and without Knowledge.
     (h)   "Title": The estate or interest described in Schedule A.
2.   If all of the Schedule B, Part I-Requirements have not been met within the time period specified in the Commitment to Issue Policy, this
     Commitment terminates and the Company's liability and obligation end.
3.   The Company's liability and obligation is limited by and this Commitment is not valid without:
     (a) the Notice;
     (b)   the Commitment to Issue Policy;
     (c)   the Commitment Conditions;
     (d)   Schedule A;
     (e)   Schedule B, Part I-Requirements;
     (f)   Schedule B, Part II-Exceptions; and
     (g)   a counter-signature by the Company or its issuing agent that may be in electronic form.
4.   COMPANY'S RIGHT TO AMEND
     The Company may amend this Commitment at any lime. If the Company amends this Commitment to add a defect, lien, encumbrance, adverse
     claim, or other matter recorded in the Public Records prior to the Commitment Date, any liability of the Company is limited by Commitment
     Condition 5. The Company shall not be liable for any other amendment to this Commitment.
5.   LIMITATIONS OF LIABILITY
     (a)   The Company's liability under Commitment Condition 4 is limited to the Proposed lnsured's actual expense incurred in the interval between
           the Company's delivery to the Proposed Insured of the Commitment and the delivery of the amended Commitment, resulting from the
           Proposed lnsured's good faith reliance to:
           (i)     comply with the Schedule B, Part I-Requirements;
           (ii)    eliminate, with the Company's written consent, any Schedule B, Part II-Exceptions; or
           (iii)   acquire the Title or create the Mortgage covered by this Commitment.
     (b)   The Company shall not be liable under Commitment Condition 5(a) if the Proposed Insured requested the amendment or had Knowledge of
           the matter and did not notify the Company about ii in writing.
     (c)   The Company will only have liability under Commitment Condition 4 if the Proposed Insured would not have incurred the expense had the
           Commitment included the added matter when the Commitment was first delivered to the Proposed Insured.
     (d)   The Company's liability shall not exceed the lesser of the Proposed lnsured's actual expense incurred in good faith and described in
           Commitment Conditions 5(a)(i) through 5(a)(iii) or the Proposed Policy Amount.
     (e)   The Company shall not be liable for the content of the Transaction Identification Data, if any.
     (f)   In no event shall the Company be obligated to issue the Policy referred to in this Commitment unless all of the Schedule B,
           Part I-Requirements have been met to the satisfaction of the Company.
     (g)   In any event, the Company's liability is limited by the terms and provisions of the Policy.
6.   LIABILITY OF THE COMPANY MUST BE BASED ON THIS COMMITMENT
     (a)   Only a Proposed Insured identified in Schedule A, and no other person, may make a claim under this Commitment.


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Notice; the Commitment to Issue Policy; the Commitment Conditions; Schedule A; Schedule B, Parl I-Requirements; Schedule B, Parl II-Exceptions; and a
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                                                                                                                      DIRECT LENDING0005095
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                                                                                                           COMMITMENT NO. 18006574LFE
CHICAGO TITLE INSURANCE COMPANY                                                                                            REVISION 1

                                                                       (continued)

     (b)   Any claim must be based in contract and must be restricted solely to the terms and provisions of this Commitment.
     (c)   Until the Policy is issued, this Commitment, as last revised, is the exclusive and entire agreement between the parties with respect to the
           subject matter of this Commitment and supersedes all prior commitment negotiations, representations, and proposals of any kind, whether
           written or oral, express or implied, relating to the subject matter of this Commitment.
     (d)   The deletion or modification of any Schedule B, Part II-Exception does not constitute an agreement or obligation to provide coverage beyond
           the terms and provisions of this Commitment or the Policy.
     (e)   Any amendment or endorsement to this Commitment must be in writing and authenticated by a person authorized by the Company.
     (f)   When the Policy is issued, all liability and obligation under this Commitment will end and the Company's only liability will be under the Policy.
7.   IF THIS COMMITMENT HAS BEEN ISSUED BY AN ISSUING AGENT
     The issuing agent is the Company's agent only for the limited purpose of issuing title insurance commitments and policies. The issuing agent is
     not the Company's agent for the purpose of providing closing or settlement services.
8.   PRO-FORMA POLICY
     The Company may provide, at the request of a Proposed Insured, a pro-forma policy illustrating the coverage that the Company may provide. A
     pro-forma policy neither reflects the status of Title at the time that the pro-forma policy is delivered to a Proposed Insured, nor is it a commitment
     to insure.
9.   ARBITRATION
     The Policy contains an arbitration clause. All arbitrable matters when the Proposed Policy Amount is Two Million And No/100 Dollars
     ($2,000,000.00) or less shall be arbitrated at the option of either the Company or the Proposed Insured as the exclusive remedy of the parties. A
     Proposed Insured may review a copy of the arbitration rules at http://www.alta.org/arbitration.

                                                                END OF CONDITIONS


                                                           1031 EXCHANGE SERVICES

If your transaction involves a tax deferred exchange, we offer this service through our 1031 division, IPX1031. As
the nation's largest 1031 company, IPX1031 offers guidance and expertise. Security for Exchange funds includes
segregated bank accounts and a 100 million dollar Fidelity Bond. Fidelity National Title Group also provides a
50 million dollar Performance Guaranty for each Exchange. For additional information, or to set-up an Exchange,
please call Scott Nathanson at (312)223-2178 or Anna Barsky at (312)223-2169.




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                                                                                                                      DIRECT LENDING0005096
    Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 347 of 370 PageID #:105730



                                                    ™   I Inquire before you wire!



                                                           WIRE FRAUD ALERT
                                     This Notice is not intended to provide legal or professional advice.
                                          If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of
dollars because they simply relied on the wire instructions received via email, without further verification. If funds
are to be wired in conjunction with this real estate transaction, we strongly recommend verbal verification
of wire instructions through a known, trusted phone number prior to sending funds.

In addition, the following non-exclusive self-protection strategies are recommended to minimize exposure to
possible wire fraud.

•     NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
      instructions in the course of a transaction.

•    ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the
     party who sent the instructions to you. DO NOT use the phone number provided in the email containing the
     instructions, use phone numbers you have called before or can otherwise verify. Obtain the number of
     relevant parties to the transaction as soon as an escrow account is opened. DO NOT send an email to
     verify as the email address may be incorrect or the email may be intercepted by the fraudster.

•    USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols.
     Make your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse
     the same password for other on line accounts.

•    USE MULTI-FACTOR AUTHENTICATION for email accounts.                                           Your email provider or IT staff may have
     specific instructions on how to implement this feature.

For more information on wire-fraud scams or to report an incident, please refer to the following links:

           Federal Bureau of Investigation:                                                           Internet Crime Complain Center:
                  http://www. fbi. gov                                                                        http://www.ic3.gov




Wire Fraud Alert                                                                                                                                       Page 11
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                        18006574LFE -WIRE0016 (OSI Rev. 12/07/17)
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                                                                                                                           DIRECT LENDING0005097
To:        Nutley, Cheryl[Cheryl.Nutley@CTT.com]
Cc:          Case:
           Lange,     1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 348 of 370 PageID #:105731
                   Alice[alice.lange@ctt.com]
From:      Patty San Martin[PSanMartin@rfclaw.com]
Sent:      Tue 5/22/2018 11:41:20 AM (UTC-07:00)
Subject:   RE: 18006574lfe

 IMPORTANT NOTICE - This message sourced from an external mail server outside of the Company.
 I will let them know.

 Thank you,

 Patty

 Patricia San Martin
 Rock Fusco & Connelly, LLC
 321 N. Clark Street, Suite 2200
 Chicago, Illinois 60654
 312.494.1000 (p) 312.494.1001 (f)
 psanmartin@rfclaw.com I http://www.rfclaw.com



 From: Nutley, Cheryl [mailto:Cheryl.Nutley@CTT.com]
 Sent: Tuesday, May 22, 2018 1:39 PM
 To: Patty San Martin <PSanMartin@rfclaw.com>
 Cc: Lange, Alice <alice.lange@ctt.com>
 Subject: RE: 18006574lfe

 We will need to see before closing a copy of the note and assignment of note and we would need a statement from both assignees
 that no funds are due and owing for the release being presented for recording.

 CHERYL NUTLEY
 CHICAGO TITLE



 10 S. LASALLE STREET SUITE 2930
 CHICAGO, IL 60603

 PHONE 312-223-3616
 FAX 312-223-3638

 BE AWARE!
 ONLINE BANKING FRAUD IS ON THE RISE.
 IF YOU RECEIVE AN EMAIL CONTAINING
 WIRE TRANSFER INSTRUCTIONS
 CALL YOUR ESCROW OFFICER IMMEDIATELY                                                                       Exhibit
                                                                                                                          exhibitsticker.com




 TO VERIFY THE INFORMATION PRIOR TO
 SENDING FUNDS.                                                                                                20


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 not the intended recipient of this communication, you are hereby notified to: (i) delete the message and all copies; (ii) do
 not disclose, distribute or use the message in any manner; and (iii) notify the sender immediately.

 From: Patty San Martin [mailto:PSanMartin@rfclaw.com]                                                           CT03140
 Sent: Tuesday, May 22, 2018 1:31 PM
To: Nutley, Cheryl
            Case:<Cheryl.Nutley@CTT.com>
                   1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 349 of 370 PageID #:105732
Subject: RE: 18006574lfe

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There is no payoff. They are releasing the mortgage. We will have two original releases to record at closing. also, please do not
forget that we are recording the quit claim deed.

Please send me the revised statement.

Thank you,

Patty

Patricia San Martin
Rock Fusco & Connelly, LLC
321 N. Clark Street, Suite 2200
Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
psanmartin@rfclaw.com I http://www.rfclaw.com



From: Nutley, Cheryl [mailto:Cheryl.Nutley@CTT.com]
Sent: Tuesday, May 22, 2018 12:46 PM
To: Patty San Martin <PSanMartin@rfclaw.com>
Subject: RE: 18006574lfe

I will make this change and add atty fees do you have a payoff letter?

CHERYL NUTLEY
CHICAGO TITLE



10 S. LASALLE STREET SUITE 2930
CHICAGO, IL 60603

PHONE 312-223-3616
FAX 312-223-3638

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not disclose, distribute or use the message in any manner; and (iii) notify the sender immediately.

From: Patty San Martin [mailto:PSanMartin@rfclaw.com]
Sent: Tuesday, May 22, 2018 11:39 AM
To: Lange, Alice <alice.lange@ctt.com>                                                                                 CT03141
Cc: Nutley, Cheryl
            Case:<Cheryl.Nutley@CTT.com>
                   1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 350 of 370 PageID #:105733
Subject: RE: 18006574lfe

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Terrific. Thanks.

Thank you,

Patty

Patricia San Martin
Rock Fusco & Connelly, LLC
321 N. Clark Street, Suite 2200
Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
psanmartin@rfclaw.com I http://www.rfclaw.com



From: Lange, Alice [mailto:alice.lange@ctt.com]
Sent: Tuesday, May 22, 2018 11:36 AM
To: Patty San Martin <PSanMartin@rfclaw.com>
Cc: Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Subject: RE: 18006574lfe

I will agree to 150%.

Cheryl, go ahead and reduce.

Best Regards,

Alice Lange
Loop Area Senior Underwriter – Commercial and Residential
10 S. LaSalle St.
Suite 2850
Chicago, IL 60565
Chicago Title Insurance Company
312.223.2990
alice.lange@ctt.com
cttcastleconnect.com




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From: Patty San Martin [mailto:PSanMartin@rfclaw.com]
Sent: Tuesday, May 22, 2018 10:56 AM
To: Lange, Alice <alice.lange@ctt.com>; Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Subject: RE: 18006574lfe

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I know that CT holds more than they have to but can we hold 150% instead of 200%?

Thank you,
                                                                                                                        CT03142
Patty        Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 351 of 370 PageID #:105734
Patricia San Martin
Rock Fusco & Connelly, LLC
321 N. Clark Street, Suite 2200
Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
psanmartin@rfclaw.com I http://www.rfclaw.com



From: Lange, Alice [mailto:alice.lange@ctt.com]
Sent: Tuesday, May 22, 2018 10:49 AM
To: Patty San Martin <PSanMartin@rfclaw.com>; Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Subject: RE: 18006574lfe

6 to 8 weeks

Best Regards,

Alice Lange
Loop Area Senior Underwriter – Commercial and Residential
10 S. LaSalle St.
Suite 2850
Chicago, IL 60565
Chicago Title Insurance Company
312.223.2990
alice.lange@ctt.com
cttcastleconnect.com




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From: Patty San Martin [mailto:PSanMartin@rfclaw.com]
Sent: Tuesday, May 22, 2018 9:58 AM
To: Lange, Alice <alice.lange@ctt.com>; Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Subject: RE: 18006574lfe

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Ok. I will let the client know. Do you have an idea of when the county will start to issue the redemptions?

Thank you,

Patty

Patricia San Martin
Rock Fusco & Connelly, LLC
321 N. Clark Street, Suite 2200
Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
psanmartin@rfclaw.com I http://www.rfclaw.com


                                                                                                                        CT03143
From: Lange,  Alice [mailto:alice.lange@ctt.com]
            Case:    1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 352 of 370 PageID #:105735
Sent: Tuesday, May 22, 2018 9:55 AM
To: Nutley, Cheryl <Cheryl.Nutley@CTT.com>; Patty San Martin <PSanMartin@rfclaw.com>
Subject: RE: 18006574lfe

Agreed, we are unable to redeem as the county will not issue an estimate of redemption at this time. We will need to set up a title
indemnity for all unsold taxes at 200%.

Best Regards,

Alice Lange
Loop Area Senior Underwriter – Commercial and Residential
10 S. LaSalle St.
Suite 2850
Chicago, IL 60565
Chicago Title Insurance Company
312.223.2990
alice.lange@ctt.com
cttcastleconnect.com




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distribute or use the message in any manner; and (iii) notify the sender immediately.

From: Nutley, Cheryl
Sent: Tuesday, May 22, 2018 9:30 AM
To: Patty San Martin <PSanMartin@rfclaw.com>; Lange, Alice <alice.lange@ctt.com>
Subject: RE: 18006574lfe

I don’t think so because the tax sale is going on. Alice can you please confirm or let us know

CHERYL NUTLEY
CHICAGO TITLE



10 S. LASALLE STREET SUITE 2930
CHICAGO, IL 60603

PHONE 312-223-3616
FAX 312-223-3638

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ONLINE BANKING FRAUD IS ON THE RISE.
IF YOU RECEIVE AN EMAIL CONTAINING
WIRE TRANSFER INSTRUCTIONS
CALL YOUR ESCROW OFFICER IMMEDIATELY
TO VERIFY THE INFORMATION PRIOR TO
SENDING FUNDS.



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                                                                                                                 If you are
not the intended recipient of this communication, you are hereby notified to: (i) delete the message and all copies; (ii) do
not disclose, distribute
           Case:         or use the message
                    1:18-cv-05587           in any
                                     Document   #: manner; and (iii)
                                                   1537 Filed:       notify Page
                                                               11/08/23     the sender
                                                                                  353 immediately.
                                                                                       of 370 PageID #:105736
From: Patty San Martin [mailto:PSanMartin@rfclaw.com]
Sent: Tuesday, May 22, 2018 9:29 AM
To: Nutley, Cheryl <Cheryl.Nutley@CTT.com>; Lange, Alice <alice.lange@ctt.com>
Subject: RE: 18006574lfe

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Can’t we redeem the sold taxes and pay the 1st installment at closing?

Thank you,

Patty

Patricia San Martin
Rock Fusco & Connelly, LLC
321 N. Clark Street, Suite 2200
Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
psanmartin@rfclaw.com I http://www.rfclaw.com



From: Nutley, Cheryl [mailto:Cheryl.Nutley@CTT.com]
Sent: Tuesday, May 22, 2018 9:16 AM
To: Lange, Alice <alice.lange@ctt.com>
Cc: Patty San Martin <PSanMartin@rfclaw.com>
Subject: 18006574lfe

Please take a look at the taxes on this file in think we will need a title indemnity. Please advise

CHERYL NUTLEY
CHICAGO TITLE



10 S. LASALLE STREET SUITE 2930
CHICAGO, IL 60603

PHONE 312-223-3616
FAX 312-223-3638

BE AWARE!
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IF YOU RECEIVE AN EMAIL CONTAINING
WIRE TRANSFER INSTRUCTIONS
CALL YOUR ESCROW OFFICER IMMEDIATELY
TO VERIFY THE INFORMATION PRIOR TO
SENDING FUNDS.



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not disclose, distribute or use the message in any manner; and (iii) notify the sender immediately.
                                                                                                                CT03145
To:      Carrillo, Veronica[Veronica.Carrillo@ctt.com]
From:      Case:
         Lange,      1:18-cv-05587 Document #: 1537 Filed:
                  Alice[/O=EXCHANGELABS/OU=EXCHANGE               11/08/23 Page
                                                             ADMINISTRATIVE        354 of 370 PageID #:105737
                                                                                GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=CD2EE43045B84EB4A9F8BCFCA50D0B9A-LANGE, ALIC]
Sent:    Wed 5/23/2018 12:25:47 PM (UTC-07:00)
Subject: RE: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:

 We need to make sure this is paid with another document to support the release without a payoff.

 Best Regards,

 Alice Lange
 Loop Area Senior Underwriter – Commercial and Residential
 10 S. LaSalle St.
 Suite 2850
 Chicago, IL 60565
 Chicago Title Insurance Company
 312.223.2990
 alice.lange@ctt.com
 cttcastleconnect.com




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 intended recipient of this communication, you are hereby notified to: (i) delete the message and all copies; (ii) do not disclose,
 distribute or use the message in any manner; and (iii) notify the sender immediately.

 From: Carrillo, Veronica
 Sent: Wednesday, May 23, 2018 2:16 PM
 To: Lange, Alice <alice.lange@ctt.com>
 Subject: FW: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:

 Hi Alice,

 Cheryl says that you were working with Patty on this file. Do we really need the original note? Attached are the 2 purposed
 releases.

 Veronica Carrillo |   Chicago Title Insurance Company | 312.223.2847 | veronica.carrillo@ctt.com




 From: Patty San Martin [mailto:PSanMartin@rfclaw.com]
 Sent: Wednesday, May 23, 2018 2:14 PM
 To: Carrillo, Veronica <Veronica.Carrillo@ctt.com>; Nutley, Cheryl <Cheryl.Nutley@CTT.com>
 Subject: RE: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:

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 I have to find out from the borrower. Will it be an issue if they don’t have it?

 Thank you,

 Patty                                                                                                Exhibit
                                                                                                                     exhibitsticker.com




 Patricia San Martin
 Rock Fusco & Connelly, LLC                                                                              21
 321 N. Clark Street, Suite 2200                                                                                                          CT02571
 Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
           Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 355 of 370 PageID #:105738
psanmartin@rfclaw.com I http://www.rfclaw.com



From: Carrillo, Veronica [mailto:Veronica.Carrillo@ctt.com]
Sent: Wednesday, May 23, 2018 2:08 PM
To: Patty San Martin <PSanMartin@rfclaw.com>; Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Subject: RE: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:

Hi Patty,

Do you have the original note?

Veronica Carrillo |   Chicago Title Insurance Company | 312.223.2847 | veronica.carrillo@ctt.com




From: Patty San Martin [mailto:PSanMartin@rfclaw.com]
Sent: Wednesday, May 23, 2018 2:03 PM
To: Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Cc: Carrillo, Veronica <Veronica.Carrillo@ctt.com>
Subject: RE: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:

IMPORTANT NOTICE - This message sourced from an external mail server outside of the Company.
Hi Cheryl and Veronica,

Attached you will find the releases of mortgage for exception #10. Please review and let me know it it’s ok. I will like to send them
out today for execution.

Thank you,

Patty

Patricia San Martin
Rock Fusco & Connelly, LLC
321 N. Clark Street, Suite 2200
Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
psanmartin@rfclaw.com I http://www.rfclaw.com



From: Nutley, Cheryl [mailto:Cheryl.nutley@ctt.com]
Sent: Wednesday, May 23, 2018 11:50 AM
To: Patty San Martin <PSanMartin@rfclaw.com>
Cc: brendastrockyj@dreamliverprosper.com
Subject: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:




                                                                                                                        CT02572
            Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 356 of 370 PageID #:105739
Please click on the link(s) below to access your documents. Note, these links never expire.




Master Statement Letter (CDF).pdf

REVISED STATEMENT




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not disclose, distribute or use the message in any manner; and (iii) notify the sender immediately.




                                                                                                               CT02573
To:          Carrillo, Veronica[Veronica.Carrillo@ctt.com]; Nutley, Cheryl[Cheryl.Nutley@CTT.com]
From:          Case:
             Patty  San 1:18-cv-05587    Document #: 1537 Filed: 11/08/23 Page 357 of 370 PageID #:105740
                        Martin[PSanMartin@rfclaw.com]
Sent:        Wed 5/23/2018 1:48:02 PM (UTC-07:00)
Subject:     RE: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:

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 I have asked for it already.

 Just so you know, most of EB’s mortgage are done inhouse. These mortgage is given by people who invest with EB all the time. I’ve
 never been asked for original notes. In the meantime, are the releases ok. I need to send them to be executed.

 Thank you,

 Patty

 Patricia San Martin
 Rock Fusco & Connelly, LLC
 321 N. Clark Street, Suite 2200
 Chicago, Illinois 60654
 312.494.1000 (p) 312.494.1001 (f)
 psanmartin@rfclaw.com I http://www.rfclaw.com



 From: Carrillo, Veronica [mailto:Veronica.Carrillo@ctt.com]
 Sent: Wednesday, May 23, 2018 3:45 PM
 To: Patty San Martin <PSanMartin@rfclaw.com>; Nutley, Cheryl <Cheryl.Nutley@CTT.com>
 Subject: RE: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:

 Hi Patty,

 Yes, we need to make sure that this note has been paid in full as we are not paying it through closing.

 Veronica Carrillo |   Chicago Title Insurance Company | 312.223.2847 | veronica.carrillo@ctt.com




 From: Patty San Martin [mailto:PSanMartin@rfclaw.com]
 Sent: Wednesday, May 23, 2018 2:14 PM
 To: Carrillo, Veronica <Veronica.Carrillo@ctt.com>; Nutley, Cheryl <Cheryl.Nutley@CTT.com>
 Subject: RE: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:

 IMPORTANT NOTICE - This message sourced from an external mail server outside of the Company.
 I have to find out from the borrower. Will it be an issue if they don’t have it?

 Thank you,

 Patty

 Patricia San Martin
 Rock Fusco & Connelly, LLC                                                                                         Exhibit
                                                                                                                                 exhibitsticker.com




 321 N. Clark Street, Suite 2200
 Chicago, Illinois 60654
 312.494.1000 (p) 312.494.1001 (f)                                                                                    22
 psanmartin@rfclaw.com I http://www.rfclaw.com
                                                                                                                       CT02605
              Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 358 of 370 PageID #:105741
From: Carrillo, Veronica [mailto:Veronica.Carrillo@ctt.com]
Sent: Wednesday, May 23, 2018 2:08 PM
To: Patty San Martin <PSanMartin@rfclaw.com>; Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Subject: RE: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:

Hi Patty,

Do you have the original note?

Veronica Carrillo |   Chicago Title Insurance Company | 312.223.2847 | veronica.carrillo@ctt.com




From: Patty San Martin [mailto:PSanMartin@rfclaw.com]
Sent: Wednesday, May 23, 2018 2:03 PM
To: Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Cc: Carrillo, Veronica <Veronica.Carrillo@ctt.com>
Subject: RE: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:

IMPORTANT NOTICE - This message sourced from an external mail server outside of the Company.
Hi Cheryl and Veronica,

Attached you will find the releases of mortgage for exception #10. Please review and let me know it it’s ok. I will like to send them
out today for execution.

Thank you,

Patty

Patricia San Martin
Rock Fusco & Connelly, LLC
321 N. Clark Street, Suite 2200
Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
psanmartin@rfclaw.com I http://www.rfclaw.com



From: Nutley, Cheryl [mailto:Cheryl.nutley@ctt.com]
Sent: Wednesday, May 23, 2018 11:50 AM
To: Patty San Martin <PSanMartin@rfclaw.com>
Cc: brendastrockyj@dreamliverprosper.com
Subject: Document Delivery Notice - Order # Ref 1: EquityBuild, Inc., SSDF6 6160 S MLK LLC, an Illino Ref 2:




Please click on the link(s) below to access your documents. Note, these links never expire.


                                                                                                                        CT02606
Sent: Wednesday, June 06, 2018 10:14 AM
         Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 359 of 370 PageID #:105742
To: Merkel, Douglas; Nutley, Cheryl
Cc: Fabio Baum; Packer, David; Brandy Seyferth; Don Moses; Barry W. DeGroot; Alex Broome; Nathan Trunfio; Don Wenner;
Jason Starr; Dozell Varner; Brenda Strockyj
Subject: RE: Arena/DLP - Punch List

I hope to have the closing documents sometime today. As to the original Note, I should have it by tomorrow.

Thank you,

Patty

Patricia San Martin
Rock Fusco & Connelly, LLC
321 N. Clark Street, Suite 2200
Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
psanmartin@rfclaw.com I http://www.rfclaw.com



From: Merkel, Douglas [mailto:dmerkel@pircher.com]
Sent: Wednesday, June 06, 2018 12:12 PM
To: Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Cc: Fabio Baum <fbaum@arenaco.com>; Packer, David <DPACKER@pircher.com>; Brandy Seyferth
<brandy@directlendingpartner.com>; Don Moses <dmoses@arenaco.com>; Barry W. DeGroot <barry@dreamliveprosper.com>;
Alex Broome <abroome@arenaco.com>; Nathan Trunfio <nate@directlendingpartner.com>; Don Wenner
<don@dreamliveprosper.com>; Jason Starr <jstarr@arenaco.com>; Dozell Varner <dozellvarner@dreamliveprosper.com>;
Brenda Strockyj <brendastrockyj@dreamliveprosper.com>; Patty San Martin <PSanMartin@rfclaw.com>
Subject: RE: Arena/DLP - Punch List

Hi Cheryl,

Thank you for taking the time to talk with me. I understand that you are not yet in a position to close since you are
waiting on certain affidavits, indemnities or other documents from the borrower, in addition to documents relating to
the payoff and cancellation of the existing financing. Would you please let us know when you estimate receiving those
items?

Thanks,
Doug

Douglas Merkel
Pircher, Nichols & Meeks LLP
1901 Avenue of the Stars, Suite 1200, Los Angeles, CA 90067
T: 310.201.8948 | F: 310.564.1848 | E: dmerkel@pircher.com
www.pircher.com




From: Nutley, Cheryl [mailto:Cheryl.Nutley@CTT.com]
Sent: Wednesday, June 06, 2018 9:33 AM
To: Brenda Strockyj; Patty San Martin
Cc: Fabio Baum; Packer, David; Brandy Seyferth; Don Moses; Merkel, Douglas; Barry W. DeGroot; Alex Broome; Nathan Trunfio;
Don Wenner; Jason Starr; Dozell Varner
Subject: RE: Arena/DLP - Punch List                                                       Exhibit
                                                                                                              exhibitsticker.com




Updated master statement
                                                                                                 23                                CT02658
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 360 of 370 PageID #:105743




                                                                Exhibit
                                                                           exhibitsticker.com




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Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 361 of 370 PageID #:105744
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 362 of 370 PageID #:105745
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 363 of 370 PageID #:105746
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 364 of 370 PageID #:105747




                                                                  Exhibit
                                                                             exhibitsticker.com




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                                                                                                  CT00280
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 365 of 370 PageID #:105748




                                                                                  CT00281
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 366 of 370 PageID #:105749




                                                                                 CT00282
From:                        Patty San Martin
Sent:               Case: 1:18-cv-05587
                       Wednesday,                 Document
                                  May 30, 2018 12:19 PM    #: 1537 Filed: 11/08/23 Page 367 of 370 PageID #:105750
To:                          Nutley, Cheryl
Cc:                          Carrillo, Veronica
Subject:                     RE: 6160 MLK
Attachments:                 6160 Note.pdf

Importance:                  High

IM PORTANT NOTICE - This message sourced from an external mail server outside of the Company.
Veronica – attached is a copy of the Note. If we provide you with the original Note, will you return it after the closing? EB Finance will like to retain the original for their records. We have never been asked to present
the original Note in EB’s other transaction so that is why we are a little confused.

Also, I need an answer for the email that I sent earlier today.

Thank you,

Patty

Patricia San Martin
Rock Fusco & Connelly, LLC
321 N. Clark Street, Suite 2200
Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
psanmartin@rfclaw.com I http://www.rfclaw.com




From: Patty San Martin
Sent: Wednesday, May 30, 2018 9:42 AM
To: Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Cc: Carrillo, Veronica <Veronica.Carrillo@ctt.com>
Subject: RE: 6160 MLK

Hi Cheryl and Veronica,

I have a question regarding the releases, I have the release for the original mortgage. I have the note. Do you also need a release for the assignment of partial interest to 2nd City Solo 4K Trust?

Thank you,

Patty

Patricia San Martin
Rock Fusco & Connelly, LLC
321 N. Clark Street, Suite 2200
Chicago, Illinois 60654
312.494.1000 (p) 312.494.1001 (f)
psanmartin@rfclaw.com I http://www.rfclaw.com




From: Nutley, Cheryl [mailto:Cheryl.Nutley@CTT.com]
Sent: Tuesday, May 29, 2018 5:00 PM
To: Brenda Strockyj <brendastrockyj@dreamliveprosper.com>
Cc: Carrillo, Veronica <Veronica.Carrillo@ctt.com>; Patty San Martin <PSanMartin@rfclaw.com>; Brandy Seyfreth <brandy@directlendingpartner.com>; Nathan Trunfio <Nate@directlendingpartner.com>;
Alex Broome <abroome@arenaco.com>
Subject: RE: 6160 MLK

Here is the revised statement. I have a 2:00 on the 31s t I will put you in.

CHERYL NUTLEY
CHICAGO TITLE



10 S. LASALLE STREET SUITE 2930
CHICAGO, IL 60603

PHONE 312-223-3616
FAX 312-223-3638

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ONLINE BANKING FRAUD IS ON THE RISE.                                                                                                                                                       Exhibit
                                                                                                                                                                                                                   exhibitsticker.com




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From: Brenda Strockyj [mailto:brendastrockyj@dreamliveprosper.com]
Sent: Tuesday, May 29, 2018 4:31 PM
To: Nutley, Cheryl <Cheryl.Nutley@CTT.com>
Cc: Carrillo, Veronica <Veronica.Carrillo@ctt.com>; Patty San Martin <PSanMartin@rfclaw.com>; Brandy Seyfreth <brandy@directlendingpartner.com>; Nathan Trunfio <Nate@directlendingpartner.com>;
Alex Broome <abroome@arenaco.com>
Subject: Re: 6160 MLK

IM PORTANT NOTICE - This message sourced from an external mail server outside of the Company.
Hello Cheryl,
                                                                                                                                                                                                    CT03351
Thank you for taking my call today
To:      Patty San Martin[PSanMartin@rfclaw.com]
Cc:        Case:
         Lange,     1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 368 of 370 PageID #:105751
                 Alice[alice.lange@ctt.com]
From:    Nutley, Cheryl[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D84B7C7142DC40EFA3BE1B85D7E7A55A-NUTLEY, CHERYL]
Sent:    Tue 5/22/2018 11:39:28 AM (UTC-07:00)
Subject: RE: 18006574lfe

 We will need to see before closing a copy of the note and assignment of note and we would need a statement from both assignees
 that no funds are due and owing for the release being presented for recording.

 CHERYL NUTLEY
 CHICAGO TITLE



 10 S. LASALLE STREET SUITE 2930
 CHICAGO, IL 60603

 PHONE 312-223-3616
 FAX 312-223-3638

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 WIRE TRANSFER INSTRUCTIONS
 CALL YOUR ESCROW OFFICER IMMEDIATELY
 TO VERIFY THE INFORMATION PRIOR TO
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 not the intended recipient of this communication, you are hereby notified to: (i) delete the message and all copies; (ii) do
 not disclose, distribute or use the message in any manner; and (iii) notify the sender immediately.

 From: Patty San Martin [mailto:PSanMartin@rfclaw.com]
 Sent: Tuesday, May 22, 2018 1:31 PM
 To: Nutley, Cheryl <Cheryl.Nutley@CTT.com>
 Subject: RE: 18006574lfe

 IMPORTANT NOTICE - This message sourced from an external mail server outside of the Company.
 There is no payoff. They are releasing the mortgage. We will have two original releases to record at closing. also, please do not
 forget that we are recording the quit claim deed.

 Please send me the revised statement.

 Thank you,

 Patty

 Patricia San Martin
 Rock Fusco & Connelly, LLC
 321 N. Clark Street, Suite 2200
 Chicago, Illinois 60654                                                                            Exhibit
                                                                                                                  exhibitsticker.com




 312.494.1000 (p) 312.494.1001 (f)
 psanmartin@rfclaw.com I http://www.rfclaw.com
                                                                                                       27
                                                                                                                                       CT02553
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 369 of 370 PageID #:105752




                                                                  Exhibit
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                                                                                                  CT00287
Case: 1:18-cv-05587 Document #: 1537 Filed: 11/08/23 Page 370 of 370 PageID #:105753




                                                                                 CT00288
